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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK

                                         CASE NO.:   18-cv-06763 (ALC)
IN RE MICRO FOCUS INTERNATIONAL PLC
SECURITIES LITIGATION                    ECF CASE

                                         JURY TRIAL DEMANDED




     SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                OF THE FEDERAL SECURITIES LAWS
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       1.      Lead Plaintiff Iron Workers’ Local No. 25 Pension Fund (“Plaintiff” or “Lead

Plaintiff”) by and through its undersigned counsel, brings this action pursuant to Sections 10(b)

and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), United States Securities

and Exchange Commission (“SEC”) Rule 10b-5 thereunder and Sections 11, 12(a)(2) and 15 of

the Securities Act of 1933 (the “Securities Act”). Lead Plaintiff brings this class action on behalf

of itself and all other persons or entities who purchased or otherwise acquired American

Depositary Shares (“ADSs”) of Micro Focus International, plc (“Micro Focus” or the “Company”)

during the period from September 1, 2017 through August 28, 2019 (the “Class Period”), or

pursuant or traceable to Micro Focus’s issuance of approximately 222 million Micro Focus ADSs

on or around September 1, 2017 pursuant to the Offering Documents (defined below), and who

were damaged by such purchase or acquisition.

       2.      Lead Plaintiff alleges the following upon information and belief, except as to those

allegations concerning Lead Plaintiff, which are alleged upon personal knowledge. Lead Plaintiff’s

information and belief are based upon, among other things, Lead Counsel’s independent

investigation, which included review and analysis of, inter alia: (i) public filings with the SEC and

with the London Stock Exchange; (ii) press releases and media reports issued and disseminated by

the Company and by Hewlett Packard Enterprise Company (“HPE”); (iii) transcripts of investor

calls and of conferences at which Defendants (defined below) spoke; (iv) analyst reports

concerning Micro Focus and HPE; (v) interviews with former HPE and Micro Focus employees;

(vi) analyses of securities movement and pricing data; and (vii) other public information regarding

the Company. Lead Counsel’s investigation into the factual allegations contained in this Complaint

is continuing, and many of the facts supporting the allegations contained in this Complaint are

known only to the Defendants or are exclusively within their custody or control. Lead Plaintiff
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believes that substantial additional evidentiary support for its allegations will be developed after a

reasonable opportunity for discovery.

I.     PRELIMINARY STATEMENT

       3.      This case centers around Micro Focus’s $8.8 billion acquisition of certain of HPE’s

software assets (“HPE Software”) in September 2017 and the ongoing, undisclosed issues arising

from that acquisition. Defendants made repeated statements about how that merger would increase

Micro Focus’s profits and result in “superior” “shareholder returns” through various “efficiency

improvements.” But undisclosed problems undermined the truth of these statements before Micro

Focus and HPE Software were even combined, and those problems were only exacerbated after

the closing. In particular, hidden problems at both Micro Focus and HPE Software, including

massive sales force and customer attrition, the inability to rationalize competing products (which

would cannibalize sales), and a disastrous, ill-timed implementation of a new internal computer

system, ironically called “FAST” (Future Architecture for Software Transformation), contradicted

the positive statements made in support of and immediately following the merger. But the

problems concealed during and caused by the merger, and Micro Focus’s ensuing poor

performance and the reasons for it, could not be covered up for long. Disclosures on January 8 and

March 19, 2018 revealed the true facts concerning poor sales, personnel attrition, and the non-

functional FAST system, among other things. The effect of the stock drops immediately following

those two disclosures wiped out approximately $4 billion of the market capitalization represented

by the Micro Focus ADSs issued in the merger. Additional disclosures, in the nearly two years

since the merger closed, revealed further problems and erased an additional $1 billion in the

Company’s ADS market capitalization. Before the full truth was disclosed to the market, however,

Defendants Loosemore and Murdoch both took advantage of Micro Focus’s inflated stock price to

enact massive insider sales, with Defendant Loosemore reaping approximately £16.6 million


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(representing 41% of his total shares) and Defendant Murdoch receiving approximately £5.8

million, selling 47% of his total holdings.

           4.       This story begins on September 7, 2016, when Micro Focus announced that it would

purchase certain assets of HPE. These assets, HPE Software, would be spun out from HPE and

then merged into Micro Focus (the “Merger”). Micro Focus claimed that the Merger had the

“potential to deliver total shareholder returns superior to those likely to be achieved on an organic

basis” and the “scope to improve HPE Software’s profitability through the application of our

disciplined operating model.” Specifically, Micro Focus told investors that the Merger would

rapidly double HPE Software’s EBITDA margin from approximately 21% to the 46% EBITDA

margin Micro Focus was reporting at the time of the Merger announcement.1 Similarly, Defendant

Loosemore, the Executive Chair of Micro Focus, touted on September 8, 2016 that Micro Focus

was acquiring HPE Software because it saw “a huge opportunity for efficiency improvement,” i.e.,

cost savings. Micro Focus told investors that it would complete the Merger in the third quarter of

2017 due to the need for certain regulatory approvals.

           5.       Securities analysts were excited at the prospect of the Merger and took Defendants’

positive statements to heart. Credit Suisse analysts called it “transformational” in a September 8,

2016 report and stated that the Merger would “roughly treble the level of current profitability.”2

Canaccord Genuity analysts stated in a September 8, 2016 report that the Merger “could become

known as the software deal of the century” and that the Merger would be “immediately accretive.”

Further, Canaccord Genuity noted in the same report that the Merger and the possibility of

increased EBITDA for HPE Software had the “potential to take the combined enterprise value


1
 EBITDA is “earnings before interest, taxes, depreciation and amortization,” and a common measure of a company’s
operating profits.
2
    All emphasis in quotations in this Complaint is added, except as otherwise noted.



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from $16 billion to $20 billion” and that the “real upside” would come when “Micro Focus’s

management starts to work its ‘magic’ on the 21% EBITDA margin currently generated by its

target.”

           6.   Shareholders were also assured that the twelve months between the announcement

and the closing of the Merger were being used to ensure a successful integration and transition into

the combined Company. For example, on July 12, 2017, Defendant Stephen Murdoch, who was

then the Company’s CEO, stated on an investor conference call that Micro Focus was focused on

integration and had employed significant integration teams “all managed under a common

governance structure, tracking more than 10,000 very specific tasks through to completion” in

order to combine the operations of the two companies. Defendant Loosemore assured investors

that the Merger would close on September 1, 2017, and that the new business would be “fully

integrate[d]” by November 1, 2017.”

           7.   In a Form F-4 Registration Statement (the “Registration Statement”) and a

Prospectus filed in August 2017 (collectively with the Form F-6 and Form 10 discussed in more

detail below, the “Offering Documents”), the Company continued to tout the benefits of the

Merger, stating that the combination would alleviate certain “challenges” in HPE Software’s

“maturing infrastructure software business as part of the general market shift to cloud computing

and SaaS [Software as a Service]” by separating HPE Software from HPE, thus “creating a more

focused, nimble and scalable software business, particularly given Micro Focus’s historical

experience with and focus on effectively managing portfolios of mature infrastructure software

products.”

           8.   The statements made in support of the Merger, in the registration of Micro Focus

ADSs to be used as consideration, and to investors who purchased on the open market were false




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and misleading and concealed material facts. Specifically, Defendants hid from investors that even

before the Merger closed, both Micro Focus and HPE Software were facing undisclosed employee

attrition and customer attrition. For example, while Defendants touted in the Offering Documents

that the Merger would “add a substantial recurring revenue base to Micro Focus’ existing product

portfolio,” the Offering Documents omitted to disclose that HPE Software was facing high

customer attrition due to its spinoff from HPE and that HPE Software customers did not want to

renew their contracts or enter into new contracts due to concerns about Micro Focus’s reputation

for license audits, litigation against customers, and lack of product innovation. As confirmed by

former employees (“FEs”), Micro Focus had a reputation of being a place where “software goes

to die” (FE 1, identified in ¶86 infra),3 in that Micro Focus did not invest in its products, but instead

made money from auditing existing customer licenses. For example, according to FE 2 (identified

in ¶54 infra), there was a deal pending with Verizon, one of HPE’s partners, when the Merger was

announced, but Verizon delayed the deal due to pending litigation against Micro Focus.

        9.       Moreover, historically at HPE, a large number of HPE Software deals involved

bundling with other HPE products and services, and such sales would thus be affected when that

bundling would not be available as HPE Software was separated from HPE. According to FE 3

(identified in ¶55 infra), certain HP Enterprise software products were typically purchased when

bundled with HP hardware. The software was then offered to the client for free or at a low cost.

        10.      Further, Defendants falsely and misleadingly touted the “accelerate[d] operational

effectiveness” in “sales force productivity” stemming from the Merger, while omitting to disclose

that both HPE Software and Micro Focus were facing increasing attrition of sales personnel even

before the Merger closed. Numerous former employees confirmed there was an “exodus” of sales


3
 Exhibit A identifies by title and tenure each of the Former Employees whose statements are included in this
Complaint.


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staff. FE 4 (identified in ¶84 infra) stated that about 30% to 40% of FE 4’s team left after the

Merger. Further, like HPE Software, in the period following the announcement of the Merger,

Micro Focus also experienced high sales-employee attrition. See Section IV(D)(2). In the face of

these high levels of employee attrition, Defendants continued to assure the market that the sales

force remained strong. Specifically, on September 7, 2017, Defendant Christopher Hsu, who had

been a senior executive at HPE leading the spin-off of HPE Software and became the CEO of the

Company and one of the leaders of integration efforts between HPE Software and Micro Focus

upon closing of the Merger, denied questions asserting “turnover and employee morale,” stating

that “I was actually somewhat taken aback. . . . [W]e’ve got to build a company that employees

are excited about, want to be a part of, own and that our customers view as a strategic partner.

And in a software company, all we have is our people.”

        11.     Defendants also told investors that a benefit of the Merger would be that both HPE

Software and Micro Focus would be integrated on one operating software platform, FAST. But

FAST was an unmitigated disaster. According to numerous former employees, FAST was a

massive failure, caused business to halt “at a dead standstill” and actually killed deals because it

prevented sales personnel from providing quotes, processing purchase orders, or generating

invoices. See Section IV(F) infra. As sales employees could not send out customer invoices,

accounts receivable grew significantly, by 23% year-over-year. FAST would also not allow sales

personnel to input data that would allow them to be paid commissions, thus contributing to sales

personnel’s frustration and greater attrition. Id.

        12.     As discussed further below, Defendants initially presented the Merger as a

tremendous success, but began to disclose problems in integrating HPE Software into Micro Focus,

such as problems with FAST and high levels of salesforce attrition, in a series of partial




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acknowledgments of the truth starting in January 2018. However, they also falsely reassured

investors on the occasion of every partial acknowledgement that the problems were temporary and

were being effectively addressed. Thus, Micro Focus’s ADS prices remained artificially inflated

until the end of the Class Period.

       13.     The Executive Defendants (defined below) knew or were reckless in not knowing

that the statements that they were making to investors were false and misleading. For example,

Micro Focus’s CEOs, Defendants Hsu and Murdoch, were directly and personally responsible for

and involved in both the pre-Merger due diligence and the Merger integration and were thus aware

of the strategic and operational problems facing Micro Focus and HPE Software. Moreover, the

companies’ sales, integration, and implementation of the FAST system were core to the operations

of both Micro Focus and HPE Software and were topics on which the Executive Defendants were

focused and on which they spoke frequently to investors and analysts, making detailed comments.

Further, as discussed below, in connection with the Company’s initial disclosures of significant

problems and revenue declines stemming from the Merger, Defendant Hsu “resigned,” walking

away from millions of dollars in compensation, and Defendant Mike Phillips was demoted from

Chief Financial Officer to Director of Mergers & Acquisitions.

       14.     As a result of the Merger, Micro Focus issued ADSs representing more than 222

million Micro Focus shares to HPE shareholders. On the first day of trading, the ADSs closed at

$35.14, representing a market capitalization of over $6.47 billion.

       15.     The truth began to be disclosed in a series of corrective disclosures, starting on

January 8, 2018, when the Company announced its interim results for the six months ended

October 31, 2017—the first results since the completion of the Merger. The earnings report

included HPE Software’s standalone revenue for the twelve months ended October 31, 2017,




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which was at the very bottom of the prior reported guidance of $2.890 billion to $2.960 billion;

and the standalone Micro Focus “legacy” business’s revenue during that time period was 2.7%

lower than in the prior comparable year. These unexpectedly bad results reflected a serious and

previously undisclosed deterioration of almost every aspect of the combined Company’s business,

as well as problems with the integration of HPE Software and implementation of Micro Focus’s

new FAST system, that, as detailed here, had been well known internally at Micro Focus and HPE

even before the Merger closed. In fact, Micro Focus admitted that “operational efficiencies

[were] put on hold pending the completion of the HPE Software transaction”; that “[w]e were

disappointed with sales execution primarily in our Americas region”; and that the implementation

of FAST “resulted in some delays to customer and partner invoicing and cash collection . . . .”

These disclosures partially revealed the falsity of Defendants’ prior statements about the benefits

of the Merger, the progress of the integration and of FAST’s implementation, and the Company’s

sales force.

        16.      Analysts reacted negatively to the January 8, 2018 disclosures. Multiple analysts

commented on the disruption of HPE Software sales as a result of the loss of bundling with HPE

products and services, as well as sales-force attrition and underperformance, especially in the

Americas. In response to the January 8, 2018 partial corrective disclosures, Micro Focus ADSs

fell $6.94 per ADS on January 8, 2018 from the prior trading day’s close, or 16%, to close at

$34.86.4

        17.      However, Defendants assuaged market concerns by telling investors that the

integration was going well. Defendant Hsu told investors that Micro Focus had “already integrated

the product teams,” that “over 7,500 tasks have already been completed to date,” that the


4
 Micro Focus ADS prices and volumes have been adjusted for the 0.8296 to 1 stock split that took place on April
30, 2019.


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Company had taken “roughly 600 disparate applications to 120 in a completely modern stack,”

that 70% of the revenue was on FAST, and that Micro Focus had a “fully integrated sales team

as of November 1.” Defendant Hsu also told investors that he felt “really good about the progress”

of the integration and, in response to analyst questions about whether the integration was going

too fast, stated that “I’m not worried really about the speed.”

       18.     Then, on March 19, 2018, Micro Focus shocked investors again by disclosing that

Defendant Hsu was unexpectedly “resigning” as CEO effective immediately, just seven and a half

months after the Merger closed, and by again reducing its revenue guidance to reflect a decline of

as much as 9% compared to the twelve months ended October 31, 2017. Admitting publicly what

had been known by the Executive Defendants and internally at the Company and HPE from well

before the Merger closed, Micro Focus revealed that this revenue deterioration was caused by

problems with the new FAST system, sales-force attrition and underperformance, and post-

spinoff problems marketing HPE Software products unbundled from HPE products.

Importantly, this result was far from the massive increase in EBITDA margin by 2019 that

Defendants had touted in the Offering Documents, and there was no possibility that Defendants

would obtain that projected result by 2019 given the complete deterioration in the business.

       19.     In response to the March 19, 2018 disclosure, Micro Focus ADSs fell $14.70 per

ADS, or nearly 47%, to close at $16.89 that day. As the market continued to absorb the news over

the next several days, Micro Focus’s ADS price continued to fall, closing at $15.66 on March 22,

2018, representing a decline of more than 55% from the ADS closing price on the date of the

Merger’s close.

       20.     While the January and March 2018 partial corrective disclosures provided some

information about the problems associated with the Merger, Defendants continued to falsely assure




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the market that these were just “one-off” short term issues, that the integration was “on track,” that

FAST was “stable,” and that attrition was back down to a “typical” level for the industry. However,

this was not the case.

       21.     On July 11, 2018, Defendants unpleasantly surprised investors again by

announcing, among other things, further declining sales results. Micro Focus also disclosed that

due to the Company’s need to “stabilize then remediate the FAST platform,” the costs required for

the Merger would be at least $960 million (of which $630 million would relate to cost reduction

and $330 million to the implementation of FAST) and possibly as high as $1.05 billion (of which

$630 million would relate to cost reduction and $420 million to the implementation of FAST),

instead of the previously announced $750 million ($600 million for cost reductions and $150

million for FAST).

       22.     In response to the July 11, 2018 disclosures, Micro Focus ADSs fell $1.59 per ADS,

or 8%, from $20.62 on July 10, 2018, to close at $19.03 on July 11, 2018.

       23.     However, Defendants continued to falsely reassure investors about the Merger’s

aftermath on July 11, 2018. For example, the Company’s “interim results” press release stated:

“Progress on integration with IT systems stabilizing, business being simplified, sales organization

re-aligned and refocused.” In those comments, Defendants continued to conceal the truth regarding

the Company’s operational status and the integration of HPE Software. As a result, Micro Focus’s

ADS prices continued to be artificially inflated.

       24.     As the Class Period progressed, the problems with integration, FAST and employee

attrition continued, as did Defendants’ concealment of those problems. For example, in its

February 2019 disclosure of financial results for 2018, the Company represented regarding attrition

that the “hiring engine” “is now functioning effectively,” and that FAST was “now stable and able




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to support the operations of the business.” As illustrated by former employee accounts and the

Company’s own public statements, in and around early 2019, the Company decided to effectively

scrap FAST and build an entirely new internal operating “stack” to facilitate its business.

However, this was only after the Company incurred working capital outflow of nearly $340 million

due to “System issues within the FAST environment” as disclosed in a Micro Focus presentation

dated February 14, 2019.

       25.      On July 9, 2019, Defendants again negatively surprised the market by announcing,

among other unexpected bad news about the Merger’s aftermath, that the Company’s license

revenue declined 11.1% year-over-year, due in part to “significant levels of sales force attrition

during FY18.”

       26.      In response to the July 9, 2019 disclosure, Micro Focus ADSs fell $4.15 per ADS

in two days, or 16%, from a close of $26.21 on July 8, 2019, to $24.50 on July 9 and $22.06 on

July 10.

       27.      On August 29, 2019, Defendants shocked the market by announcing that the

Company was reducing its constant-currency revenue guidance from a range of minus 4% to minus

6% to a range of minus 6% to minus 8% for fiscal 2019, compared to fiscal 2018, as a result in

part of “[w]eak sales execution,” which investors and the news media attributed to the continuing

failed integration. Micro Focus also announced that it was undertaking “a strategic review of the

Group’s operations,” which the market understood as a signal of a likely sale of some of the

business acquired from HPE Software.

       28.      In response to the August 29, 2019 disclosure, Micro Focus’s ADS price fell $5.91

per ADS, or 31% in one day, from a close of $18.89 on August 28 to $12.98 on August 29, wiping

out $846 million in shareholder value for the ADSs alone.




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        29.     Investors who purchased Micro Focus’s ADSs at artificially inflated prices during

the Class Period or acquired Micro Focus ADSs pursuant to the Offering Documents have suffered

substantial losses from Defendants’ violations of the federal securities laws.

II.     JURISDICTION AND VENUE

        30.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§ 78j(b) and 78t(a), and SEC Rule 10b-5 promulgated thereunder, 17 C.F.R. §

240.10b-5, as well as Sections 11, 12(a)(2), and 15 of the Securities Act, 15 U.S.C. §§ 77k, 77l,

and 77o. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331

and 1337, Section 22 of the Securities Act, 15 U.S.C. § 77v, and Section 27 of the Exchange Act,

15 U.S.C. § 78aa.

        31.     Venue is proper in this District under Section 22 of the Securities Act, 15 U.S.C.

§ 77v, Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §1391(b). In connection

with the acts, conduct, and other wrongs alleged in this Complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including but not limited

to the United States mails, interstate telephone communications, and the facilities of a national

securities exchange.

        32.     Additionally, Micro Focus and other Defendants have asserted that this District is

the proper venue for this litigation, including as reflected in a request to transfer this action to this

District from the United States District Court for the Northern District of California filed on July

19, 2018. The United States District Court for the Northern District of California granted that

request on July 25, 2018. Among other things, Defendants argued that venue was determined by a

clause in a deposit agreement that governed Plaintiff’s rights and obligations as a holder or

beneficial owner of Micro Focus ADSs, which stated that “Holders and Beneficial Owners each

irrevocably agree that any legal suit, action or proceeding against or involving the Company or the


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Depositary, arising out of or based upon the Deposit Agreement, American Depositary Shares,

Receipts or the transactions contemplated hereby or thereby or by virtue of ownership thereof, may

only be instituted in a state or federal court in New York, New York[.]” ECF No. 12 at 2. This

statement was made in both Micro Focus’s August 4, 2017 Form F-4 and its August 4, 2017 Form

F-6 filed with the SEC.

III.   PARTIES

       33.     Lead Plaintiff Iron Workers’ Local No. 25 Pension Fund is a pension fund with

5,707 participants and approximately $530 million in assets under management. As stated in Lead

Plaintiff’s certification attached to this complaint as Exhibit B, Lead Plaintiff acquired Micro

Focus ADSs in the HPE Software spinoff from HPE and Merger with Micro Focus and also

purchased Micro Focus ADSs on the open market during the Class Period.

       34.     Defendant Micro Focus is an infrastructure software company that develops, sells,

and supports software products and solutions to businesses and various governmental entities. The

Company’s customers are international in scope and include large enterprises such as airlines,

healthcare companies and institutions, and national governments. The Company is incorporated in

the United Kingdom, and its headquarters are located at The Lawn, 22-30 Old Bath Road,

Newbury, Berkshire RG14 1QN, United Kingdom. Micro Focus conducts substantial business in

the United States. Micro Focus ADSs trade on the New York Stock Exchange (“NYSE”) under

the ticker “MFGP.” Each Micro Focus ADS represents one share of Micro Focus common stock,

traded on the London Stock Exchange under the ticker “MCRO.” As a foreign company, Micro

Focus is not subject to the SEC’s quarterly reporting requirements and files interim reports.

       35.     Defendant Christopher Hsu (“Hsu”) was the CEO and a director of Micro Focus at

all times during the Class Period. The Offering Documents announced that Hsu would serve as the

Chief Executive Officer and a director of Micro Focus beginning on September 1, 2017, when the


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Merger closed, and he did take those positions upon the Merger’s closing. Before becoming the

CEO of Micro Focus, Hsu served as the Chief Operating Officer (“COO”) of HPE and the

Executive Vice President and General Manager of HPE Software. On March 19, 2018, Micro

Focus announced that Hsu was resigning in order to “spend more time with his family and pursue

another opportunity.”

       36.     Defendant Stephen Murdoch (“Murdoch”) served as the CEO and a director of

Micro Focus until he was replaced in those positions by Hsu as a result of the Merger, after which

Murdoch became the Company’s COO. Murdoch resumed his role as CEO and a director of the

Company after Defendant Hsu’s resignation in March 2018. Murdoch signed the false and

misleading Form F-4 filed on August 4, 2017 (the “Registration Statement”).

       37.     Defendant Mike Phillips (“Phillips”) served as the Chief Financial Officer (“CFO”)

and a director of Micro Focus from September 7, 2010 to January 8, 2018. On January 8, 2018,

Micro Focus announced that Phillips was leaving his CFO role to serve as the Company’s Director

of Mergers and Acquisitions (“M&A”). Phillips signed the false and misleading Registration

Statement.

       38.     Defendant Kevin Loosemore (“Loosemore”) served as the Executive Chairman of

Micro Focus at all relevant times. Loosemore signed the false and misleading Registration

Statement.

       39.     Together, Defendants Hsu, Murdoch, Phillips, and Loosemore are the “Executive

Defendants.”

       40.     Defendant Nils Brauckmann (“Brauckmann”) served as the CEO of Micro Focus’s

open-source product portfolio, which was called its “SUSE Products” segment, and a director of




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the Company’s board (the “Board”) at the time of the Merger. Brauckmann signed the false and

misleading Registration Statement.

       41.     Defendant Karen Slatford (“Slatford”) served as a director of the Company at the

time of the Merger. Slatford signed the false and misleading Registration Statement.

       42.     Defendant Richard Atkins (“Atkins”) served as a director of the Company at the

time of the Merger. Atkins signed the false and misleading Registration Statement.

       43.     Defendant Amanda Brown (“Brown”) served as a director of the Company at the

time of the Merger. Brown signed the false and misleading Registration Statement.

       44.     Defendant Silke Scheiber (“Scheiber”) served as a director of the Company at the

time of the Merger. Scheiber signed the false and misleading Registration Statement.

       45.     Defendant Darren Roos (“Roos”) served as a director of the Company at the time

of the Merger. Roos signed the false and misleading Registration Statement.

       46.     Defendant Giselle Manon (“Manon”) served as the authorized U.S. representative

of the Company at the time of the Merger. Manon signed the false and misleading Registration

Statement.

       47.     Defendant John Schultz (“Schultz”), as stated in the Offering Documents, would

become a director of the Company following the Merger, which position Schultz assumed upon

the closing of the Merger. On December 20, 2017, Micro Focus announced that Schultz would

leave the Board.

       48.     The Defendants referenced above in ¶¶40-47 are collectively referred to in this

Complaint as the “Director Defendants.”

       49.     The Company, the Executive Defendants, and the Director Defendants are

collectively referred to in this Complaint as the “Defendants.”




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IV.     SUMMARY OF THE ACTION

               Background of Micro Focus

        50.     Micro Focus is a software company that specializes in managing predominantly

mature infrastructure-software assets. Micro Focus states that it helps organizations bridge their

old, mature software assets with new IT and business applications. Micro Focus’s solution

portfolios include COBOL Development and Mainframe Solutions (a computer-programing

language designed for business use that has was first commercially developed in the 1960s), Host

Connectivity (products to help intranet, extranet and Web users access data on an internal system),

Identity and Access Security, IT Development and Operations Management Tools, and

Collaboration and Networking. At all relevant times, the Company’s SUSE Products segment

provided interoperable Linux (a family of free and open-source software operating systems), cloud

infrastructure, and storage solutions.5

        51.     Micro Focus was founded in 1976, taken private in 2001, and relisted on the

London Stock Exchange in 2005. The Company is headquartered in the United Kingdom, with

core operations in the United Kingdom, USA, Germany and Japan. Micro Focus’s fiscal year-end

is October 31, and it files reports of its interim results every six months under the International

Financial Reporting Standards. Since the Merger, Micro Focus has United States listed sponsored

ADSs that trade on the NYSE.

        52.     Micro Focus has experienced historical instability, and analysts in the 1990s

dubbed it “Hocus Pocus Micro Focus” due to its volatile earnings and profit warnings. However,

by the time that it announced its Merger with HPE Software, Micro Focus had become a much

more stable, predictable company, generating significant revenue and cash-flow through


5
 On July 2, 2018, Micro Focus announced that it had reached an agreement to sell its SUSE business segment to
Marcel Bidco GmbH for $2.535 billion.


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longstanding software licenses sold to its customers. Micro Focus maintained revenue streams

from longstanding software installations used by clients, each of which generated ongoing license

revenues. As long as the customers continued to use these “legacy” software products, Micro

Focus would realize a low-cost, consistent stream of cash. The strategy did not require, or

encourage, investment in development of new or innovative software products. While this business

model was not necessarily expected to generate significant growth, it was a reliable model for

generating consistent cash flow. For example, in a May 24, 2016 report, JP Morgan analysts noted

that Micro Focus’s mix of business “should allow MCRO to achieve stable revenues by 2017”

and that “[t]he company generates strong and consistent cash flows with >70% of revenues

recurring and cash conversion consistently strong.”

        53.     Micro Focus’s ability to generate this type of revenue relied substantially on

“license audits”—reviews of outstanding licenses seeking to maximize revenue by ensuring that

customers paid in full for any Micro Focus products that remained in use. According to an April

28, 2017 Deutsche Bank report, “[a]s the majority of MCRO’s assets fall into the maturity and

decline categories, there is often little scope for new product development/upsell or new customer

acquisition. As such the top line improvement comes almost entirely from license audit and

maintenance revenue improvement.” According to the April 28, 2017 Deutsche Bank report,

following an acquisition, Micro Focus will typically perform a license audit to identify

underpricing in the acquired company’s customer license billings. Often Micro Focus will “offer

a bundled offering in conjunction with another product as an alternative to a simple pricing

increase.” Furthermore, Micro Focus “tend[s] to have significant bargaining power given that the

products are often a fairly small percentage of a [Chief Technology Officer’s] budget, and as such

are difficult, and costly to replace.”




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        54.      As discussed below, many former employees, including FE 2, corroborated that

Micro Focus has a reputation of being litigious towards its customers and generates revenues by

engaging in aggressive license audits.6 Additionally, in 2016 the “Campaign for Clear Licensing”

found that The Attachmate Group (“TAG”) (acquired by Micro Focus in 2014, as discussed below)

was voted the third worst vendor during an audit process based on the use of aggressive behavior

or a focus only on short term revenue. According to FE 5, there was an increase in audits of HPE

Software customers after the Merger closed.7

        55.      More specifically, Micro Focus’s strategy is, according to a November 27, 2017

Deutsche Bank report, to acquire software through mergers and acquisitions and maintain

“unloved poorly-managed infrastructure software assets” by using financial leverage and

aggressive cost-cutting. This strategy was confirmed by several former employees of Micro Focus,

who made clear that Micro Focus does not invest in its software portfolio to add features or

innovation. For example, according to FE 3, Micro Focus has been referred to as a “software

hospice.”8 According to FE 3, instead of putting money into a product, Micro Focus was

commonly known for acquiring software companies to collect licensing fees from software

products that were previously sold. Further, as confirmed by FE 3, it was common knowledge that

Micro Focus was not in the business of rationalizing its acquisitions and, instead, left them to

compete with each other.



6
 FE 2 worked at HPE starting in 2012, serving as a Director Alliance Sales 2014 to 2017, and assumed a similar role
as a Director of Global System Integrator Sales at Micro Focus from the Merger closing until separating from the
Company in March 2018.
7
  FE 5 was formerly a Senior Software Account Executive focused on application delivery solutions and strategic
accounts. FE 5 started at HPE in August of 2013 and then assumed a similar role with Micro Focus after the Merger
closed until leaving the Company in March 2018.
8
 FE 3 was a Senior Product Marketing Manager at Micro Focus from November 2015 through September 2017, who
had previously worked at Hewlett-Packard through 2011 and was familiar with the HPE organization and sales
practices.



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       56.     In one of its most recent M&A transactions, Micro Focus acquired TAG, a U.S.

based software company that included the SUSE business, in 2014. Similarly, Micro Focus

acquired Borland Software, a developer of application lifecycle management tools, for $75 million

in 2009 and also acquired the application testing and automated software quality business,

Compuware, in this deal. The Borland acquisition was especially problematic for Micro Focus. As

a Credit Suisse analyst stated on July 16, 2018, with regard to the Merger, “this is not the first time

that [Micro Focus] has underestimated a transaction and cut costs too hard too quickly. In

particular, there was one notable period of disappointment following the acquisitions of Borland

and Compuware.” Further, the same analyst stated that Micro Focus has dealt with several

acquisitions which “required material restructuring: Borland/Compuware, Attachmate, and HP

Software. And 2 of these have led to material investor disappointment, at least in the short term –

Borland/Compuware and HPE Software.”

              Background of HPE Software

       57.     The HPE Software assets that were acquired by Micro Focus in the Merger had

been an operating unit of HPE, which itself had previously been a part of the Hewlett-Packard

Company. In 2015, the Hewlett-Packard Company split into two entities: (i) a company that

primarily sold personal computers and printers, which was called HP Inc.; and (ii) HPE, its

enterprise and software businesses. HPE consisted of HPE Software, HPE Enterprise Services

(which was also subsequently spun off), HPE Enterprise Group (which provides servers, storage,

networking, consulting, and support), and HPE Financial Services.

       58.     The HPE Software assets that were eventually sold to Micro Focus included assets

that were acquired by Hewlett-Packard in 2011 in that company’s acquisition of Autonomy

Corporation plc. Hewlett-Packard acquired Autonomy for $11 billion, and then wrote down $8.8




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billion of its acquisition of Autonomy, in effect admitting that the company was worth 79% less

than Hewlett-Packard had paid for it. It attributed $5 billion of the write-off to what it called a

“willful effort on behalf of certain former Autonomy employees to inflate the underlying financial

metrics of the company in order to mislead investors and potential buyers.” This acquisition led to

shareholder litigation, as well as investigations by the SEC, the Department of Justice, and the UK

Serious Fraud Office and Financial Reporting Council. The resulting turmoil from the Autonomy

acquisition led to significant board changes at Hewlett-Packard and layoffs of 27,000 Hewlett-

Packard staff. Hewlett-Packard subsequently disposed of 80% of the Autonomy assets that it had

acquired, and the remaining 20% became part of HPE. This 20% was then included in the HPE

Software assets sold to Micro Focus in the Merger. As stated by a market analyst at ETX Capital,

and as quoted in the Guardian in response to the announcement of the spin-off of HPE Software

and its sale to Micro Focus: “HPE will no doubt be glad to see the back of Autonomy, which it

acquired in 2011 in one of the worst deals in recent corporate history.”

               Background of the Merger

       59.     In early 2016, HPE and Micro Focus began discussions regarding a possible

business combination. According to the Prospectus (defined below), at a meeting on January 27,

2016, the HPE board “reviewed and discussed the strategic direction, performance and prospects

of HPE, including potential strategic alternatives and strategic opportunities. Among other

strategic alternatives, the HPE Board and HPE’s management discussed a potential separation

and/or potential merger of certain non-core software assets (i.e., HPE Software) with a third party.”

The HPE board also discussed a divestiture of HPE’s Enterprise Services Business, which

eventually led to HPE combining its HPE Enterprise Services business with Computer Sciences

Corporation. That transaction closed in April 2017.




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       60.     In April 2016, Micro Focus management and HPE discussed a potential transaction

involving HPE Software. On April 17, 2016, Micro Focus and HPE executed a mutual

nondisclosure agreement in which each party agreed to keep confidential certain information

discussed as part of the potential merger discussions.

       61.     On May 23, 2016, the Micro Focus Board held a meeting attended by Micro Focus

management, during which the potential transaction involving HPE Software was discussed,

including a proposed non-binding offer to HPE. On June 17, 2016, Micro Focus submitted a

preliminary indication of interest to HPE, proposing a spin-merge transaction that valued HPE

Software at approximately $7.4 billion.

       62.     After receiving this indication of interest from Micro Focus, HPE tried, but failed,

to market HPE Software to other software companies or financial acquirers. Specifically, three

potential financial acquirers submitted indications of interest to acquire HPE Software for cash. At

a meeting of the HPE board on June 22, 2016, the board considered the other indications of interest,

but “did not independently consider the merits of a standalone spinoff of HPE Software because it

had determined that HPE Software lacked the scale to be successful in the software business on a

standalone basis . . . .” The first potential financial acquirer eventually submitted an indication of

interest less favorable to HPE than the transaction that Micro Focus had proposed. The second and

third potential financial acquirers indicated, following the completion of their due diligence, that

they no longer intended to pursue a potential transaction. HPE also later contacted a fourth

potential financial acquirer, which eventually indicated that it no longer intended to pursue a

potential transaction given “valuation and timing expectations.” Additionally, HPE contacted two

software companies other than Micro Focus, one of which told HPE that it would not pursue a




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potential transaction, and one of which provided an indication of interest that was less favorable

to HPE than Micro Focus’s.

       63.     During August and early September 2016, HPE and Micro Focus negotiated

transaction terms. During this time period, as described in the Offering Documents, both Micro

Focus and HPE conducted extensive due diligence of each other:

               a.     “During late June and July 2016, members of HPE’s management held
                      separate in-person management presentations and due diligence sessions
                      regarding HPE Software with representatives of Micro Focus . . .”

               b.     “On August 19, 2016, the Micro Focus Board held a meeting attended by
                      Micro Focus management, during which Mr. Loosemore reported to the
                      Micro Focus Board the status of due diligence and discussions with HPE.”

               c.     During August and early September 2016, Micro Focus and HPE and “their
                      respective advisors engaged in mutual due diligence of Micro Focus’
                      business and HPE Software, as applicable.”

               d.     “On September 2, 2016, the Audit Committee of the Micro Focus Board
                      held a meeting attended by Micro Focus’ management to review the status
                      of due diligence and negotiations regarding the potential transaction. Micro
                      Focus’ financial, legal, tax and operational advisors also attended the
                      meeting. During the meeting, Micro Focus’ advisors reviewed with the
                      Micro Focus Board the transaction structure, the due diligence status on
                      legal, tax, financial and operational matters, and key terms of the draft
                      transaction agreements, including the merger agreement, the separation and
                      distribution agreement and ancillary agreements. The Audit Committee also
                      reviewed the risks associated with the transaction. At the meeting, the Audit
                      Committee concluded that the proposed transaction was in the best interest
                      of Micro Focus and had the support of the Audit Committee.”

               e.     “On September 5, 2016, the Micro Focus Board held a meeting attended by
                      Micro Focus’ management to discuss the status of draft transaction
                      agreements and planned public announcements relating to the proposed
                      transaction. During the meeting, the Micro Focus Board reviewed and
                      discussed with Micro Focus’ management the results of ongoing due
                      diligence and the latest terms of the transaction documents. . . . Following
                      discussion, the Micro Focus Board instructed members of senior
                      management to proceed to finalize the definitive transaction documents
                      with HPE based on the terms discussed with the Micro Focus Board.”

               f.     “Also on September 6, 2016, the HPE Board held a meeting, at which it
                      reviewed the status of negotiations with Micro Focus and the terms of the


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                       proposed transaction with, and received a detailed summary of the results
                       of HPE’s due diligence of Micro Focus from, HPE’s management and
                       advisors. Following discussion, HPE’s management recommended that the
                       HPE Board approve the proposed transaction with Micro Focus. Following
                       discussion among the directors, the HPE Board unanimously determined
                       that the Separation, the Distribution and the Merger are advisable and in the
                       best interests of HPE and the HPE Stockholders, and approved, adopted and
                       authorized HPE’s management to enter into the Merger Agreement, the
                       Separation and Distribution Agreement and the other agreements
                       contemplated thereby. “

       64.      On August 22, 2016, Defendants Loosemore, Phillips, and Slatford, along with

Steve Schuckenbrock, a Micro Focus board member at that time, attended a meeting at the offices

of Wachtell, Lipton, Rosen & Katz in New York and presented to members of the HPE board. On

September 6, 2016 a special committee consisting of Defendant Loosemore, Defendant Phillips,

and Defendant Atkins approved the Merger. On the same day, the HPE board approved the Merger.

On September 7, 2016, Micro Focus issued a press release announcing the proposed Merger with

HPE Software.

       65.      HPE and Micro Focus announced that the HPE Software assets included

Application Delivery Management, Big Data, Enterprise Security, Information Management &

Governance, and IT Operations Management businesses. Defendants pitched the Merger as similar

to the TAG merger, and one that would “transform” Micro Focus.

       66.      The HPE Software assets to be acquired in the Merger were valued at $8.8 billion,

larger than Micro Focus’s market capitalization at the time (£4.48 billion or approximately $5.9

billion), and were designed to triple the Company’s revenues. According to the Merger terms,

Micro Focus would issue newly registered ADSs to shareholders of HPE as of August 21, 2017

(the “Record Date”) as consideration in the Merger, such that immediately following the

completion of the Merger, HPE shareholders would own 50.1% of the fully diluted share capital

of the combined Company. In order to facilitate the Merger and the payment to HPE shareholders,



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HPE Software would be spun-off by HPE to Seattle SpinCo, Inc., a wholly owned subsidiary of

HPE (HPE shareholders would then receive shares in Seattle SpinCo, Inc., representing ownership

of the HPE Software assets, which in turn would be exchanged for the Micro Focus ADSs,

ultimately resulting in HPE shareholders as of August 21, 2017, acquiring the Micro Focus ADSs).

As defined by the terms in the Offering Documents, the exchange ratio resulted in HPE

shareholders receiving 0.13732611 ADSs of Micro Focus for every share of HPE common stock

held at the close of business on the Record Date. In addition, HPE received $2.5 billion in cash,

financed through newly incurred indebtedness of HPE Software, and Micro Focus shareholders

received a $500 million “return of value” dividend before completion of the Merger.

       67.     Micro Focus announced the Merger on September 7, 2016, and touted it as creating

“one of the world’s largest pure-play software companies.” Micro Focus announced that it would

complete the Merger in the third quarter of 2017, but that in the meantime it was “Business as

Usual.”

       68.     Micro Focus’s September 7, 2016 press release described the Merger as a “[r]are

opportunity to increase significantly Micro Focus’ scale and breadth through the combination with

a business operating in adjacent and complementary product areas with similar characteristics

and benefitting from a high proportion of recurring revenues and strong cash conversion.” The

press release also stated that the Merger would create “one of the world’s largest pure-play

infrastructure software companies” with “annual revenues of US $4.5 billion and EBITDA of

US$1.35 billion.” Defendant Loosemore, Micro Focus’s Executive Chairman at the time, was

quoted in the press release as stating that the Merger “represents a compelling opportunity to create

significant value for both companies’ shareholders.”




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       69.     In a September 7, 2016 email from Defendant Loosemore to all Micro Focus

employees that was filed with the SEC on the same day, he stated that the Merger had the

“potential to deliver total shareholder returns superior to those likely to be achieved on an

organic basis,” and the “scope to improve HPE Software’s profitability through the application

of our disciplined operating model.” In investor presentations also filed on September 7, 2016,

Micro Focus told investors that it would be “possible to improve the margin delivered by HPE

Software’s mature software assets to Micro Focus’ level by the end of the third full financial

year following completion.” As discussed further below, this would be a huge increase in

profitability to be realized nearly immediately following the Merger, and represented one of the

key expected benefits of the Merger to investors.

       70.     Micro Focus and HPE both held investor calls at the time of the announcement of

the planned Merger. On the Micro Focus call, Defendant Loosemore announced the terms of the

Merger and also announced that Micro Focus would be buying a business with “50,000 customers,

global footprint, approximately 60% of recurring revenues.”

       71.     Further, Micro Focus touted that the Merger would rapidly double the Company’s

profits and profit margins (as measured by EBITDA) by fiscal year 2019. Specifically, in proxy

solicitations filed in connection with the Merger on September 7, 2016, Micro Focus described in

detail that after three years it would increase the acquired HPE Software business’s EBITDA

margin from approximately 21% to the 46% EBITDA margin that Micro Focus was reporting at

the time of the Merger announcement. As estimated by analysts at Canaccord Genuity on

September 8, 2016, raising HPE Software’s EBITDA margin “has the potential to take the

combined enterprise value from $16 billion to $20 billion suggesting substantial potential upside

for the shares as debt is paid down over the two years post deal closures.”




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       72.     Investors and analysts were favorably impressed by the announcement of the

planned Merger. For example, Canaccord Genuity analysts stated in a September 8, 2016 report

that the Merger “could become known as the software deal of the century” and that the Merger

would be “immediately accretive.” Canaccord Genuity analysts also wrote that the “real upside”

would come when “Micro Focus’s management starts to work its ‘magic’ on the 21% EBITDA

margin currently generated by its target.” As a result of the Merger announcement, Canaccord

moved its recommendation on Micro Focus to “BUY” from “HOLD.” Similarly, in a report dated

September 8, 2016, Credit Suisse analysts called the Merger “transformational” and stated that

the Merger would “roughly treble the level of current profitability.” The Credit Suisse analysts

stated on September 8, 2016 that the Merger “doesn’t change the growth profile of Micro Focus.

The rationale for this deal is instead all about cost savings. HPE is running at 23% EBITDA

margins versus Micro at roughly 46%. Management indicates they can add roughly 20

percentage points to the margin of HP Software business over the next 3 years.”

       73.     Additionally, the Company informed investors in its report of interim financial

results on December 14, 2016 that it had established an “Integration Management Office” in

preparation for the merger. Additionally, it disclosed that HPE Software was “implementing a new

business software stack as part of the carve out. It is our intention that Micro Focus will move onto

the new systems after completion.” As discussed above, this program was called “FAST.”

       74.     HPE Software and Micro Focus announced on January 17, 2017 that Defendant

Hsu, a senior executive at HPE and head of the HPE Software business, would be the CEO of the

combined Company. Hsu had been personally in charge of carving out HPE Software from the

rest of HPE in order to facilitate the Merger. Analysts were pleased with the appointment of

Defendant Hsu as the CEO of the combined entity. As stated by UBS in a January 17, 2017 analyst




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report, “[w]e believe Hsu understands HPE Software very well, and we expect he will be seen as

a reassuring appointment by the 14,000 strong HPE staff being acquired by 5,000-person Micro

Focus.”

           75.      The Company projected that the Merger would be consummated in the third quarter

of 2017, nearly a year after it was first announced, in order to accommodate the time needed for

various regulatory approvals. The Company, however, reassured shareholders that the time was

being used to ensure a successful integration and transition into the combined Company.

           76.      For example, on July 12, 2017, Micro Focus held an earnings call to discuss its

preliminary financial results for the fiscal quarter and year ended April 30, 2017. On the call,

Defendant Murdoch, who was then the Company’s CEO, stated that Micro Focus had employed

significant integration teams “all managed under a common governance structure, tracking

more than 10,000 very specific tasks through to completion” in order to lay out the operational

aspects of the combined Company. Moreover, Defendant Murdoch stated that the way in which

Micro Focus was handling the Merger was very granular in that it was managing the integration

process with “2 very significant teams; 1 on the HPE side, 1 on our side, all managed under a

common governance structure, tracking more than 10,000 very specific tasks through to

completion.” Similarly, Defendant Loosemore stated that the Merger was expected to be

completed by September 1, 2017, and that the new business would be “fully integrate[d]” by

November 1, 2017.9 Further, in Micro Focus’s unaudited preliminary results for the quarter and

year ended April 30, 2017, Micro Focus announced that it “will do nothing that will constrain our

ability to achieve organic growth and we are currently investing significant amounts on activities

designed to enhance growth.”



9
    As a result of the Merger, the fiscal year end for the Company was changed from April 30 to October 31.


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        77.     Micro Focus shareholders approved the proposal relating to the Merger on May 26,

2017. HPE Software shareholders did not vote on the Merger.

        78.     On August 3, 2017, Seattle SpinCo, Inc., the Merger subsidiary for HPE Software

shares, filed a Form 10 with the SEC. The Form 10 incorporated by reference and attached as an

exhibit a prospectus.

        79.     On August 4, 2017, Micro Focus filed with the SEC a registration statement on

Form F-4. The Form F-4 was amended on August 15, 2017 and was declared effective by the SEC

on the same day (as defined above, the “Registration Statement”). On August 22, 2017, Micro

Focus filed with the SEC a prospectus on Form 424B3 for the ADSs to be issued in the Merger,

which formed a part of the Registration Statement on Form F-4. The Prospectus stated in the

section called “Where You Can Find More Information” that “Micro Focus has filed with the SEC

a Registration Statement on Form F-4 (Reg. No. 333-219678) of which this information

statement/prospectus forms a part, including the exhibits thereto, to register under the Securities

Act the Micro Focus Shares that HPE Stockholders will receive in the form of Micro Focus ADSs

in connection with the Merger.” The Prospectus also acknowledged on page 17 that Micro Focus

was obligated to register Micro Focus ADSs and shares under the Securities Act “with respect to

the Merger . . . .”

        80.     As discussed in greater detail below, the Offering Documents touted the Merger as

one that would “accelerate financial and operational performance” and “creat[e] a more focused,

nimble and scalable software business.” Additionally, the Offering Documents stated that the

Merger would alleviate certain “challenges in [HPE’s] maturing infrastructure software business

as part of the general market shift to cloud computing and SaaS” by separating HPE Software from

HPE. The Offering Documents stated that “these challenges were exacerbated by HPE Software’s




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lack of a separate general and administrative expense structure within HPE, scalability challenges

(including in sales and marketing) and demands on HPE management from HPE’s other

businesses.” The Offering Documents further stated that “a combination of HPE Software with

Micro Focus would help address these challenges by creating a more focused, nimble and

scalable software business, particularly given Micro Focus’ historical experience with and focus

on effectively managing portfolios of mature infrastructure software products.”

       81.     The Merger was completed on September 1, 2017. As a result of the Merger, Micro

Focus issued ADSs representing more than 222 million Micro Focus shares to HPE shareholders

as of the Record Date. On the first day of trading, the ADSs closed at $35.14, representing a market

capitalization of over $6.47 billion.

       82.     Micro Focus also announced at the closing of the Merger the implementation of

FAST. According to Micro Focus presentations filed with the SEC on September 7, 2017, “FAST

will deliver an integrated end-to-end cloud-based system enabling Micro Focus to win in the

market.” Micro Focus also told investors on a September 7, 2017 investor call that FAST was “one

of the fundamental building blocks for operating the business effectively as we want to in our

current guide and also pervading that platform for the future.” Further, Defendant Murdoch told

investors on the September 7, 2017 call that HPE Software had built out the FAST system over

the last 13 months and thus had a “tremendous amount of institutional knowledge on the—on what

hybrid IT and operation for a business of our scale looks like,” and that Micro Focus would adopt

HPE Software’s approach to FAST as it moved forward.

              Both Micro Focus and HPE Software Were Facing Severe Sales and Staffing
              Problems Before the Merger Closed

       83.     While Defendants and HPE made numerous positive statements in the time period

between the announcement of the Merger in September 2016 and its closing nearly one year later,



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none of the public statements disclosed or properly informed investors of several significant

underlying problems at both HPE Software and Micro Focus that would later be revealed to have

undermined the success of the Merger in the near term. As described further below, those problems

were only exacerbated by the Merger.

                 1.      HPE Software Faces Massive Customer and Personnel Attrition

        84.      According to FE 4, HPE Software had many problems before its Merger with Micro

Focus, and the Merger was just a way to “put a dress on a pig.”10 As discussed below, according

to several former employees, the problems that HPE Software was experiencing increased

significantly after it announced the Merger with Micro Focus. Additionally, HPE Software’s spin-

off from HPE caused enormous friction; separating HPE Software from the core HPE business

required considerable work and caused much disruption in the HPE Software business. For these

reasons, during the period after the September 2016 announcement of the Merger, HPE Software’s

business was adversely affected by the fact that HPE Software’s clients had concerns that led many

customers to discontinue their contracts or decline to enter into new ones.

        85.      First, as soon as the Merger was announced, many HPE Software customers

declined to renew their contracts with HPE Software because it was going to be acquired by Micro

Focus, which had a reputation for auditing licenses and increasing maintenance prices, without

investing in software to update it, add features, or adapt to changing customer needs or advances.

In effect, HPE Software’s customers were concerned that they were buying a product that would

quickly become stale or obsolete. Indeed, numerous former employees, such as FE 6 called Micro




10
   FE 4 was a former HPE sales employee starting in 2014, and a Regional Director of HPE Enterprise Security
Software from 2016 to 2017 until the Merger, when FE 4 assumed the same position at Micro Focus until separating
from the Company in March of 2018.



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Focus a company where “software goes to die.”11 Similarly, FE 7 stated that Micro Focus focuses

on keeping existing customers as opposed to winning new customers.12 On the other hand, the

focus of HPE Software had always been to get business from new customers.

           86.   FE 1 stated that after the Merger was announced in September 2016, the feedback

from HPE Software customers was that “Micro Focus is where software goes to die” because

Micro Focus does the minimum to keep its software updated and then hopes that the customers do

not have the initiative to move to other software.13 According to FE 1, some of HPE Software’s

most important clients were consulting firms, which would recommend HPE Software to their

clients.     These    consulting      firms     included,     among       others,    Accenture,       Deloitte,

PricewaterhouseCoopers, Capgemini, and Indian consulting firms such as Tata, Infosys, Wipro,

HCL, and Tech Mahindra. According to FE 1, there was concern from these firms about which

HPE Software products would be eliminated by Micro Focus and whether Micro Focus would

continue innovating to add features and update former HPE Software products. According to FE

1, once the Merger was announced, this concern led to a decrease in consulting firms choosing or

recommending HPE Software. FE 1 thought that among the business partners that FE 1 worked

with, “easily” 50% of the deals stopped and were either abandoned entirely or were paused and

never got restarted. FE 1 estimated that the top ten partners he worked with were accountable for

around an eighth of HPE’s annual revenue. According to FE 1, there were reports that would




11
 FE 6 was a Compliance Manager at HPE from May 2011 to September 2017 and then at Micro Focus from the
Merger until June 2018.
12
 FE 7 worked at HP from 2005 to 2012 and was a Vice President, Worldwide Alliances and Original Equipment
Manufacturer at HPE and then Micro Focus from April 2017 until February 2018.
13
   FE 1 is a former HPE employee, who served as a Global Alliance Manager from 2014 to 2017 and in a similar
Global Alliances role at Micro Focus until leaving the Company in November of 2017, working with representatives
at companies, such as consulting firms, that would partner with Micro Focus/HPE to sell software to their own
customers.



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describe the new customers that the Company had obtained and the renewal percentage. FE 1

stated that it was harder to get customers to renew after the Merger announcement.

       87.     Similarly, according to FE 6 (identified in ¶85), based on FE 6’s experience with

customer auditing and compliance, after the Merger was announced there was a large reduction in

enterprise-license renewals by Fortune 100 companies, HPE Software’s biggest clients. FE 6

thought that the reduction was 50-60% of those Fortune 100 companies.

       88.     The senior executives at Micro Focus were aware of customer attrition and

concerns prior to the Merger. According to FE 4 (identified in ¶84), HPE created a “talk track”

for employees whose customers asked questions about the Merger. This talk track informed

employees to tell customers not to worry about the things they heard about Micro Focus regarding

aggressive auditing, and that the people responsible for that have all been fired and are not at Micro

Focus anymore. Further, FE 4 stated that at town hall meetings held every quarter, Defendant Hsu

and Sue Barsamian, then HPE’s Chief Sales and Marketing Officer (who assumed the same role

at Micro Focus after the Merger), would tell employees to let them know if they had accounts that

were at risk of leaving, so that they could get out in front of it and “walk them off the ledge.”

       89.     FE 1 (identified in ¶86) also stated that most HPE Software products had strong

competitors, and after the announcement of the Merger in September 2016, those competitors told

their customers not to buy HPE Software products because under Micro Focus the products would

be “dead” or not be invested in or functionally inferior in two years. FE 1 stated that customers

would rather buy software that is almost as good as the software from HPE Software, but that has

a certain future. According to FE 1, these competitors included VMWare, which is now part of

Dell, Oracle, and ServiceNow. According to FE 1, from FE 1’s experience and from speaking with




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other sales personnel, no sales person at HPE Software started a new conversation in the days after

the Merger announcement with a customer who was excited to buy HPE Software’s products.

       90.     Second, historically at HPE, a large number of HPE Software deals involved

bundling with HPE hardware, and sales of this software could not continue without the

corresponding HPE hardware. According to FE 3 (identified in ¶55), certain HP Enterprise

software products were typically purchased when bundled with HP hardware. The software was

then offered to the client for free or at a low cost. This practice, and any associated software sales,

declined after the announcement of the Merger, and were lost entirely after the Merger closed.

The adverse effect caused by the cessation of bundling was admitted by the Company in January

2018, when it disclosed the loss of revenue from bundling was a significant driver of the

Company’s poor performance in fiscal 2017.

       91.     Third, following the Merger announcement, HPE Software started experiencing

massive sales-personnel attrition. According to FE 1 (identified in ¶86), HPE held its yearly sales

“kickoff” party in November of 2016, and all anyone wanted to talk about was the Merger.

Defendant Hsu and Sue Barsamian (Chief Sales Officer) presented, and both spent most of their

time onstage trying to reassure everyone that it was “all roses and unicorns.” Sales personnel left

HPE Software, in part, because they understood that they would no longer be able to bring in new

deals or even renew previous deals with HPE Software as part of Micro Focus. FE 2 stated, for

example, that for the two years before the Merger, FE 2 made 125% to 150% of FE 2’s target

quota, but was on pace to only hit 25% of the target quota while working for Micro Focus. FE 1’s

team had 100% turnover after the Merger announcement, and as far as FE 1 was aware, they all

left voluntarily. According to FE 2 (identified in ¶54), from FE 2’s experience working with the

entire HPE sales force, Micro Focus lost approximately 50% of the HPE Software sales force after




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the announcement of the Merger. As detailed below, in March 2018 the Company admitted that

sales-force attrition was a major driver of the Company’s poor performance.

               2.      Micro Focus Experiences Problematic Sales and Personnel Attrition

       92.     Like HPE, in the period following announcement of the Merger, Micro Focus was

also experiencing massive sales-personnel attrition and, as discussed below, Defendants later

disclosed that the attrition in some areas was in the 25% to 30% range. According to FE 3

(identified in ¶55), who worked at Micro Focus while the Merger was pending, people were

leaving the Micro Focus sales force that FE 3 worked with in sales of Borland products, and this

sales force dwindled down even before the Merger closed. According to FE 3, people were leaving

the Company on their own, and there were also layoffs. As discussed below, this fact is further

corroborated by the Company’s disclosures throughout the Class Period. Indeed, in March of

2018, the Company significantly attributed its poor post-Merger performance to sales-personnel

attrition and the adverse effects of previously undisclosed sales-force layoffs at Micro Focus. The

Company continued to report on its purported progress with attrition throughout the remainder of

the Class Period, for example, noting on July 11, 2018 that attrition as “remains higher than we

would like” and reporting on July 11, 2019 that Micro Focus’s license revenue declined 11.1%

due in part to “significant levels of sales force attrition during FY18.”

              Micro Focus’s and HPE Software’s Prior Problems Are Aggravated by the
              Merger

       93.     According to numerous former employees, pre-existing problems at both HPE

Software and Micro Focus increased exponentially after the Merger closed due to the nature of the

Merger itself and the speed at which Micro Focus was attempting to integrate the two companies.

These problems also stemmed from the fact that, as competitors, Micro Focus and HPE Software

shared little information with each other before the close of the Merger.



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               1.      The Company Continues to Face Massive Employee Attrition

       94.     After the Merger closed, Defendants initially assured investors that Micro Focus

was not facing severe employee attrition, with Defendant Hsu denying on September 7, 2017 that

Micro Focus was experiencing high employee turnover and poor morale. Specifically, Defendant

Hsu stated that he “was actually somewhat taken aback” by analyst questions about turnover and

that “all we have is our people.” While Defendants ultimately were forced to admit on March 19,

2018 that attrition had lead, in part, to significant revenue declines, Defendants continued

throughout the Class Period to assure the market that these issues were under control, telling

investors that the “hiring engine is now functioning effectively” and that attrition was “trending .

. . back to what we would consider pretty normal for a software company.”

       95.     Defendants’ statements regarding attrition were false and misleading as numerous

former employees corroborated that following the closing of the Merger and throughout the Class

Period, the combined Micro Focus experienced continued attrition among its sales personnel and

customers. As discussed below, former employees attributed this attrition to deficiencies in Micro

Focus’s planned integration, including the disastrous integration of FAST as discussed below

which lead to an inability to invoice customers or get paid commissions, and HPE Software

customers’ unwillingness to move to Micro Focus.

       96.     FE 4 (identified in ¶84) confirmed that at least 30% to 40% of FE 4’s team left as

a result of the Merger, and that a conservative number would be that at least a quarter of the sales

force across the entire organization left. FE 4 stated that the sales people leaving were top

performers and did not want to work for a company that could not take care of their clients. Aside

from massive sales-personnel attrition, Micro Focus was overly aggressive in laying off sales

employees in an effort to reduce costs, as Micro Focus admitted later in the Class Period.




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           97.     According to FE 7 (identified in ¶85), the turnover of sales staff was pretty

aggressive, because once the sales staff saw that the sales focus was going to be on the existing

customer base, they missed the entrepreneurial competition. Moreover, according to FE 7, Micro

Focus effectively shut down marketing, and FE 7 had no funding to do promotions of products

with his customers. FE 8 stated that easily a third of the inside sales team when FE 8 was first

hired in June 2016 had left by February 2018.14 FE 9 stated that the difference in attendees at the

sales kickoff from November 2016 to November 2017 was “mind blowing” and estimated that

around 30-40% of the employees who were there in 2016 were not there in 2017.15

           98.     Similarly, FE 12 stated that 30% of FE 12’s sales force left because of the Merger,

and that while the attrition started right after the announcement of the Merger, it really started to

pick up three to six months after it closed because the systems were not working and sales

employees were not being paid commissions due to issues with FAST.16 Of the 100 people on FE

12’s sales floor, only 60 people remained when FE 12 left in June 2019 and attrition remained an

issue throughout the entirety of FE 12’s tenure.

           99.     Similarly, FE 13 confirmed that the attrition of the sales force was ongoing until

FE 13 left the Company in April 2019.17 FE 13 stated that Micro Focus’s management told

employees that the Company lost approximately 25-35% of its employees.




14
  FE 8 was an Enterprise Account Manager at HPE starting in June 2016 and served in that position at Micro Focus
following the Merger until 2018.
15
  FE 9 was a Sales Executive – Information Management and Governance at HPE from June 2016 through the Merger,
and then at Micro Focus until May 2018.
16
  FE 12 was a Director of Sales at HPE from August 2016 through the Merger and then at Micro Focus until June
2019.
17
     FE 13 was a Sales Director at HPE and then at Micro Focus from September 2017 through April 2019.



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           100.    FE 7 (identified in ¶85) stated that once sales personnel left, Micro Focus did not

replace them because of the “cost pressure” to meet targeted EBITDA.

           101.    According to FE 8 (identified in ¶97), there was also a huge “exodus” of sales staff

because, as discussed in more detail below, the FAST software that Micro Focus implemented was

unable to process sales quotes and purchase orders. FE 8 stated that while the program was called

FAST, “it was at a dead standstill.” FE 10 also corroborated that there was a “huge exodus” of

talented sales representatives that left Micro Focus as a result of the Merger.18

           102.    Even among non-sales personnel, attrition was still extremely high after the Merger

closed. For example, FE 14, a Lead Software Engineer who left in May 2019, stated that issues

with low morale and attrition started as soon as the Merger was announced and were still ongoing

when FE 14 left.19 Moreover FE 14 stated that the Company was only able to backfill some

positions very slowly.

                   2.      The Merger Causes Increased Customer Attrition and Impacts Micro
                           Focus’s Sales

           103.    Former employees also confirmed that reputational issues with Micro Focus and its

practice of conducting aggressive license audits, to be enforced by litigation if necessary, affected

the sales force’s ability to complete deals, contributing to personnel and customer attrition. In the

face of these issues, Defendants repeatedly assured investors throughout the Class Period that the

thesis of the Merger was “intact and strong.” Even when Micro Focus was forced to admit certain

issues stemming from the Merger starting in January of 2018, as discussed below, Defendants

continued to assure investors that it was making good “progress” at getting “back on track” with


18
  FE 10 worked at HPE starting in 2009, serving as a Senior Manager, responsible for Global Corporate Sales Policy
and Enterprise Contract Operations from 2013 through the date of the Merger and then taking on a similar role at
Micro Focus with responsibility for Corporate Sales Policy and Business Standards until leaving the Company in July
2018.
19
     FE 14 was a Lead Software Engineer at Micro Focus from August 2015 to May 2019.


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Micro Focus’s “outstanding customer and partner relationships” with Defendant Murdoch stating,

for example, in a February 14, 2019 press release that Micro Focus was “encouraged by progress

over recent months and believe we are getting back on track to focus on our outstanding customer

and partner relationships.” Contrary to Defendants’ statements, however, as corroborated by

numerous former employees at the Company, the customer and partner relationships were not

“outstanding” and the Merger was leading to drastically increased customer attrition. This

customer attrition, in turn, also lead to greater sales personnel attrition as Micro Focus employees

were unable to sell products and, thus, earn commissions.

       104.    For example, according to FE 2 (identified in ¶54), Micro Focus had a compliance

model according to which it would sue its customer base for lapsed licenses, and this hurt FE 2’s

ability to sell Micro Focus products to former HPE Software users after the Merger. Similarly, FE

6 (identified in ¶85) stated that many HPE Software clients did not want to renew after the Merger

announcement because Micro Focus was known for being very litigious and aggressive with

customers. For example, according to FE 2, there was a deal pending with Verizon, one of HPE’s

partner companies. When HPE announced the Merger, Verizon delayed the deal because it had

pending litigation against Micro Focus. As of March of 2018, when FE 2 left the Company, the

deal had still not closed. FE 2 stated that this deal and many other deals were delayed because

customers had pending litigation with Micro Focus. Additionally, according to FE 5 (identified in

¶54), Exxon Mobil, an HPE Software customer, told HPE Software that it did not want Micro

Focus employees on its campus and that Exxon Mobil had “blacklisted” Micro Focus due to an

audit of Exxon Mobil after Micro Focus acquired another company. FE 5 heard that Defendant

Hsu was on calls with Exxon Mobil representatives to try to “mend the fences.”




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       105.    Similarly, FE 12 (identified in ¶98), whose sales team covered Central and Western

U.S. territory accounts, including accounts other than Fortune 1000 companies, estimated that

around 10% of FE 12’s customers left Micro Focus. FE 12 stated that customers communicated to

the sales team that they did not want to do business with Micro Focus because it had a poor

reputation of auditing its customers. FE 12 further stated that approximately 25% of FE 12’s

customers stopped doing new business with Micro Focus.

       106.    Finally, following the Merger these problems affected sales of what had been HPE

Software products and required Micro Focus to make extraordinary customer concessions in order

to achieve even substantially reduced internal sales expectations. Specifically, during the fourth

quarter of 2017, Micro Focus sales personnel that had been with HPE Software offered large

discounts and extended payment terms to customers in order to “pull forward” sales. Indeed,

according to channel checks by Deutsche Bank analysts discussed in their March 19, 2018 report,

“HPE [Software] salespeople were offering aggressive discounts in 4Q to essentially pull forward

demand from future quarters. Were favourable financing terms offered on these sales, we would

expect to see higher receivables (ie clients buying software for future consumption on favourable

pricing and credit terms). This suggests that future revenues may have been pulled into an already

week FY2017.” This meant that much of HPE Software’s revenue was already pulled forward into

2017, and Micro Focus sales personnel would not be able to sell to customers that had already

received very discounted contracts. This analysis is corroborated by several former employees.

According to FE 4 (identified in ¶84), who was responsible for managing a sales team in the

Enterprise Security software business, discounts were being given to sell future sales in the current

quarters. FE 4 confirmed that upper management told employees to pull future deals into Q4 and

to do everything they could to pull sales forward.




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                    3.      Micro Focus Fails to Rationalize Micro Focus and HPE Software
                            Products

           107.     As corroborated by multiple former employees, and in contrast to Defendants’

statements regarding the synergies and benefits of the Merger, Micro Focus and HPE Software

had overlapping products that Micro Focus failed to rationalize and that cannibalized sales from

each other. Moreover, Micro Focus and legacy HPE Software segments of the Company continued

in their refusal to share information about their products, which information would have allowed

the combined Micro Focus to rationalize and enhance its products, or to sell off or otherwise

discontinue competing offerings. This overlap was contrary to what Micro Focus told the market.

For example, on September 7, 2017 during a Capital Markets Day presentation, Micro Focus’s

Chief Marketing Officer touted the “synergies” of the Merger stating that “the portfolios fit

together in some really strong ways, very little overlap, and where there is overlap, a great plan for

how we’re going to get best of both approaches and get synergies out of that.” Defendants

continued to tout various “synergies” from the Merger throughout the Class Period and also told

investors that as of a July 11, 2018 earnings call, the “product groups are working as one.”

           108.     Indeed, according to FE 14 (introduced at ¶102), a Lead Software Engineer, after

the Merger, Micro Focus and HPE failed to rationalize existing products, and these products would

“cannibalize” each other. FE 14 gave an example of a Micro Focus product called Sentinel and an

HPE product called ArcSight, which had a 100% overlap, as both products monitored security

events. FE 14 estimated that ArcSight created approximately $120 million in yearly revenue for

HPE. Similarly, FE 12 (identified at ¶98) stated that there were issues with overlapping

functionality between HPE Software and Micro Focus products, including between LoadRunner

and SilkPerformer,20 and between ArcSight/Sentinel, and that customers would not buy both


20
     Both LoadRunner and Silk Performer are application/software testing products.


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products. FE 12 made clear that the products were competing, indicating “you wouldn’t buy both.”

Indeed, the Company itself confirmed that this overlap existed and would continue when, in a

posting on a Micro Focus forum on February 16, 2018, Micro Focus’s Director of Product

Management, Michael Mychalczuk, wrote that ArcSight and Sentinel would both continue to exist.

               4.      Micro Focus and the Former HPE Business Were Not Operationally
                       Integrated

       109.    As stated above, not only did the Company fail to rationalize its product portfolios,

legacy HPE and Micro Focus sectors of the Company were not operationally integrated. For

example, legacy HPE refused to allow Micro Focus groups and employees to access its sales and

product engineering information, which information was integral to allowing the Company to

rationalize and enhance its products.

       110.    According to FE 14 (identified at ¶102), a Lead Software Engineer at Micro Focus

from August 2015 to May 2019, HPE’s network and Micro Focus’s network never joined. As a

Micro Focus engineer, even after a year, FE 14 did not have full access to HPE’s network or any

of its information. For example, as a developer, FE 14 needed access to source code, build services,

and testing framework from HPE, but his team had no access to this information.

       111.    FE 14 related that HPE would not let Micro Focus employees review their products.

For example, if FE 14, who was a “legacy” Micro Focus employee, wanted access to software that

one of FE 14’s colleagues at HPE produced, FE 14 could not review the software, but had to create

a purchase order and go through sales, and the Company would charge FE 14’s team for use of the

product. FE 14 stated that after six months, the system changed so that they would not need to

create a purchase order, but they would still need to go through an internal approval process every

three months to access the former HPE software.




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       112.    FE 14 also highlighted insufficient communication between the legacy Micro Focus

and legacy HPE segments about the various products sold by the combined Company. For

example, FE 14 recalled that Micro Focus needed to write an automation suite for ArcSight but

HPE never communicated that this code already existed. FE 14’s team spent months writing their

own automation suite for this product, procuring their own hardware and found out six months

later that HPE had some of the components already. FE 14 worked with other developers on other

HPE products, one that had to do with database encryption, who had similar issues with an inability

to access information.

       113.    Additionally, according to former employees, the legacy HPE and legacy Micro

Focus segments of the Company did not share their sales information, preventing employees from

adequately managing their forecasts, business contacts, and customer information. For example,

FE 12 (identified at ¶98) explained that Micro Focus and HPE used different Customer

Relationship Management (“CRM”) software (Micro Focus used Pivotal and HPE used

Salesforce) and sales personnel from legacy HPE did not have access to Micro Focus’s CRM.

Because of this, there was no way for sales personnel to manage their forecast, update information,

and refresh quotes. This inability to access information across CRM databases was ongoing when

FE 12 left in June 2019.

              Micro Focus Attempts and Fails to Implement the FAST Software Platform

       114.    Before the Merger closed in September 2017, HPE Software was in the process of

implementing the FAST software platform. Micro Focus decided before the close of the Merger

to move all of Micro Focus onto the FAST platform as well, and touted FAST as the “platform for

the future.” However, upon moving the acquired HPE Software business onto the FAST platform

shortly after the close of the Merger, problems immediately arose that prevented Micro Focus




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employees from adequately providing sales quotes to potential customers and creating invoices.

In short, the transition to FAST was an undisclosed and unmitigated disaster that substantially

impaired the proper operation and integration of HPE Software. According to FE 10 (identified in

¶101), this was because with FAST, “It was just a hurry up and get it done type of situation, so no

wonder it failed.” As FE 5 (identified in ¶54) confirmed, FAST was the “biggest catastrophe” FE

5 had “ever experienced as a sales person in terms of back office efficiency.” This sentiment—

that FAST was a disaster and was not working—is corroborated below by the accounts of former

employees and the Company’s own statements, including that in and around early 2019, the

Company decided to scrap FAST entirely.

         115.   Numerous former Micro Focus employees corroborated that FAST was not

functional and, in fact, prevented employees from creating sales quotes for and invoicing potential

clients. For example, FE 4 (identified in ¶84) stated that FE 4 was assigned to test FAST in early

2017 and gave the feedback that it was “terrible.” According to FE 7 (identified in ¶85), in

November and December 2017, FE 7 could not sell anything because FAST would not create a

quote.

         116.   According to FE 11, the new FAST system killed deals because it could not invoice

a deal even where a customer wanted a certain product and was ready to purchase it.21 FE 11 stated

that FE 11 personally lost around half a million dollars in revenue because of the issues with FAST.

That FAST prevented customers from being invoiced was also corroborated by FE 4 (identified in

¶84), who managed a sales team and stated that FAST could not process orders appropriately, so

FE 4’s sales team had purchase orders sitting around “that were not able to be processed and




21
   FE 11 was a Senior Account Manager in HPE’s ADM (Automated Development Management) business starting
in July 2016 and then continued in that role at Micro Focus until April 2018.



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booked.” FE 4 gave the example of one $130,000 order that was given to FE 4’s team in October

2017, but did not get completed until the end of January 2018. When it was completed, the

Company only recognized $60,000 of the deal because the systems were not set up properly and

incorrect discounts were applied. FE 10 (identified in ¶101) also corroborated that sales employees

were not able to provide invoicing and that the whole invoicing application had failed. According

to FE 9 (identified in ¶97), salespeople could not close deals for months because the FAST system

would not accept orders. FE 7 (identified in ¶85) similarly stated that FE 7 set up customers on

products with temporary passwords even though they had not yet been able to buy the product,

which cost the Company revenue because it did not back-charge the customer. Similarly, according

to FE 11, FAST was still not working when FE 11 left the Company in April 2018.

        117.     According to FE 15, in the first 90 days after FAST was implemented the Company

was unable invoice customers.22 As a result, thousands of invoices were incorrect and there were

“war rooms” of twenty people trying to fix invoices worth millions of dollars and this issue

continued past 2017. FE 15 indicated that it was common knowledge that FAST was poorly

designed, and that data migrated onto it contained errors.

        118.     FE 13 (introduced in ¶99) also stated that using FAST to invoice customers was a

“huge problem” and that when FAST was first implemented employees could not send an invoice

at all. Similarly, FE 12 (introduced in ¶98) stated that for the first couple of quarters following the

Merger, employees could not send invoices, bills, quotes, or renewals out of the FAST system. FE

12 stated that when FE 12 left in June 2019, FAST was still not fully working.




22
 FE 15 worked in Sales Operations at HPE through the Merger and then at Micro Focus (as a Sales Operations
Manager beginning in 2018) until May 2019.


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           119.    Further, according to FE 7 (identified in ¶85), FAST was also not sending out

maintenance invoices, and if a customer did not receive or pay maintenance invoices, then the

customer’s maintenance support was cut off.

           120.    Indeed, in 2018, the Company’s accounts receivable grew by 23% year-over-year,

and analysts, such as Deutsche Bank, estimated that Days Sales Outstanding grew from 81 to 108

days. As discussed in greater detail below, Micro Focus eventually admitted that these issues

related to its attempts to converge Micro Focus onto FAST, which led to discounts, extension of

payment terms, and customers not being billed properly. Indeed, the Company admitted on July

11, 2018 that “[b]etween 31 October 2017 and 30 April 2018, the Days Sales Outstanding (“DSO”)

increased from 65 days to 94 days as the newly implemented IT environment caused material

disruption within the order to cash process.” And the Company announced in February 2019 that

“[i]n the second half of the year, DSO remains elevated at 94 days.”

           121.    However, according to FE 7 (identified in ¶85), even though the Company realized

that its problems with integration were leading to an inability to invoice customers, once the

Company turned off the old sales systems, it refused to turn them back on.

           122.    Along with wreaking havoc on the Company’s ability to send customer invoices

and receive payment, FAST also prevented Micro Focus from paying partner rebates. According

to FE 16, by December 2017, FAST was not even close to finished, and there was no process or

even a mechanism built into FAST to pay channel partners or resellers for their rebates.23 FE 16

explained that through its “partner” program, Micro Focus may sell to a distributor like TechData,

and TechData would sell to another company who would provide services, consultations,

professional licenses and other services from Micro Focus to an end user like Amex. The


23
     FE 16 was a Senior Manager of Global Partner Operations at Micro Focus from February 2017 to May 2019.



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distributors would then get rewards for driving certain sales. FE 16 stated that because of FAST’s

inability to pay rebates, there was a backlog in partner payments that HPE owed since 2016 that

was significant and in the millions of dollars. Partners were unhappy and many would “go quiet,”

meaning that the partner would just stop interacting with Micro Focus and would instead sell other

similar products from Micro Focus’s competitors.

        123.    Starting in February 2018, FE 16 was asked to send updates on a daily or weekly

basis regarding the backlog on partner payments up to a war room type meeting that included

Deloitte and Micro Focus’s COO.24 The Executive Defendants were well aware of the issues with

partner payment backlog. Indeed, according to FE 16, in the days after Defendant Hsu resigned

(as discussed in more detail below), Defendant Loosemore and Defendant Murdoch participated

in a town hall session. During the town hall meeting, Loosemore expressed to employees that he

was aware that there were issues with the Company, including that there was a significant eight-

figure backlog of partner payments, something that had been in the reports FE 16 sent to the “war

room,” due to issues with FAST.

        124.    According to FE 16, there were a number of other issues the war room was working

out, including cash allocation. The Company was getting payments from customers but could not

allocate them to the right invoices.

        125.    According to many former Micro Focus employees, the problems created by the

FAST implementation also further drove salesforce attrition that had begun at both HPE and Micro

Focus before the closing of the Merger. As further corroborated by the Company’s later

admissions, employees recounted that the sales force attrition at Micro Focus continued and

accelerated in the months following the closing of the Merger, including due to the inability to sell


24
  Defendant Murdoch was the Company’s Chief Operating Officer until March 2018 when Defendant Hsu resigned
and he took over as Chief Executive Officer.


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or service customers as a result of problems with FAST. According to FE 2 (identified in ¶54),

FAST had no way to link the program in which sales employees were inputting data for their sales

to the system that would pay out commissions.

           126.   According to FE 11 (identified in ¶116), many salespeople quit Micro Focus to

move elsewhere because they were not able to invoice their deals and, thus, were not able to get

any commissions. According to FE 8 (identified in ¶97), there was a huge “exodus” of sales staff

because the FAST software that Micro Focus implemented was unable to process sales quotes and

purchase orders. FE 8 stated that while the program was called FAST, “it was at a dead standstill.”

           127.   According to FE 16 the problems with FAST and commission payments continued

through at least May 2019 when FE 16 left the Company. In particular, FE 16 noted that there

was a great deal of frustration at Micro Focus when FE 16 left because commission payments for

the financial year, which started in November 2018, had not been issued. FE 16 indicated that this

meant that it had been six months where sales personnel had not received any commission

reflecting their performance.

           128.   According to FE 10 (identified in ¶101), there were all employee meetings quarterly

and FAST was a topic of conversation at these meetings. Defendant Hsu would attend these

meetings and would say that he knew there were problems with FAST, but that he was positive

that things would straighten themselves out. FE 10 thought that Defendant Murdoch also attended

these meetings. According to FE 10, issues with FAST were brought up after October 2017.

Similarly, FE 9 (identified in ¶97) stated that the issues with FAST were discussed on an all-hands

quarterly call around January 2018 that Sue Barsamian was on. On the call, employees were told

that management knew there were issues with FAST, they were trying to fix the issues, and to be

patient.




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       129.    FE 16 (introduced in ¶122) stated that by February 2018, Micro Focus hired the

consulting firm Deloitte to help fix FAST, but FAST was never fixed. According to FE 16, and as

the Company would later admit, in or around January 2019, Micro Focus hired WPP Consulting

to create a new program from scratch, in effect scrapping FAST.

       130.    Micro Focus was finally forced to announce that FAST was costing much more

than planned and that, as discussed above, it would eventually need to be completely scraped. As

discussed below, on July 11, 2018, in its interim results for the six months ended April 30, 2018,

Micro Focus announced that the costs required for the Merger would be $960 million instead of

the $750 million previously flagged due to the Company’s need to “stabilize then remediate the

FAST platform.”

              The Truth Emerges

               1.     The January 8, 2018 Partial Disclosure

       131.    On Monday, January 8, 2018, before the opening of the market, the Company

issued a press release and filed a Form 6-K announcing its interim results for the six months ended

October 31, 2017—the first interim results since the completion of the Merger with HPE Software

on September 1, 2017. The results reflected a serious and previously undisclosed deterioration of

virtually every aspect of the combined Company’s business, as well as problems with the

integration of HPE Software and implementation of Micro Focus’s brand new FAST system. The

Company reported its total results, as well as results for two operating segments: the Micro Focus

Product Portfolio, which contained its mature infrastructure software products, and SUSE, which

included its open-source products. The acquired HPE Software business’s results were reported as

part of the Micro Focus Product Portfolio’s results for the two months from the closing of the

Merger to October 31, 2017. Because HPE Software was only part of Micro Focus for two months




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of the reported period, the Company also reported six-month results for the “Existing [i.e., legacy]

Micro Focus Product Portfolio” and the “HPE Software Product Portfolio.”

       132.    Among other things, the press release and Form 6-K reported revenue of only

$1.235 billion for the six-month period and adjusted EBITDA of only $530 million. The HPE

Software revenue for the twelve months ended October 31, 2017 was $2.9 billion, which was at

the very bottom of the prior reported guidance of $2.890 billion to $2.960 billion.

       133.    Micro Focus’s legacy businesses’ revenue was 2.7% lower on a constant currency

(“CCY”), year-over-year basis for the period; revenue from the existing Micro Focus Product

Portfolio declined by 7.0% on a CCY, year-over-year basis; and the legacy Micro Focus’s

Adjusted EBITDA was 4.1% lower on a CCY, year-over-year basis. In addition, Micro Focus

reported revenues of only $500.3 million for the six months ended October 31, 2017 in its Existing

Products segment, reflecting a 7% year-over-year decline. The Company’s licensing services in

its Existing Products segment declined 17% during this same time, and its consultancy services in

the segment declined 11.7%.

       134.    The Form 6-K quoted Defendant Loosemore as admitting that the Company had

“put operational improvement plans on hold while working on the completion of the HPE

Software transaction,” and the Form 6-K also attributed the Micro Focus Product Portfolio’s

year over year $17.3 million Adjusted EBITDA decline to “operational efficiencies [being] put

on hold pending the completion of the HPE Software transaction.”

       135.    In addition, the Company stated in the Form 6-K that “[w]e were disappointed with

sales execution primarily in our Americas region,” where the Micro Focus Product Portfolio’s

overall revenue declined 11% and license revenue declined 31% year-over-year.




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       136.    The Company’s Form 6-K also belatedly revealed problems caused by the spinoff

of HPE Software from HPE and by the Company’s implementation of its new FAST system, the

internal software platform for Micro Focus’s own marketing, sales, and other business functions,

which were known internally from prior to the beginning of the Class Period as reported by the

numerous FEs whose accounts are discussed above. FAST “went live” on November 1, 2017 for

the legacy HPE Software business, and the Company admitted that “[t]he go-live process has been

more challenging than anticipated due to issues related to migrated data that have taken time to

resolve. . . . The challenges associated with the carve out of the HPE Software business and the

go-live on FAST have resulted in some delays to customer and partner invoicing and cash

collection in the short term with an increase in DSO [days sales outstanding, a measure of how

long customers take to pay invoices] that is anticipated to continue for a period of time.”

       137.    The Company also revealed that Defendant Phillips would be demoted from CFO

to Director of M&A.

       138.    Also on January 8, 2018, Micro Focus held a conference call with analysts and

investors about the six-month results. During this call, Defendant Hsu disclosed some facts

partially revealing the falsity of Defendants’ prior statements, including that the combined

platform was not “strong,” and that the Merger had not created efficiency, but rather it had

aggravated pre-existing sales and personnel problems at both HPE Software and Micro Focus.

Specifically, Defendant Hsu stated that:

               a.      Legacy HPE Software revenue of $2.9 billion was down 7% year-over-year,

                       at the lower end of Defendants’ prior guidance range provided in September

                       2017;




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             b.     Legacy Micro Focus revenue (including both the Micro Focus Product

                    Portfolio and SUSE) was down 2.7% year-over-year relative to the prior

                    guidance of “broadly flat”;

             c.     The legacy Micro Focus Product Portfolio’s revenue was down roughly 7%;

             d.     Contrary to the misleading representations that the Merger would increase

                    EBITDA margins, Hsu admitted that “EBITDA for the Micro Focus

                    [P]roduct [P]ortfolio was down and that is reflective largely of the

                    operational performance improvements that were put on hold while we

                    completed the transaction with Hewlett Packard Enterprise”;

             e.     “[W]e have some hotspots. FAST1, anytime you do a major implementation

                    of a system like that, there are things that don’t necessarily go exactly as

                    planned and we’re working through them”;

             f.     “[W]hat would be expected is that there’s—some of that is a little bit

                    bumpy. And that has been the case, especially when it comes to data

                    migration. . . . And when you actually put those into [the] system and try

                    and run quotes or invoices, the system kicks them out”; and

             g.     “[W]hat we’ve had to do is really build a workaround system to resolve the

                    issues [with FAST] so that systematically they’re fixed, but also to get the

                    quotes and the invoices done so that it doesn’t impact us from a revenue

                    perspective. And as I mentioned, the teams have worked tirelessly through

                    the holidays to really make that happen.”

      139.   These disclosures partially revealed the falsity of Micro Focus and the Executive

Defendants’ prior statements, including, for example, their statements about the “enlarged




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company’s . . . technology innovation, global resources and a highly skilled workforce,” “strong

platform,” and “3,000 salespeople globally”; their denials of high employee turnover and low

morale; and their assertions that “[d]espite [the] complexity of [the] transaction we have continued

to execute on the core business” and that “we’re not disrupting the product flow into the

marketplace.” Indeed, Micro Focus and the Executive Defendants began to partially disclose the

truth – that both HPE Software and Micro Focus were facing weakened sales and sales personnel

attrition and that the integration of the Merger was, in fact, “disrupting” the business.

       140.    Analysts reacted negatively to the January 8, 2018 disclosures. In a report dated

January 8, 2018, Investec Securities commented that the results were “poor on revenues” and on

“the near term disruption the HPE deal is causing to core Micro Focus sales traction and the

integration challenges.” The Investec Securities report warned: “Our main concern is playing out

earlier than expected, with material top line declines coming through due to the size of the

integration challenge and disruption this may cause to the focus on revenues, which the group

needs considering the legacy and ‘non-sticky’ nature of many of its offerings.” Investec issued

another report on January 9, 2018, calling Micro Focus’s results a “damp squib”: “The reveal we

had all been waiting for since the Sept 16 HPE announcement was a damp squib. . . . [W]e saw

continued underperformance in core Micro Focus, no new financial information on HPE

integration, tepid cash flow, and some SUSE softness. . . . Our concern is that the core Micro Focus

revenue decline has been accelerating and there is little evidence as yet that HPE sales declines

can stabilise medium term.” The comments by Investec confirmed that the revenue trends and

operational problems described by the numerous FEs quoted above were now being publicly

revealed.




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       141.     In a report dated January 8, 2018, Numis Securities Limited highlighted the

problems that were known internally at Micro Focus from the beginning of the Class Period

became known to investors, specifically that HPE Software revenue “at the bottom of its guidance

range . . . implies licence revenue down by approx. 30% in Q4. This reflects a combination of a

tough comp as Q4-16 was the last quarter when software products were sold by the entire HPE

Group and sold on a bundled basis . . . together with a negative impact from disruption and

salesforce changes.”

       142.     In a report dated January 8, 2018, UBS also described facts belatedly revealed to

investors that FEs described as being known prior to the Merger, specifically concerning Micro

Focus’s “poor sales execution in the Americas.” UBS issued another report on January 10, 2018,

noting that the absence of bundling HPE Software products with hardware offerings contributed

to poor sales “Q4 16 was the last quarter where HPE Hardware and Services was incentivized to

sell software, creating a challenging comparative,” and that “sales execution had been poor,

especially in the Americas.”

       143.     In a report dated January 9, 2018, Barclays Capital Inc. wrote: “The market (and

we) underestimated just how weak the HPE Software Q4 would be, and disappointing sales

execution at core Micro Focus did not help. . . . Specifics on the reasons for sales slippage and

mis-execution were brief and this meant that the decent guidance was somewhat discredited, in

our view.”

       144.     Credit Suisse headlined its report dated January 9, 2018 “More questions than

answers” and wrote that “we would argue that’s now 18 months of disappointment for ‘legacy’

Micro Focus.”




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       145.    In response to the January 8, 2018 partial corrective disclosures, Micro Focus ADSs

fell $6.94 per ADS on January 8, 2018 from the prior trading day’s close, or 16%, to close at

$34.86, on unusually high trading volume of more than 2.1 million ADSs. This represented a loss

of approximately $1.3 billion in the total market capitalization represented by the ADSs

originally issued in connection with the Merger.

       146.    After the Company’s January 8, 2018 disclosures discussed above in ¶¶133-138,

Micro Focus and the Executive Defendants continued to reassure the market of the Company’s

“strong platform,” “proven operating model,” post-merger integration, sales personnel, and

revenue expectations. For example, Defendant Hsu misleadingly stated on the January 8, 2018

conference call that:

               a.       “We also believe that we have a strong platform with a proven operating

                        model”;

               b.       “the transaction thesis of the HPE Software business is intact and strong”;

               c.       “we’re only a couple months post the completion of the transaction and

                        we’ve already integrated the product teams”;

               d.       “we believe that we have and are building a competitively advantaged

                        platform with, number one, scale; two, a standard integration approach;

                        efficient product and development methodologies; one modern IT platform;

                        and the financial strength to benefit from that further industry

                        consolidation”;

               e.       “one of the areas of most significant accomplishment is standing up 70% of

                        our revenue, which is the HPE Software business which we did in

                        November on a completely new IT system, which is a very modern system.




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                      . . . And we did that within two months post the close of the transaction.

                      There are very few businesses that close one of the largest, most complex

                      global mergers and then two months later, stand up 70% of the revenue on

                      a completely new ERP [enterprise resource planning] system, transaction

                      system, frontend and backend, and we’ve done that”;

               f.      “we have a fully integrated sales team as of November 1”;

               g.     “the great thing about this is that we have a very clear structure and

                      governance process for managing the integration, for managing all the

                      various different investments that are being made, and that’s all being

                      driven under Stephen Murdoch’s organization”; and

               h.     in response to an analyst’s question about “sales execution issues in Micro

                      Focus in the last six months in the core business” and whether the Company

                      was “getting a little bit too far”: “I’m not worried really about the speed.”

       147.    On January 31, 2018, the London Evening Standard reported that Investec had

“decided to put the boot in” Micro Focus by cutting its rating from “hold” to “sell”; the article

quoted Investec analyst Julian Yates as saying: “The scale of the [HPE Software] integration, lack

of evidence that the underlying Micro Focus had stabilised and HPE’s vast and largely

undifferentiated software stack diluting Micro Focus differentiation concerned us. . . . Recent

results underwhelmed and our concerns have escalated rather than abated.”

               2.     The March 19, 2018 Partial Disclosure

       148.    In sharp contrast to Defendants’ disclosures touting the benefits of the Merger,

including increased EBITDA and profit margins, on March 19, 2018, Micro Focus disclosed in a

Form 6-K that the Company’s revenue declines had significantly accelerated because of previously

concealed problems with its new FAST system, sales-force attrition and underperformance, and


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post-spinoff problems marketing HPE Software products unbundled from HPE products.

Specifically, the Form 6-K’s “trading update for the twelve months ending 31 October 2018”

disclosed:

       Since the interim results on 8 January 2018, the rate of year-on-year revenue decline
       has been greater than anticipated and accordingly the Group is issuing revised
       constant currency revenue guidance for the twelve months ending 31 October 2018
       of minus 6% to minus 9% compared to the proforma 12 months ending 31 October
       2017. This updates revenue guidance of minus 2% to minus 4% provided at the
       interim results on 8 January 2018. . . .

       Chris Hsu has submitted his resignation in order to spend more time with his family
       and pursue another opportunity. He will step down immediately as the CEO of the
       company. Stephen Murdoch, currently Micro Focus COO, becomes CEO and
       rejoins the Board with immediate effect.

       The recent revenue performance is primarily due to lower than expected licence
       income and is a result of a number of factors, which management believe to be
       largely one-off transitional effects of the combination with HPE software, rather
       than underlying issues with the end market or the product portfolios. These factors
       include:

       1. Issues relating to our new IT system implementation, which have impacted the
       efficiency of our sales teams, our ability to transact with partners and our cash
       collection;

       2. Higher attrition of sales personnel due to both integration and system related
       issues;

       3. Disruption of ex Hewlett Packard Enterprise global customer accounts as a result
       of the demerger of Hewlett Packard Enterprise; and

       4. Continued sales execution issues particularly in North America.

                                               ***

       As a consequence of the factors set out above, for the six-month period ending 30
       April 2018 the Group expects revenues to decline on a constant currency basis at
       minus 9% to minus 12% compared with the proforma comparable prior period and
       DSOs to remain at a temporarily elevated level.

                                               ***

       Kevin Loosemore, Executive Chairman of Micro Focus International commented:
       “We remain confident in Micro Focus’ strategy whilst recognising that operational
       issues have led to a disappointing short term performance and outlook. . . .”


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       149.    Thus, the March 19, 2018 “trading update” partially revealed the falsity of

Defendants’ prior representations concerning the effectiveness of the integration of Micro Focus

and HPE Software, the combined companies’ ability to sell their products, their sales personnel,

and the impact of the spinoff of HPE Software from HPE.

       150.    Also on March 19, 2018, Micro Focus held a conference call with analysts and

investors about the update. During this call, newly installed Micro Focus CFO Kennedy disclosed

some facts partially revealing the falsity of Defendants’ prior statements, including:

               a.      “Since the interim results on the 8th of January 2018, the rate of year-on-

                       year decline has been greater than anticipated, mainly driven by license

                       declines. In consequence, we’re revising constant currency revenue

                       guidance for the 12 months ended 31st October 2018 compared to the pro

                       forma 12-month period ended October 2017 to the new range of minus 6%

                       to minus 9%”;

               b.      “[C]ollections remain impacted by our new IT system implementation . . .”;

               c.      “We believe that the revenue decline issues are mainly due to one-off

                       transitional effects relating to the combination with HPE Software and with

                       not [sic] underlying issues with the end market or the product portfolios.

                       Those key transitionary factors are the IT system, which is . . . it’s called

                       FAST. We have suffered implementation issues there, which have impacted

                       the efficiency of our sales teams, and our ability to transact with partners

                       and customers and our cash collection”;




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     d.    The “system” problems had led to elevated levels of provisions for bad

           debts, and the Company did not expect to “have stabilized the system” until

           the end of 2018;

     e.    “We’re actually seeing declines across both the heritage Micro Focus and

           the heritage HPE side, . . . which is part of the reason why we’re pointing

           to at least some transitionary impact, because it’s happening across both

           portfolios. Also, when you look across geographies, North America is

           disproportionately impacted. . . . So, . . . the central thesis [is] that this is not

           a product and portfolio issue, it’s an integration and execution issue”;

     f.    “[W]e’ve had two quarters of significant [license] declines. . . . [W]e don’t

           think the market has changed fundamentally in that period. We think our

           performance has”;

     g.    “We’ve had higher attrition of sales personnel due to both the integration

           and system-related issues, the disruption of global customers from the

           disaggregation of the Hewlett Packard Enterprise companies and continued

           sales execution issues, particularly in North America”;

     h.    “[A]s Stephen [Murdoch] said earlier, we did underestimate the impact of

           losing the influence in the big account[s] of the broader HPE cooperation .

           . . .”;

     i.     “We’re giving you guidance now for the six months to April 30th, which

           is a decline in revenue on a constant currency basis of minus 9% to minus

           12% compared to the comparable pro forma period”;




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               j.      In response to an analyst’s question about why the Company was reducing

                       its guidance so soon after the January 2018 guidance: “what changed is that

                       we’ve had revenue decline since that interim announcements [sic]. And

                       we’ve outline[d] the reasons that we believe are responsible for that, which

                       is around the integration, the system implementation, the HPE disruption,

                       and the sales execution in North America”; and

               k.      In response to an analyst’s question whether “the pace of cost-cutting has

                       been too hard,” causing the revenue declines: “The correlation between cost

                       savings harder and revenue weakness, we believe there may be some areas

                       of the business in some places where that could be a causal effect and we’re

                       reinvesting into certain areas of the business. . . . So we’re currently

                       embarked on hiring net new salespeople, particularly in North America. So

                       I think your hypothesis there may have some validity in certain places.”

       151.    Also, on the March 19, 2018 conference call, Defendant Loosemore disclosed facts

partially revealing the falsity of Defendants’ prior statements, including:

               a.      “Within North America versus the rest of the world, the revenue weakness

                       is stronger in North America. . . . [T]he sales force attrition has been

                       stronger in North America. In a business of this sort, you would expect

                       general attrition normally to be at the 15% to 20% range. We’ve got pockets

                       where it’s been higher than that by up to 10 points and we’re seeking to

                       address those.”

               a.      Computer Associates and BMC, two of the Company’s principal

                       competitors in “the mature part of the infrastructure market,” had revenues




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                     indicating that “the market for this kind of software is broadly flat.” Thus,

                     the fact that “our performance is worse than theirs . . . leads us to believe

                     that the concerns are more of our making than of the market[‘s] making.”

              b.     “We’re currently embarking on a plan to increase the number of salespeople

                     in the business, particularly in North America, where we will be hiring net

                     new salespeople out to the end of the year . . . .”

              c.     “[O]n the maintenance side, it’s true the difficulties in, again, with the IT

                     system in terms of quotes has led to a delay in some of those renewals. . . .

                     [T]he one impact we can say we have seen, which will probably be more

                     permanent in nature is that, our ability to go after win-backs. So, this is

                     where a customer has previously left us and we go to win that business back.

                     It’s sad to say that that has suffered in the first few months of this year as

                     we deal with the issue of getting the quotes and the renewals done,” and

                     this will be a “persistent impact.”

              d.     “Much of the integration work is on track, but clearly, systems—some of

                     the system stuff is behind, and that’s a disappointment. . . . We do have a

                     lot of work to do, and clearly, we have a lot of work to do to regain the

                     confidence of the investors. And I think the share price reaction shows that

                     there’s an element of trust that needs to be rebuilt . . . .”

       152.   Analysts reacted to the March 19, 2018 news with shock.

       153.   Echoing many of the analyst reports published after the January 8, 2018 disclosures,

in a report dated March 19, 2018, Deutsche Bank further confirmed that the problems leading to

the bad news reported on March 19, 2018 were the same issues known internally at Micro Focus




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from before the closing of the Merger (as reflected in the numerous former employee accounts

discussed above):

        While management are attributing the current problems to weak sales execution,
        our channel checks suggest the issues reflect a number of other concerns, ie

              Customers moving from buying from HPE who we understand have a
               reputation for treating customers well and benefitted from a ‘no one got
               fired for buying IBM’ philosophy, to working with MCRO who have a
               reputation for license audits and increasing maintenance prices

              Under HPE, a large number of deals involved bundled hardware and
               software, and therefore some of the software sales may not have otherwise
               happened on a standalone basis

              As the product set appears to have been somewhat underinvested under
               HPE, this now appears to be impacting sales with a lag. . . . It is therefore
               hard for existing customers to justify buying incremental new product from
               MCRO, and it is incredibly difficult to win net new customers ie to displace
               other mature software players.

        154.   Deutsche Bank also wrote that Micro Focus made previously undisclosed and

excessive cuts to the ranks of its sales force:

                [E]arly cost [savings] delivery . . . was in part driven by aggressive cuts
                in sales—a wide number of expensive outside sales roles were cut and
                replaced by lower cost inside salespeople. We hear that this was done
                somewhat uniformly, ie on the basis of account size, though for some
                products, even in small accounts, a certain level of outside/technical sales
                is generally required.

                Management admit that this may have been overly aggressive and that
                some more capacity will need to be added here, particularly in the US and
                at a senior level We are also concerned that the growth products may be
                somewhat underinvested which may be partially driving weak revenues . .
                ..

        155.   Moreover, Deutsche Bank wrote that its channel checks “suggest that HPE SW

[software] salespeople were offering aggressive discounts in 4Q to essentially pull forward

demand from future quarters. Were favourable financing terms offered on these sales, we would

expect to see higher receivables (ie clients buying software for future consumption on



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favourable pricing and credit terms). This suggests that future revenues may have been pulled

into an already weak FY17.” This reflects that even the weak results reported on March 19 were

inflated by undisclosed steep discounts and extended payment terms offered to customers in an

effort to mask what would have otherwise been an even worse result.

       156.    In a report dated March 20, 2018, Barclays wrote that “investors seem to have lost

all faith in Micro Focus succeeding in its HPE [S]oftware integration. . . . Execution has clearly

worsened, but all signs point to internal (rather than market) issues, namely ERP [i.e., FAST]

migration, sales churn and global account relationship.”

       157.    In a report dated March 20, 2018 and titled “A reality shock,” Credit Suisse wrote

that Micro Focus’s “surprise revenue warning and CEO resignation . . . is obviously negative and

there is a suggestion that costs have been cut too hard too quickly.” With respect to management,

Credit Suisse commented that “Chris Hsu’s (CEO) departure is no surprise. That said, the ‘old’

management team must shoulder some responsibility.”

       158.    In response to the March 19, 2018 disclosure, Micro Focus ADSs fell $14.70 per

ADS, or nearly 47%, from $31.59 on March 16, 2018, to close at $16.89 on March 19, 2018, on

unusually high trading volume of more than 24 million ADSs—a loss of approximately $2.7

billion in the total market capitalization represented by the ADSs originally issued in connection

with the Merger. As the market continued to absorb the news over the next several days, Micro

Focus’s ADS price continued to fall on unusually high trading volume, closing at $15.66 on March

22, 2018. This represented a decline of more than 55% from the ADS closing price on the date of

the Merger’s close.

       159.    But Defendants continued to falsely reassure investors on March 19, 2018 that they

were effectively addressing the “integration challenges.” Specifically, Defendant Murdoch told




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investors that “the impact of the system issues is now under better control and we’re seeing

improvements in stability, throughput and accuracy” and that “[d]espite the integration

challenges, the board believes that the fundamental thesis of the HPE Software acquisition remains

intact.”

                  3.      The July 11, 2018 Partial Disclosure

           160.   On July 11, 2018, in its “interim results” press release for the six months ended

April 30, 2018, Micro Focus announced a further decline in revenue performance and that the

“exceptional costs” required for the Merger would be $960 million instead of the $750 million

previously flagged (i.e., an increase of $210 million) due to the company’s need to “stabilize then

remediate the FAST platform.” The press release also stated that costs of remediating FAST could

be as much as $270 million greater than previously disclosed.

           161.   The press release quoted Defendant Loosemore:

           Due to initial challenges in the integration of the HPE Software assets, we believe
           that we are running approximately one year behind our original plan and as
           communicated in March, we expect that on exiting the current financial year
           revenues will be substantially lower than anticipated at the time of the transaction.
           By the year ending 31 October 2020, we expect the business (excluding SUSE) to
           have stabilized revenue declines and be delivering Adjusted EBITDA margins in
           the mid-40’s%. Incremental cost savings required to deliver the above can be
           accomplished with only a $30m increase to the $600m estimated in September
           2016. [T]he cost of [stabilizing new IT systems in HPE Software] and the
           anticipated further necessary remediation will incur an additional $180m in
           exceptional charges on top of the $150m estimated in September 2016.

           162.   The press release also quoted Defendant Murdoch:

           There have been significant integration issues in combining cultures as our people
           adapt to this more dynamic environment where execution is expected to be faster,
           operations simpler and people more accountable. This has been compounded by the
           complexities of standing up a completely new set of I.T. systems, implementing a
           new Go-To-Market organization and changing the fiscal year end.

           The systems complexities were significant and a recap of context is relevant. Micro
           Focus had embarked upon a programme to refresh and standardise systems as the
           final phase of the Attachmate Group integration. However, once it became apparent


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       that the HPE Software transaction was executable we decided to cancel the existing
       Micro Focus project and utilize the platform (FAST) being built by HPE to facilitate
       the carve out of HPE Software as the single platform for the enlarged Group.

       The system has been live from mid-November 2017 for the heritage HPE Software
       business but there have been material and ongoing issues, first signalled at our 8
       January 2018 interim results and expanded on in our March trading update.
       Progress has been made with the system now stable and able to support the
       business. All core business processes can now be executed end-to-end with many
       now at target operating levels. Accomplishing this still requires many manual
       workarounds and as such operational effectiveness and agility are compromised.

       These issues created a backlog of customer and partner invoicing and subsequent
       cash collection . . . [W]e continue to have elevated DSOs and there is a systematic
       program of issue resolution and simplification being executed to continue to
       improve the situation.

                                                ***

       The systems issues, compounded in sales by insufficient focus on effective
       enablement of the teams, created an environment where attrition is at elevated
       levels. . . . A normalisation of attrition rates . . . will take time.

       163.    The Company also announced on July 11, 2018, that due to ongoing problems with

FAST, Days Sales Outstanding had further deteriorated to 94 days as of April 30, 2018, compared

with 65 days as of October 31, 2017, “as the newly implemented IT environment caused material

disruption within the order to cash process.” The increase in the section of the business using

FAST, “where the disruption was a key driver in the increase,” was to 104 days compared with 71

days as of April 30, 2017.

       164.    Micro Focus also confirmed that its revenue decline of 8.7% was “significantly

impacted by the transition issues that we talked about in March.”

       165.    Thus, the July 11, 2018 “trading update” further partially revealed the falsity of

Defendants’ prior representations concerning the effectiveness of the integration of Micro Focus

and HPE Software, the implementation of FAST, the combined companies’ ability to sell their

products, and the attrition of their sales personnel.



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         166.   On a conference call to discuss the financial results on July 11, 2018, Defendant

Murdoch said that “We’ve got work still to do on attrition. It’s still at an elevated level, and we

still have hot spots within it.” He also admitted that “our systems problems meant we weren’t

paying the sales reps on what they’d actually sold. We’ve been paying them on estimates . . . and

sales reps like to be paid. So we’ve now worked our way through that. We think the combination

of both of those things will normalize attrition over time . . . .” He also said: “Now getting to that

point [of operating core business processes effectively] requires too much manual intervention. So

it’s constraining our overall operational effectiveness and it’s certainly constraining our long

term.”

         167.   Micro Focus’s CFO Kennedy said, “We continue to believe that the revenue decline

in MFPP of 8.7% is significantly impacted by the transition issues that we talked about in March.”

He also said that “the systems issues that we highlighted in March . . . have meant that DSOs are

still elevated above normal levels . . . .” Kennedy also said: “The bulk of the invoicing and cash

allocation issues in the system have been fixed. So what we’re doing today, we’re issuing a very

high proportion of invoices to customers. But we’re still dealing with the backlog of the issues that

we suffered in Q1 going into Q2. We’re working through those issues.”

         168.   Defendant Loosemore stated on the conference call with regard to the Merger that

“It’s a challenging transition. And if you take that we are nearly 2 years from the announcement

of the transaction in September of 2016, we think we’re about a year behind where we wanted to

be at this stage. So first off, we have to acknowledge that.”

         169.   In response to an analyst’s question about attrition, Defendant Murdoch said that

“the total annualized attrition . . . remains higher than we would like . . .”




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       170.    Investors and analysts were dismayed by the July 11, 2018 results. Deutsche Bank

wrote in a report that day: “MCRO’s interim results were poorly received . . . . [I]nvestors focused

on the negatives, namely 1) the risks around further cost removal from an already distressed

business 2) the incremental $210m of exceptional costs guided to FY20, mainly relating to

increased IT expenses 3) weak cash ﬂow with working capital worsening.” J.P. Morgan Cazenove

wrote in a report that day, “this is the largest merger in the company’s history, and some of the

execution risks we have highlighted in the past have revealed themselves in H1.” The next day,

Barclays wrote: “New negatives: For us the meaningful negative in the update was the (admittedly

unsettling) additional $210m cash exceptional guidance, $180m of which relates to the systems

rebuild. Some are questioning the achievability of the 2020 guide.”

       171.    In response to the July 11, 2018 disclosure, Micro Focus ADSs fell $1.59 per ADS,

or 8%, from $20.62 on July 10, 2018, to close at $19.03 on July 11, 2018, on unusually high trading

volume of 2.8 million ADSs.

       172.    Despite the partial disclosures of the truth about the Merger’s adverse impact on

the Company quoted above, Defendants continued to falsely reassure investors and to make false

and misleading statements about the Merger’s aftermath on July 11, 2018. For example, the

Company’s “interim results” press release stated: “Progress on integration with IT systems

stabilizing, business being simplified, sales organization re-aligned and refocused.” Other false

and misleading statements by Defendants on July 11, 2018 and during the period from that date to

July 9, 2019 are quoted in ¶¶ 255-260, 306-309 below.




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               4.      The July 9, 2019 Partial Disclosure

       173.    On July 9, 2019, in its “interim results” press release for the six months ended April

30, 2019, Micro Focus announced that its license revenue again declined, this time by 11.1% on a

constant-currency basis, due in part to “significant levels of sales force attrition during FY18.”

       174.    The press release quoted Defendant Murdoch:

       The complexities of the HPE Software business integration continue to require
       detailed      attention      and     substantial      programme       planning      and
       execution. . . . Integration work to improve our operational effectiveness is closely
       linked to instilling the right corporate culture of sharper execution, simpler business
       operations and a dynamic, accountable team. Progress is being made against this
       goal but there remains more to do on this front. . . . [T]he integration of the HPE
       Software business remains a complex and significant programme of work . . . .

       175.    Thus, the July 9, 2019 “trading update” further partially revealed the falsity of

Defendants’ prior representations concerning the effectiveness of the integration of Micro Focus

and HPE Software, the combined companies’ ability to sell their products, and their sales

personnel.

       176.    Micro Focus admitted, in part, that it was still struggling with employee attrition.

On a conference call to discuss the financial results on July 9, 2019, Defendant Murdoch said in

response to an analyst’s question about attrition that “it’s trending to—back to what we would

consider pretty normal for a software company, so kind of mid-teens. Within there, there are still

pockets and we’re working hard to iron out those pockets, and we mentioned security.”

       177.    Micro Focus’s CFO, Brian David McArthur-Muscroft, said: “The license revenue

declined by 11.1% in the 6 months ended 30 April. Within this, the revenue decline in security

was higher than expected due to the impact of the significant levels of sales force attrition

experienced in the financial period 2018. And this rate of attrition impacted sales execution . . . .”

       178.    Investors and analysts were negatively surprised by the July 9, 2019 results.

Barclays wrote that “[o]n the call, . . . there was considerable discussion on the weakness in


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security, which was impacted by unwanted sales attrition away from the business.” Investec

Securities wrote in a July 10, 2019 report that “the continued task of HPE integration (product

portfolio, consistent sales execution, culture etc) will impact margins. . . . We forecast declining

profits medium term due to the challenge we see coming from the HPE deal; we retain our Sell

[rating].”

        179.   In response to the July 9, 2019 disclosure, Micro Focus ADSs fell $4.15 per ADS

in two days, or 16%, from $26.21 on July 8, 2019, to close at $22.06 on July 10, 2019, on unusually

high trading volume of 800,000 and 1 million ADSs on July 9 and 10, respectively.

        180.   Despite the partial disclosures of the truth about the Merger’s adverse impact on

the Company quoted above, Defendants continued to falsely reassure investors and to make false

and misleading statements about the Merger’s aftermath on July 9, 2019. For example, the

Company’s “interim results” press release quoted Defendant Murdoch as saying, “We are making

steady progress [in integrating the HPE Software business] with notable examples including: the

completion of the project to build our own IT operational infrastructure and separate from the HPE

operational environment, [and] continued improvements to our core business systems . . . . [W]e

are confident in our ability to complete this [integration] and thereby deliver on our original thesis

of making Micro Focus an efficient and optimised platform operating at scale with sector-leading

margins and the opportunity to grow further through acquisition.” Other false and misleading

statements by Defendants on July 9, 2019 are quoted in ¶¶306-309 below.

               5.      The August 29, 2019 Disclosure

        181.   More information about the Merger’s catastrophic impact on Micro Focus was

revealed on August 29, 2019, when the Company issued a “Trading update and Strategic review”

disclosing further revenue deterioration and announcing a “strategic review” of its operations:




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       The Board has concluded that recent trading means that the Group does not expect
       to meet the constant currency revenue guidance of minus 4% to minus 6%, for the
       full year to 31 October 2019, compared to the 12 months ended 31 October 2018.
       Weak sales execution has been compounded by a deteriorating macro environment
       resulting in more conservatism and longer decision making cycles within our
       customer base. There remains a significant pipeline of business opportunity being
       pursued but to be within the current guidance range a highly challenging percentage
       of this pipeline would need to close prior to year end. As such the board considers
       it appropriate to revise the guidance range for the year ending 31 October 2019 to
       minus 6% to minus 8%.

       Against this backdrop the Board has decided to accelerate a strategic review of the
       Group’s operations. This review will focus on what in addition to execution
       improvements are required to optimise the value of our broad portfolio of products
       and it will consider a range of strategic, operational and financial alternatives
       available to the Company.

       182.    Thus, the “Trading update and Strategic review” revealed that Micro Focus was

continuing to suffer from “weak sales execution,” which (as confirmed by the former employees

quoted Section IV(E)(1)-(2),(F)) was caused at least in substantial part by the continuing adverse

impacts of the Merger on the Company’s sales-personnel attrition and dysfunctional internal

systems for issuing customer bids and invoices. The Company did not hold any conference call to

provide further explanations of the disastrous August 29, 2019 news or to answer analysts’

questions.

       183.    Analysts and investors were shocked by the revised guidance and “strategic review”

and attributed them at least in part to the ongoing adverse impacts of the Merger. The Financial

Times quoted Amit Harchandani, an analyst with Citigroup, as saying on August 29, 2019, that

Micro Focus had limited scope for significant cost cuts and that a more likely outcome would be

the sale of some of the assets it had acquired from HPE.

       184.    Barclays wrote in an August 29, 2019 report: “[T]he company has . . . announced a

strategic review to look at operational, strategic and financial options for the business. There is no




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conference call this morning to discuss this in more detail . . . . [T]oday investors are likely to

question whether the strategic review itself implies issues are likely to take some time to resolve.”

       185.    The Telegraph newspaper reported on August 30, 2019, that investors viewed the

announcement as revealing additional previously undisclosed problems with the Merger:

       Micro Focus’s deal to merge the UK firm with US technology giant HP’s software
       business was arguably too big and unwieldy to succeed. Many believe Micro Focus
       eventually bit off more than it could chew.

       Two years after the much-maligned deal and in the wake of the departure of CEO
       Chris Hsu, investors are still looking for answers as to whether it can be turned into
       a success.

Matthew Field, “Micro Focus: The Inside Story on How One of Britain’s Biggest Tech Companies

Fell Into Turmoil,” Telegraph, Aug. 30, 2019.

       186.    Similarly, UBS wrote in a report on September 3, 2019: “[T]he continued poor

execution in integrating HPE Software is a reminder that an acquisition-led model brings

additional risk. . . . In our view, MCRO’s ongoing share loss reflects in part an aged and less

competitive product portfolio, in part macro factors and sales execution/attrition issues, and in part

distraction and disruption inevitably caused by the complex and lengthy integration of HPE

Software.”

       187.    In response to the August 29, 2019 disclosure, Micro Focus’s ADS price fell $5.91

per ADS or 31% in one day, from a close of $18.89 on August 28 to $12.98 on August 29, wiping

out $846 million in shareholder value for the ADSs alone.

V.     VIOLATIONS OF THE EXCHANGE ACT

       188.    In addition to the materially false and misleading statements and omissions alleged

above, the Executive Defendants made the following materially false and misleading statements

and omissions before and during the Class Period.




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              Pre-Class Period False and Misleading Statements

            189.      Before the start of the Class Period, the Executive Defendants made

materially false and misleading statements in press releases and investor and analyst conference

calls concerning the reasons for and benefits of the Merger and the current state of Micro Focus’s

and HPE Software’s operations. These pre-Class Period false statements are further indicative of

the Executive Defendants’ course of fraud and scienter.

               1.     September 7, 2016 Merger Announcement

            190.      Micro Focus announced the Merger on September 7, 2016, before the start

of the Class Period, and touted the Merger as creating “one of the world’s largest pure-play

infrastructure software companies.” In materials also filed with the SEC on September 7, 2016,

Micro Focus told investors that the Merger had the “potential to deliver total shareholder returns

superior to those likely to be achieved on an organic basis” and the “scope to improve HPE

Software’s profitability through the application of our disciplined operating model.” The

presentation further stated that it would be “possible to improve the margin delivered by HPE

Software’s mature software assets to the typical levels seen in Micro Focus by the end of the

third full financial year following completion.” Micro Focus announced that it would complete

the Merger in the third quarter of 2017, but that in the meantime it was “Business as Usual.”

            191.      On an investor call on September 8, 2016, Defendant Loosemore announced

that in HPE Software, Micro Focus was acquiring $3.2 billion in revenues and that Micro Focus

was making this acquisition because it saw “a huge opportunity for efficiency improvement” and

a “mix of opportunities to consolidate, to create scale in key segments that we operate in on

products which are often adjacent to what we currently do.”

            192.      During the September 8, 2016 investor call, Defendant Loosemore also

announced that, with the Merger, Micro Focus was getting “a significant operational efficiency


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opportunity in terms of how we can improve the margins of the business.” Loosemore further

stated that “[w]e have a track record of driving efficiencies. There is nothing we need to do, which

is different than what we’ve done in any of our previous acquisitions, it’s just big and larger scale,

but as we’ve discussed with many of you, we’ve been building the management team over the

prior year to actually accommodate that.”

            193.       The statements quoted in ¶¶190-192 above were materially false and

misleading because, due to the then-existing problems at both HPE Software and Micro Focus, the

Merger could not create the various types of “efficienc[ies],” increasing profit margins, or other

purported benefits claimed in the statements, given that (i) the companies had overlapping and

competing product offerings that could not be rationalized and would compete with and

cannibalize each other; (ii) the companies were operating independently and would not be able to

test and properly implement the FAST system, which they intended to deploy immediately after

the Merger, and the successful testing and implementation of which were necessary to realizing

the efficiencies and noted increases in profit and EBITDA margins; (iii) the companies were both

experiencing significant sales-force attrition due to customer and integration concerns that would

impair the combined Company’s ability to maintain revenue or achieve the growth needed to

effectuate any purported benefits of the Merger; (iv) HPE Software customers did not want to

renew their contracts or declined to enter into new contracts during the pendency of HPE

Software’s proposed Merger with Micro Focus due to concerns, among others, about Micro

Focus’s reputation for license audits, litigation against its customers, and lack of innovation, and

these factors also further contributed to HPE Software’s sales-force attrition; and (vi) Micro Focus

and the Executive Defendants knew that HPE Software’s revenue and business would be adversely

impacted by its inability to continue bundling its software with HPE products and services.




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                 194.        In response to an analyst’s question about “what additional opportunities

are there from this deal and from the relationships that result,” Defendant Loosemore discussed

FAST, stating that “[o]n the systems side, one of the hidden opportunities for us here is that HP

have already started on a process of updating their systems which actually, ironically, they started

by putting systems in place for [A]utonomy, where they weren’t happy with the systems. And what

they’re doing is, they’re completing those systems during the coming year. So the opportunity we

have is to actually piggyback on the back of that. So we will be amending our plan to be a plan to

how we will then roll our systems onto their system completion. So it actually provided us with

effectively another opportunity to save money.”

                 195.        Defendant Loosemore’s statements quoted in ¶194 above were materially

false and misleading because they omitted the material fact that the FAST program had not yet

been implemented, was not adequately tested, and was highly problematic. For example, FE 4

(identified in ¶84) stated that FE 4 was assigned to test FAST in early 2017 and gave the feedback

that it was “terrible.”

                 2.          July 12, 2017 Preliminary Results for the Year Ended April 30, 2017

                 196.        On July 12, 2017, Micro Focus held an analyst and investor conference call

to discuss its preliminary financial results for the fiscal quarter and year ended April 30, 2017.25

On the call, Defendant Murdoch, who was then the Company’s CEO, stated that Micro Focus was

managing the integration process with “2 very significant teams; 1 on the HPE side, 1 on our side,

all managed under a common governance structure, tracking more than 10,000 very specific tasks

through to completion.” Similarly, Defendant Loosemore stated that the Merger was expected to

be completed by September 1, 2017, and that the new business would be “fully integrate[d]” by



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     As a result of the Merger, the fiscal year end for the Company was changed from April 30 to October 31.


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November 1, 2017. Further, in Micro Focus’s unaudited preliminary results for the quarter and

year ended April 30, 2017, Micro Focus announced that it “will do nothing that will constrain our

ability to achieve organic growth and we are currently investing significant amounts on activities

designed to enhance growth.”

       197.    The statements quoted in ¶196 above were materially false and misleading because

HPE Software and Micro Focus: (i) the companies were operating independently and would not

be able to test and properly implement the FAST system, which they intended to deploy

immediately after the Merger (which, according to FE 4 (identified in ¶84), was tested in early

2017 and which, according FE 4 was found to be “terrible”), (ii) had overlapping and competing

product offerings that could not be rationalized and would compete with and cannibalize each

other, and (iii) were both experiencing significant sales force attrition due to customer and

integration concerns that would impair the combined Company’s ability to maintain revenue or

achieve growth needed to effectuate any purported benefits of the Merger. As the Executive

Defendants well knew, it was not possible for the new business to be “fully integrate[d] by

November 1, 2017.” These statements were also false because, as the Company later admitted, the

Company had “put operational improvement plans on hold while working on the completion of

the HPE Software transaction.”

              Defendants’ False and Misleading Statements

               1.     The Offering Documents

       198.    To effect the Merger, Defendants filed the Offering Documents, including a Form

F-4, a Form F-6, and a Form 10 which all provided information to ADS acquirers. On August 4,

2017, Micro Focus registered the underlying Micro Focus shares on a Form F-4, which stated that

“[t]he securities being offered hereby will be issued in the form of American Depositary Shares

of the registrant” with “[e]ach Micro Focus ADS [to] represent one Micro Focus Share[.]” The


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Form F-4 was amended on August 15, 2017 and declared effective that same day (the “Registration

Statement”). The Registration Statement was signed by Defendants Loosemore, Phillips,

Murdoch, Brauckmann, Slatford, Atkins, Brown, Scheiber, Manon, and Roos. On August 22,

2017, Micro Focus filed a prospectus for the ADSs to be issued in the Merger on Form 424B3,

which formed a part of the Registration Statement (the “Prospectus”). The Prospectus was also

incorporated by reference and attached as an exhibit to the Form F-4. Under ‘33 Act §5(b)(2),

Micro Focus was required to make the Prospectus available to all acquirers of ADSs. See 15 U.S.C.

§ 77e; SEC, Am. Depositary Receipts, Release No. 33-6894, 1991 WL 294145, at *13 (“Where

the deposited securities are being registered concurrently under the Securities Act, investors would

receive a prospectus that includes . . . disclosure [about the deposited securities].”).

       199.    Plaintiff and the Class were the intended recipients of the information in the

Offering Documents. The Prospectus informed recipients of the ADSs of their rights in the Merger

and directed them to additional information. Specifically, in a section entitled “Where You Can

Find More Information,” the Prospectus stated that “Micro Focus has filed with the SEC a

Registration Statement on Form F-4 (Reg. No. 333-219678) of which this information

statement/prospectus forms a part . . . to register under the Securities Act the Micro Focus Shares

that HPE Stockholders will receive in the form of Micro Focus ADSs.” The Prospectus further

told the recipients of Micro Focus ADSs that “[y]ou are urged to read this information

statement/prospectus in its entirety, as well as the registration statements . . . of which this

information statement/prospectus forms a part, as they contain important information about Micro

Focus, HPE, the Seattle Shares, the Micro Focus Shares and the Micro Focus ADSs.” It also stated

that “[y]ou are receiving this information statement/prospectus because you are a holder of HPE

shares” and that “you are urged to read this entire information statement/prospectus carefully . . .




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. This information statement/prospectus will help you understand the Transactions and your

investment in Micro Focus after the Merger.”

       200.     Additionally, HPE shareholders who acquired Micro Focus shares first “received a

distribution of shares from HPE in a special entity (Seattle SpinCo) set up for purposes of the

transaction to separate HPE Software from HPE.” Seattle SpinCo also filed a Form 10 to issue

securities in the Merger, which, like the Form F-4, incorporated by reference and attached the

Prospectus. Investors’ Seattle SpinCo shares were then automatically converted into Micro Focus

ADSs (representing ordinary shares) that Micro Focus issued directly to investors in a registered

offering. Micro Focus filed a Form F-6 registering the ADSs, which includes the depositary receipt

and depositary agreement and which “contains no information about the non-U.S. company. If a

foreign company with [ADSs] wishes to raise capital in the United States, it would separately file

a registration statement on Form F-1, F-3, or F-4.” SEC Office of Inv’r Educ. & Advocacy,

“Investor Bulletin: Am. Depository Receipts,” at 2 (Aug. 2012). A Form 8-A12B filed by Micro

Focus on August 15, 2017, which registered the ADSs for trading on the New York Stock

Exchange, also registered the underlying ordinary shares, incorporated the F-4 Prospectus by

reference, and stated: “Each American Depositary Share represents the right to receive one

ordinary share . . . of Micro Focus[.]”

              201.     The Offering Documents provided “Micro Focus’ Reasons for Engaging”

in the Merger, characterizing the Merger as “a rare opportunity to achieve a significant increase

in Micro Focus’ scale and breadth, with the potential to deliver enhanced Total Shareholder

Returns consistent with Micro Focus’ stated objectives.” Specifically, the Offering Documents

stated that the Merger was expected to “enhance Adjusted Earnings Per Share by April 30, 2019

and thereafter, with scope for further benefits as operational improvements are realized across the




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Enlarged Group.” The Offering Documents also stated that “[a]cquisitions are only made if the

Micro Focus Board believes that they will generate risk adjusted returns greater than the base

case.”

            202.      The statements quoted in ¶201 above were materially false and misleading

because they omitted that: (i) HPE Software was experiencing high customer attrition and sales-

force attrition due to its spinoff from HPE and the fact that customers were uninterested in

continuing or creating contracts with a company that was about to become part of Micro Focus;

(ii) Micro Focus was also experiencing increasing attrition of sales personnel; (iii) Micro Focus

was experiencing declining sales, especially in North America; (iv) the companies had overlapping

and competing product offerings that could not be rationalized and would compete with and

cannibalize each other; and (v) HPE and Micro Focus were operating independently and would

not be able to test and properly implement the FAST system, which they intended to deploy

immediately after the Merger, and the successful testing and implementation of which were

necessary to realizing the efficiencies and noted increases in profit and EBITDA margins. Given

that these significant sales- and employee-attrition problems had been aggravated in the period

following the announcement of the Merger (in September 2016), the Merger would not, in fact,

“deliver enhanced Total Shareholder returns” or “risk adjusted returns greater than the base case.”

            203.      The Offering Documents also stated that the Merger would “add a

substantial recurring revenue base to Micro Focus’ existing product portfolio, together with

access to important new growth drivers and new revenue models.”

            204.      The statement quoted in ¶203 above was materially false and misleading

because HPE Software was experiencing high customer attrition and sales-force attrition due to its

spinoff from HPE. HPE Software customers did not want to renew their contracts or enter into




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new contracts during the pendency of HPE Software’s proposed Merger with Micro Focus due to

concerns, among others, about Micro Focus’s reputation for license audits, litigation against

customers, and lack of innovation, and these factors also contributed to HPE Software’s sales-

force attrition. In addition, the Executive Defendants knew that HPE Software’s revenue and

business would be adversely affected by its inability to continue bundling its software with HPE

products and services. Finally, HPE Software and Micro Focus had overlapping and competing

product offerings that could not be rationalized and would compete with and cannibalize each

other, offsetting any positive effects of the Merger. Thus, the Merger would not add a “substantial”

recurring revenue base to Micro Focus.

            205.       Further, the Offering Documents stated that the Merger would “create

significantly greater scale and breadth of product portfolio covering largely adjacent areas of

the software infrastructure market, thereby creating one of the world’s largest pure-play

infrastructure software companies.”

            206.       The statement quoted in ¶205 above was materially false and misleading

because Micro Focus and HPE Software had overlapping products that could not be rationalized

and would compete with and cannibalize each other. As confirmed by FE 3 (identified in ¶55), it

was common knowledge that Micro Focus was not in the business of rationalizing its acquisitions

and, instead, left them to compete. Thus, the two companies’ product portfolios were not “largely

adjacent” and would not create a beneficial “breadth of product portfolio.”

            207.       The Offering Documents also touted significant “cost benefits” and

“efficiencies” stemming from the Merger, including that:




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     a.    “Significant cost benefits will arise from reducing duplicated central costs,

           combining corporate support functions (where appropriate) and increasing

           efficiency across all functions”;

     b.    The Merger will “accelerate operational effectiveness over the medium

           term, through the alignment of best practices between Micro Focus and HPE

           Software in areas such as product development, support, product

           management, account management, and sales force productivity, as well as

           achieving operational efficiencies where appropriate”;

     c.    A benefit of the Merger was “improved operating efficiencies to enable

           HPE Software, combined with Micro Focus, to accelerate financial and

           operational performance”;

     d.    The combination would help alleviate certain “challenges” in HPE

           Software’s “maturing infrastructure software business as part of the general

           market shift to cloud computing and SaaS” by separating HPE Software

           from HPE: “The HPE Board believed that a combination of HPE Software

           with Micro Focus would help address these challenges by creating a more

           focused, nimble and scalable software business, particularly given Micro

           Focus’s historical experience with and focus on effectively managing

           portfolios of mature infrastructure software products”;

     e.    “[A]nticipated benefits” of the Merger included the “convergence of

           businesses operating in adjacent and complementary product areas in order

           to better serve customers as a global provider of infrastructure software and




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                      the improvement of the profitability of HPE Software through the

                      application of Micro Focus’ operating model”; and

               f.     The Merger would “accomplish a number of important business objectives

                      for HPE,” including “improved operating efficiencies to enable HPE

                      Software, combined with Micro Focus, to accelerate financial and

                      operational performance.”

       208.    The statements quoted in ¶207 above were materially false and misleading because,

as alleged above, the portfolios of HPE Software and Micro Focus were largely overlapping and

Micro Focus had no plan to rationalize the combined product portfolios. Thus the Merger would

not realize any “efficiencies” or “cost benefits.” Further, these statements were false and

misleading because the Merger and the troubled implementation of the FAST program decreased

profitability and increased inefficiencies when sales personnel could not provide quotes to or

invoice clients. These statements were further materially false and misleading because they

omitted that: (i) HPE Software was experiencing high customer attrition due to its spinoff from

HPE and the fact that customers were uninterested in continuing or creating contracts with Micro

Focus due to concerns, among others, about Micro Focus’s reputation for license audits, litigation

against customers, and lack of innovation; (ii) HPE Software and Micro Focus were both

experiencing increasing attrition of sales personnel and thus the Merger would not “accelerate

operational effectiveness” in “sales force productivity”; (iii) Micro Focus was experiencing

declining sales, especially in North America ; and (iv) HPE Software’s revenue and business were

adversely affected by its inability to continue bundling its software with HPE products and

services.




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       209.    The Offering Documents also disclosed Micro Focus’s financial results for the six

months ended April 30, 2017, including that revenue from licensing was $311 million during that

period. While this amount had declined slightly since 2016, it was still 22.1% of total net revenue

from those six months. These statements were materially false and misleading because they failed

to disclose the material adverse trends in Micro Focus’s sales, especially in North America, and

sales-force attrition affecting that revenue, as required by Item 303 of Regulation S-K.

       210.    For the reasons stated in ¶209 above, Defendants’ statements violated Item 303,

which requires the disclosures of “known trends . . . that have had or that the registrant reasonably

expects will have a material . . . unfavorable impact on . . . revenues.” As the SEC has emphasized,

the “specific provisions in Item 303 [set forth above] require disclosure of forward-looking

information.” The SEC has stated that Item 303 is “intended to give the investor an opportunity to

look at the company through the eyes of management by providing both a short and long-term

analysis of the business of the company . . . with particular emphasis on the registrant’s prospects

for the future.” Management’s Discussion and Analysis of Financial Condition and Results of

Operation, Securities Act Release No. 6835, 1989 WL 1092885, at *3 (May 18, 1989). Thus,

“material forward-looking information regarding known material trends and uncertainties is

required to be disclosed as part of the required discussion of those matters and the analysis of their

effects.” Commission Guidance Regarding Management’s Discussion and Analysis of Financial

Condition and Results of Operation, Securities Act Release No. 8350, 2003 WL 22996757, at *11

(Dec. 19, 2003).

       211.    Disclosure of known trends and forward-looking information concerning the

registrant’s revenue is required by Item 303 “where a trend, demand, commitment, event or

uncertainty is both [i] presently known to management and [ii] reasonably likely to have material




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effects on the registrant’s financial condition or results of operation.” Management’s Discussion

and Analysis of Financial Condition and Results of Operation, Securities Act Release No. 6835,

1989 WL 1092885, at *4 (May 18, 1989).

       212.    As alleged in detail above at ¶¶209-210, both of these conditions were satisfied

here. First, the trends of soft North American sales and sales-force attrition were known to the

Executive Defendants. Second, these trends were “reasonably likely to have material effects on

[Micro Focus’s] financial condition or results of operation.” As a direct result of this trend, Micro

Focus would be dramatically affected, as the Company would and did experience a significant

decline (31%) in licensing revenue.

       213.    Micro Focus and the Executive Defendants also made false and misleading

statements in their discussion of risks, in each of which they disclosed purported future risks that

had already become manifest and would only later be belatedly disclosed as underlying causes of

the extremely poor performance of the Company following the Merger. The Offering Documents

stated that the following risks may affect Micro Focus in the future:

       The Group’s success will depend on its investment in and development of
       products and services that continue to meet the needs of its customers. [Emphasis
       in original.]

       The success of the Group depends on its ability to meet the ongoing needs of its
       customers by continuing to invest in and develop its products and services. If the
       Group’s products and services do not meet its customers’ requirements, they will
       seek alternative solutions, potentially resulting in the loss of new revenue
       opportunities and the cancellation of existing contracts. The Group must make
       long-term investments, develop, obtain and protect appropriate intellectual property
       and commit significant research and development and other resources before
       knowing whether its predictions will accurately reflect customer demand for its
       products, services and solutions. Any failure to make such investments or take
       such action, or any failure to accurately predict customer demand, control
       research and development costs or execute the Group’s product development
       strategy could harm its business and financial performance.




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       214.    As discussed above, before the closing of the Merger, it was well known internally

at both HPE Software and Micro Focus that numerous HPE Software customers were not and

would not accept license renewals or sign new contracts following the announcement of the

Merger in 2016, fearing that the software would not be kept up to date and be subject to innovation

and development. In the words of many former employees, the HPE Software customers feared

the effects of Micro Focus’s well-known reputation as a company where “software goes to die” or

as a “software hospice.” See ¶¶55, 85. Accordingly, it was materially misleading to describe the

possible failure “to invest in and develop its products and services” as a potential risk, when that

risk had already transpired.

       215.    The Offering Documents’ risk disclosures also stated that the Merger’s success

would depend on the effectiveness of the Company’s sales force:

       The Group is dependent upon the effectiveness of its sales force and distribution
       channels to maintain and grow license, maintenance and consultancy sales.
       [Emphasis in original.]

       The Group is dependent on the success of its sales force, and its failure to develop
       the skill sets of its sales personnel may lead to poor sales performance.
       Furthermore, weak organizational alignment and inadequate incentivization
       may lead to poor performance among employees of the Group. From time to time,
       the Group may make changes to the organizational structure and compensation
       plans of the Group’s sales organizations, each of which may increase the risk of
       sales personnel turnover. To the extent that the Group experiences significant
       turnover within its direct sales force or sales management, there is a risk that the
       productivity of the sales force would be negatively impacted which could lead to
       revenue declines. In addition, it can take time to implement new sales
       management plans and to effectively recruit and train new sales personnel.

       216.    The statements quoted in ¶215 above were materially false and misleading because

the Merger was causing significant disruption of product flow as HPE Software was experiencing

significant customer attrition and both Micro Focus and HPE Software were experiencing

significant attrition of necessary sales personnel. See Section IV(D). The falsity of the above

statements is further confirmed by the belated disclosures in March 2018 that Micro Focus’s poor


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results were, in part, a result of “higher attrition of sales personnel due to both integration and

systems related issues.” Accordingly, it was materially misleading to describe the risk associated

with the “effectiveness of [the Company’s] sales force” as a potential risk, when that risk had

already transpired.

       217.    The Offering Documents also disclosed that a key risk associated with the success

of the Merger concerned integration of Micro Focus and HPE Software:

       Integration of HPE Software with the existing businesses carried on by the Micro
       Focus Group may be more time consuming and costly than anticipated.
       [Emphasis in original.]

       The Micro Focus Group and HPE Software currently operate and, until Closing,
       will continue to operate as two separate businesses. The Merger will require the
       integration of the businesses, and the success of the Group will depend, in part, on
       the effectiveness of the integration process.

       The key potential difficulties of combining the businesses following Closing
       include the following:

              developing, operating and integrating a large number of different
               technology platforms and systems, in particular integrating the IT
               platforms of both businesses;

              coordinating and consolidating services and operations, particularly across
               different service areas, regulatory systems and business cultures;

              consolidating infrastructure, procedures, systems, facilities, accounting
               functions, compensation structures and other policies;

              integrating the management teams and retaining and incentivizing key
               employees;

              coordinating communications with and/or the provision of services by the
               Group to customers of both the Micro Focus Group and HPE Software; and

              disruption to the businesses of each of the Micro Focus Group and HPE
               Software.

       218.    The statements quoted in ¶217 above were materially false and misleading because

(i) HPE and Micro Focus were operating independently and had not tested and would not be able




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to properly implement the FAST system, which they intended to deploy immediately after the

Merger, and the successful testing and implementation of which were necessary to realizing the

efficiencies and noted increases in profit and EBITDA margins, and (ii) the merging companies

had overlapping and competing product offerings that could not be rationalized and would compete

with and cannibalize each other, precluding a successful integration of the two businesses.

Accordingly, it was materially misleading to describe the risk associated with “integration” as a

potential risk, when that risk had already transpired.

               2.      September 7, 2017 Capital Markets Day

       219.    On September 7, 2017, at a Capital Markets Day at the London Stock Exchange

Conference Forum, attended by Defendants Hsu, Loosemore, Phillips, and Murdoch, these

Defendants and Micro Focus again touted the strength of the combined Company. In written

investor materials, Micro Focus stated that the “[c]ombined company is a strong platform with a

proven operating model for managing a portfolio of scale assets and is well-positioned to benefit

from consolidation.” The presentation also stated that the combined Company’s “lean operating

model preserves capital and maximizes total shareholder returns on a sustainable basis.”

       220.    With regard to integration, the presentation emphasized that “[d]espite [the]

complexity of [the] transaction we have continued to execute on the core business.”

       221.    The statements quoted in ¶¶219-220 above were materially false and misleading

because the combined platform was not “strong,” the operating model was not “proven,” and

shareholder returns were not “sustainable,” as both HPE Software and Micro Focus had been

experiencing severe customer and personnel attrition before the closing of the Merger. Moreover,

the statement that Micro Focus had “continued to execute on the core business” was false and

misleading because, as Micro Focus later admitted, it had been experiencing implementation




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problems, including problems implementing its new internal software platform (FAST), which

adversely affected the efficiency of its sales team and its ability to transact with partners and

customers and collect customer payments. These statements were also misleading because they

omitted the material facts that: (i) HPE was losing customers due to concerns, among others, about

Micro Focus’s reputation for license audits, litigation against customers, and lack of innovation;

(ii) HPE Software and Micro Focus were both experiencing increasing attrition of sales personnel,

and thus the Merger would not “accelerate operational effectiveness” in “sales force productivity”;

(iii) Micro Focus was also experiencing declining sales, especially in North America; and (iv) HPE

Software’s revenue and business were adversely affected by its inability to continue bundling its

software with HPE products and services.

       222.    During the September 7, 2017 investor presentation, Defendant Hsu also again

emphasized that Micro Focus had a “strong platform and operating model” with a “proven

operating model with a world-class management team behind it” and the “portfolio of depth and

breadth to really help our customers across hybrid IT.” Hsu also stated that “[t]he strategy

remains consistent. We’ve got a strong platform, proven operating model for managing a

portfolio of scaled software assets. . . . Our strategy is to put the customers at the center of

everything we do and to leverage this broad and deep portfolio we have to help them uniquely with

the problems that they have across hybrid IT.”

       223.    The statements quoted in ¶222 above were materially false and misleading because

the combined platform was not “strong” and the operating model was not “strong” or “proven,” as

both HPE Software and Micro Focus had been experiencing severe customer and personnel

attrition before the closing of the Merger. These statements were also materially false and

misleading because Micro Focus and HPE Software had overlapping products that could not be




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rationalized and would compete with and cannibalize each other. Thus, the combined product

portfolio did not have beneficial “depth and breadth,” and there was no “proven operating model

for managing [the] portfolio.” These statements were also misleading because they omitted the

material facts that: (i) HPE Software was experiencing high customer attrition due to its spinoff

from HPE and the fact that customers were uninterested in continuing or creating contracts with

Micro Focus due to concerns, among others, about Micro Focus’s reputation for license audits,

litigation against customers, and lack of innovation; (ii) HPE Software and Micro Focus were both

experiencing increasing attrition of sales personnel, and thus the Merger would not “accelerate

operational effectiveness” in “sales force productivity”; (iii) Micro Focus was also experiencing

declining sales, especially in North America ; and (iv) HPE Software’s revenue and business were

adversely affected by its inability to continue bundling its software with HPE products and

services.

       224.    During the presentation, on behalf of the Company, Micro Focus’s Chief Marketing

Officer and General Manager of the Security Information & Governance Product Groups, John

Delk, also touted the “synergies” of the Merger, stating that “[r]eally, the portfolios fit together in

some really strong ways, very little overlap, and where there is overlap, a great plan for how we’re

going to get best of both approaches and get synergies out of that, and so this will kind of be our

road map for the next section.”

       225.    The statements quoted in ¶224 above were materially false and misleading because,

as alleged above, the portfolios had substantial overlap, Micro Focus had no plan to rationalize the

different products, and the products would therefore compete with and cannibalize each other. As

confirmed by FE 3 (identified in ¶55), it was common knowledge that Micro Focus was not in the

business of rationalizing its acquisitions and, instead, left them to compete with each other. And,




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as corroborated by FE 14 (identified in ¶102) and FE 12 (identified in ¶98), Micro Focus did, in

fact, fail to rationalize several competing products, including ArcSight and Sentinel. Thus,

combining the portfolios would not produce “synergies”; the overlap was not “very little”; and

Micro Focus had no “great plan” for integrating the portfolios.

       226.    Analysts were excited by Micro Focus and the Executive Defendants’ statements

regarding the “synergies” of the combined Company. For example, Deutsche Bank noted that

Defendant Hsu was “impressive and laid out a compelling vision for the company going forward.”

Additionally, one of Deutsche Bank’s key takeaways was that “[t]he company sees meaningful

revenue synergies from integrating [Micro Focus] and HPE [Software’s] products along with

the ability to offer CIO’s a more complete product set.”

       227.    With regard to Micro Focus’s “proven operating model and strong platform,”

Defendant Hsu stated that there were “3,000 salespeople globally and 2,500 go-to-market

partners. We have 2,000 support personnel dedicated to helping our customers get the most out of

the software, break-fix, etc., with industry leading NPS [Net Promotor Score (an index that

measures the willingness of customers to recommend a product or services)] scores and over 2,000

professional services folks that are experts in helping our customers implement our software so

they get the most out of it.”

       228.    Defendant Hsu also specifically denied that Micro Focus was experiencing high

employee turnover and poor morale, stating that “many of you actually asked a lot of questions

about turnover and employee morale in the break, and I was actually somewhat taken aback. I’m

in a financial community, and that was one of the first questions I got asked. But we’ve got to

build a company that employees are excited about, want to be a part of, own and that our customers

view as a strategic partner. And in a software company, all we have is our people.”




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       229.    Additionally, Defendant Hsu stated that “the number one bet that we’re making this

year, and it will be reflected in our financial architecture is maintaining stability of the rep-

customer relationship, maintaining specialization in our sales organizations around the assets that

we’re bringing together, and we’re going to capture the synergies and operational improvements

where they . . . overlap in the leadership level and in the back office support functions. But on the

quota-carrying field and inside sales reps, we’re going to maintain consistency and stability.”

       230.    The statements quoted in ¶¶226-229 above were materially false and misleading

because they omitted the material facts that HPE Software and Micro Focus were both

experiencing increasing and material attrition of sales personnel. Multiple former employees

corroborated that there was extremely high turnover at HPE Software after the announcement of

the Merger, as sales personnel knew they would have great difficulty selling Micro Focus contracts

to HPE Software clients given Micro Focus’s reputation as overly litigious against customers and

a place where “software goes to die.” See Section IV(D). Given that sales employees would no

longer be able to obtain the same number of contracts or earn the same commissions, HPE

Software experienced high attrition of salespeople after the announcement of the Merger in

September 2016. The falsity of Defendant Hsu’s statements is further confirmed by the belated

disclosure starting in March 2018 that Micro Focus’s poor results were, in part, a result of “higher

attrition of sales personnel due to both integration and systems related issues.”

       231.    During the September 7, 2017 investor presentation, Defendant Murdoch touted the

FAST system, stating that “FAST is our integrated technology stack for the new company, and

I’m going to touch on that in a moment. It’s one of the fundamental building blocks for operating

the businesses effectively as we want to in our current guise and also providing that platform for

the future.” Murdoch stated that Micro Focus was “moving through into the deployment of FAST1,




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planning and execution for FAST2, and the standup of a completely stand-alone set of

infrastructure in which to run that. That will then enable us to exit a period of integration and into

a period of stabilization, which then opens up the flexibility for us to look again as we run this

business.”

       232.    The statements quoted in ¶231 above were materially false and misleading because

rather than increasing operational efficiencies, in reality, FAST prevented sales teams from

creating quotes, processing orders, sending invoices, recording sales, and earning commissions.

Moreover, since HPE and Micro Focus had been operating independently before the Merger and

did not and could not test or implement the FAST system across both organizations, any purported

benefits or success associated with the FAST implementation would not be achieved, and instead

the implementation of FAST would be the source of major problems for the Company and the

Company would ultimately announce its decision to scrap FAST in favor of an entirely new

platform. The problems with FAST were admittedly a reason for Micro Focus’s poor operating

results; the Company’s March 19, 2018 trading update attributed the Company’s poor performance

to “our new IT system implementation, which have impacted the efficiency of our sales team, our

ability to interact with partners and out cash collection” and to “higher attrition in sales personnel

due to both integration and system related issues.”

       233.    Defendant Murdoch also stated to investors that certain critical aspects of Micro

Focus were not going to change: “One is our unequivocal and relentless commitment to delivering

results. The second is this focus on delivering customer-centered innovation, focus on delivering

a great customer experience. No wavering from that at all. The existing road maps will continue

and will be delivered. So we’re not disrupting the product flow into the marketplace that were




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over 700 in the combined organizations last year. We’ll continue that and improve it as we go

forward.”

       234.    The statements quoted in ¶233 above were materially false and misleading because

the Merger was causing significant “disrupt[ion]” of product flow, as HPE Software was

experiencing significant customer attrition, and both Micro Focus and HPE were experiencing

significant attrition of necessary sales personnel. The falsity of Defendant Murdoch’s statements

is further confirmed by the belated disclosures starting in March 2018 that Micro Focus’s poor

results were, in part, a result of “higher attrition of sales personnel due to both integration and

systems related issues.”

               3.      January 8, 2018 Financial Results for the Six Months Ended October
                       31, 2017

       235.    On January 8, 2018, the Company reported its financial results for the six months

ended October 31, 2017. In a written presentation provided to investors and filed with the SEC on

January 8, 2018, the Company again repeated its claims that the combined Company was a “strong

platform with a proven operating model for managing a portfolio of scale assets and [was] well-

positioned to benefit from consolidation.” The presentation further stated that Micro Focus’s “lean

operating model preserves capital and maximizes total shareholder returns on a sustainable basis.”

       236.    The presentation further stated that “[w]e believe we have a strong operational and

financial model that can continue to scale and provide excellent returns to our shareholders.” The

presentation also stated that the “HPE Software transaction thesis is intact and strong.”

       237.    The statements quoted in ¶¶235-236 above were materially false and misleading,

for the reasons discussed in ¶221 above, and because they omitted that HPE Software was already

experiencing significant difficulties, including disruptions in global customer accounts as a result

of its separation from HPE, and that Micro Focus was also experiencing massive employee



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attrition. Moreover, problems with FAST were directly in contrast with the idea that Micro Focus

had a “strong operational and financial model.”

       238.   The presentation stated that the HPE Software assets had been migrated to a

“completely new state-of-the-art IT platform (FAST) from multiple, complex legacy HP systems.”

       239.   The statements quoted in ¶238 above were materially false and misleading because

they omitted the material fact that the FAST implementation at the legacy HPE Software business

prevented sales teams from creating quotes, processing orders, sending invoices, recording sales,

and earning commissions. The problems with FAST were admittedly a reason for Micro Focus’s

poor operating results; and ultimately the Company was forced to admit that it was scrapping

FAST in favor of an entirely new system; the Company’s March 19, 2018 trading update attributed

the poor performance to “our new IT system implementation, which have impacted the efficiency

of our sales team, our ability to interact with partners and out cash collection” and to “higher

attrition in sales personnel due to both integration and system related issues.” And the problems

with FAST continued to negatively impact Micro Focus, with Micro Focus admitting on July 11,

2018 that the “exceptional costs” required for the Merger would be $960 million instead of the

$750 million previously flagged (i.e., an increase of $210 million) due to the company’s need to

“stabilize then remediate the FAST platform” and informing investors on February 14, 2019 that

problems with FAST had a “significant operational impact.”

       240.   Also on January 8, 2018, Micro Focus held an analyst and investor conference call

to discuss its second quarter 2018 financial results. Defendants Hsu, Phillips, Murdoch,

Brauckmann, and Loosemore all participated in the call. As discussed in Section IV(G)(1), Micro

Focus and the Executive Defendants disclosed poor financial results but continued to reassure




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investors that the integration was progressing as planned, including with regard to FAST.

Specifically, Defendant Hsu stated that:

               a.     “we’re only a couple months post the completion of the transaction and

                      we’ve already integrated the product teams”;

               b.     Micro Focus was “building a competitively advantaged platform with,

                      number one, scale; two, a standard integration approach; efficient product

                      and development methodologies; one modern IT platform; and the

                      financial strength to benefit from that further industry consolidation”;

               c.     “if I had to say qualitatively where we are, I feel really good about the

                      progress and heavy-lifting that the teams have done”;

               d.     “[w]e’re executing against the detailed plan with 15 work streams and over

                      7,500 tasks have already been completed to date. And as I mentioned, one

                      of the areas of the most significant accomplishment is standing up 70% of

                      our revenue, which is the HPE Software business which we did in

                      November on a completely new IT system [FAST], which is a very modern

                      system. And we [went from] roughly 600 disparate applications to 120 in

                      a completely modern stack. And we did that within two months post the

                      close of the transaction. There are very few businesses that close one of the

                      largest, most complex global mergers and then two months later, stand up

                      70% of the revenue on a completely new ERP system, transaction system,

                      frontend and backend, and we’ve done that”; and

               e.     Micro Focus had a “fully integrated sales team as of November 1.”




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       241.    Defendant Hsu further assured investors that the Micro Focus/HPE Software

Merger was not being forced along too quickly. Specifically, an analyst asked about sales-

execution problems that Micro Focus reported and whether Micro Focus had pushed integration

of the Merger too fast, asking “is there anything that you stood out and say, well, perhaps, we’re

getting a little bit too far? So, I guess what gives you the confidence that this is the appropriate

phase in which to cut costs if you’re seeing a few lumps and bumps as you go along the way?”

Defendant Hsu responded:

       Yeah. It’s a great question and I would say that a question that I reflect on all the
       time. And I was having dinner with an experienced CEO recently and I asked him
       that question as well, when do you know when you’re going too fast or too slow in
       particular areas? And his response is, if you think you’re going too fast, go faster.
       I don’t know if that answer[s] your question, but what I’m saying is that I’m not
       worried really about the speed.

       242.    The statements quoted in ¶¶240-241 above were materially false and misleading

because the integration was not progressing as planned and was far from complete, including

because Micro Focus failed to: (i) implement a combined CRM system for HPE Software and

Micro Focus legacy employees; (ii) implement open communication and network access across

the two legacy companies; and (iii) coordinate sales and product development across the two

legacy companies. Moreover, HPE Software and Micro Focus had overlapping and competing

product offerings that could not be rationalized and would compete with and cannibalize each

other, precluding a successful integration of the two businesses. Additionally, FAST had not been

fully implemented and prevented sales teams from creating quotes, processing orders, sending

invoices, recording sales, and earning commissions. The problems with FAST were admittedly a

reason for Micro Focus’s poor operating results and ultimately the Company was forced to admit

that it was scrapping FAST in favor of an entirely new system; the Company’s March 19, 2018

trading update attributed the poor performance to “our new IT system implementation, which have



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impacted the efficiency of our sales team, our ability to interact with partners and out cash

collection” and to “higher attrition in sales personnel due to both integration and system related

issues.” And the problems with FAST continued to negatively impact Micro Focus, with Micro

Focus admitting on July 11, 2018 that the “exceptional costs” required for the Merger would be

$960 million instead of the $750 million previously flagged (i.e., an increase of $210 million) due

to the company’s need to “stabilize then remediate the FAST platform” and informing investors

on February 14, 2019 that problems with FAST had a “significant operational impact.”

       243.    Defendant Hsu also reassured investors that the Company was still “strong” and

that the “thesis of this deal remains intact and strong” Specifically, Defendant Hsu stated that:

               a.      “we believe we have a strong operational and financial model that could

                       continue to scale, and the HPE Software transaction and the benefits that

                       we’re seeing from that are proof of that model. And we believe that will in

                       turn continue to drive excellent returns for our shareholders”; and

               b.      “we believe we have a strong platform and proven operating model”; and

               c.      “ultimately, that efficiency plus the scale of the business and the lean

                       operating model directly leads to sustainable shareholder returns . . . we

                       believe that the thesis of this deal remains intact and strong.”

       244.    The statements quoted in ¶243 above were materially false and misleading because

the Merger thesis was not “intact and strong.” To the contrary, as a result of the Merger: (i) HPE

Software was experiencing high customer attrition due to its spinoff from HPE and the fact that

customers were uninterested in continuing or creating contracts with Micro Focus due to concerns,

among others, about Micro Focus’s reputation for license audits, litigation against customers, and

lack of innovation; (ii) Micro Focus was experiencing increasing attrition of sales personnel; (iii)




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legacy HPE Software’s revenue and business were adversely affected by its inability to continue

bundling its software with HPE products and services; and (iv) legacy Micro Focus and legacy

HPE Software had overlapping and competing product offerings that could not be rationalized and

would compete with and cannibalize each other, precluding a successful integration of the two

businesses.

               4.     March 19, 2018 Financial Results for the Third Quarter of 2018

       245.    As discussed above, on March 19, 2018, the Company announced financial results

for the third quarter of 2018 and disclosed negative information, including about the integration

“challenges” and the sales personnel attrition. However, the Company assured investors that these

issues were “under better control.”

       246.    Specifically, on the call, Defendant Murdoch told investors that “the impact of the

system issues is now under better control and we’re seeing improvements in stability, throughput

and accuracy.” Additionally, Defendant Murdoch told investors that “[d]espite the integration

challenges, the board believes that the fundamental thesis of the HPE Software acquisition

remains intact.”

       247.    The statements quoted in ¶246 above were materially false and misleading because

the impact of the system issues was not “under control” and the Merger thesis was not “intact.” To

the contrary, as a result of the Merger: (i) legacy Micro Focus and legacy HPE Software had

overlapping and competing product offerings that could not be rationalized and competed with and

cannibalized each other, precluding a successful integration of the two businesses; (ii) the

problems with FAST continued, preventing employees from invoicing customers and paying for

rebates, and Micro Focus eventually decided to scrap FAST and create a new system altogether;




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and (iii) attrition problems remained a massive issue as employees and customers continued to

leave.

         248.   On the call, Defendants also informed investors that any issues with “bad debt” due

to FAST and being unable to collect payments were under control. For example, one analyst asked

whether “provisioning for bad debts because of poor collection” was “one of the reasons for the

profit headwind, because you’re not able to bill and get cash on time, so the profits are sort of

weighed down by that?” Chris Kennedy responded that it was Defendants’ “belief that by the end

of the year, we will have stabilized the system and they will start to come down. So, within the

guidance we’ve given, we’re not seeing any further increase in that bad debt.” In response to

other analyst questions about the “lost sales pipeline,” Defendant Loosemore noted that while “it’s

true the difficulties in, again, with the IT system [i.e., FAST] in terms of quotes has led to a delay

in some of those renewals . . . we are anticipating that that’s not going to be a long-term effect.”

Further, Defendant Loosemore stated that the only “persistent impact” was with the Company’s

“ability to go after win-backs” or “where a customer has previously left us and we go to win that

business back.”

         249.   Defendants also assured investors that the cost of the integration would still only

be $750 million. Specifically, Christopher Kennedy told investors that “[w]e do have an increase

in temporary resource dealing with the IT system issues, and again, that’s a temporary increase.

We’re still – if you recall, we’ve talked about a $750 million cash outflow as part of the integration

for exceptional balanced between IT and other integration costs. We’re still comfortable with that

overall number.”

         250.   The statements quoted in ¶¶248-49 above were materially false and misleading

because Defendants were aware that the resources necessary to deal with the IT system issues were




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not “temporary.” The problems with FAST were continuing and long term, preventing employees

from invoicing customers and paying for rebates, and Micro Focus eventually decided to scrap

FAST and create a new system altogether.

         251.   Similarly, in a March 19, 2018 press release filed with the SEC, Micro Focus stated

that “[t]he impact of the system issues is now under better control as we are seeing improvements

in stability, throughput and accuracy.” Defendants also assured investors that “[d]espite the

integration challenges, the Board believes that the fundamental thesis of the HPE software

acquisition remains intact. Micro Focus’ strategy, dividend policy, leverage target, and Return of

Value approach remain unchanged.”         Defendant Loosemore also stated that “[w]e remain

confident in Micro Focus’ strategy” and that “[w]e believe that Micro Focus is well positioned to

help our customers with the increasing pace of change across their Hybrid IT environments and to

deliver customer centred innovation.”

         252.   The statements quoted in ¶251 above were materially false and misleading because

the impact of the system issues was not “under control” and the Merger thesis was not “intact.” To

the contrary, as a result of the Merger: (i) legacy Micro Focus and legacy HPE Software had

overlapping and competing product offerings that could not be rationalized and competed with and

cannibalized each other, precluding a successful integration of the two businesses; (ii) the

problems with FAST continued, preventing employees from invoicing customers and paying for

rebates, and Micro Focus eventually decided to scrap FAST and create a new system altogether;

and (iii) attrition problems remained a massive issue as employees and customers continued to

leave.




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              5.      May 16, 2018 Pre-Close Statement for the Six Months Ended April 30,
                      2018

       253.   On May 16, 2018, the Company issued a Pre-Close Statement for the six months

ended April 30, 2018, which it filed with the SEC on Form 6-K. The Pre-Close Statement quoted

Defendant Murdoch as stating that “[t]he Micro Focus team is making encouraging progress on

improving both the discipline and speed of execution within the business, whilst also sharpening

the focus on our primary purpose – delivering great software products to meet the needs of our

customers.”

       254.   The statements quoted in ¶253 above were materially false and misleading because

Micro Focus was not, in fact, “making encouraging progress on improving both the discipline and

speed of execution within the business.” To the contrary, (i) the problems with FAST continued,

preventing employees from invoicing customers and paying for rebates, and Micro Focus

eventually decided to scrap FAST and create a new system altogether; and (ii) attrition problems

remained a massive issue as employees and customers continued to leave.

              6.      July 11, 2018 Financial Results for the Six Months Ended April 30, 2018

       255.   On July 11, 2018, Micro Focus filed a release regarding Micro Focus’s interim

results for the six months ended April 30, 2018 with the SEC on Form 6-K. This release stated

that there was “Progress on integration with IT systems stabilizing, business being simplified,

sales organization re-aligned and refocused.” The release also quoted Defendant Loosemore as

stating that “I am pleased to report that since March there has been an improved momentum in the

HPE Software integration process and a slowdown in the rate of revenue decline.”

       256.   The statements quoted in ¶255 above were materially false and misleading because

the “[p]rogress on integration with IT systems” was not “stabilizing” and there was not “improved

momentum in the HPE Software integration process.” To the contrary, (i) the problems with FAST



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continued, preventing employees from invoicing customers and paying for rebates, and FAST was

so unfixable that according to FE 16 (identified in ¶122), Micro Focus stopped any further

investments in it; and (ii) attrition problems remained a massive issue as employees and customers

continued to leave. Moreover, these statements omitted the material facts that Micro Focus failed

to: (i) implement a combined CRM system for HPE Software and Micro Focus legacy employees;

(ii) implement open communication and network access across the two legacy companies; and (iii)

coordinate sales and product development across the two legacy companies.

       257.    Moreover, in the “Chief Executive Officer’s Statement,” the press release admitted

that there were issues with FAST and with sales-personnel attrition, but assured investors that these

areas were significantly improved. For example, with regard to FAST, Defendant Murdoch stated

that “[p]rogress has been made with the system now stable and able to support the business. All

core business processes can now be executed end-to-end with many now at target operating

levels. Accomplishing this still requires many manual workarounds and as such operational

effectiveness and agility are compromised. The backlog of customer and partner invoicing and

subsequent cash collection created by these issues is being worked through and the key metrics

are improving month by month in these areas.” The release also stated that the “invoicing issues

are largely resolved and as such the impact on cash flows is considered short term and will unwind

over the course of the next six months resulting in stronger free cash flows and cash conversion

ratios over and above those seen in the historical comparatives for the remainder of the fiscal year.”

       258.    Moreover, the press release stated that “substantial investment has been made into

stabilizing the new IT platform and whilst further work is required in order for the platform to

work as needed, actions have been taken to minimise the impact on the sales organization.”




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       259.    The statements quoted in ¶¶257-58 above were materially false and misleading

because the FAST system was not “stable and able to support the business,” the backlog issue was

not “improving month by month” and the invoicing issues were not “largely resolved.” On the

contrary, the problems with FAST were continuing and long term, preventing employees from

invoicing customers and paying for rebates, and Micro Focus eventually decided to scrap FAST

and create a new system altogether. Moreover, that the backlog of invoices remained significant

is illustrated by the fact that the Company announced in July of 2018 and February 2019 that the

Days Sales Outstanding remained high due to “newly implemented IT environment caus[ing]

material disruption within the order to cash process.”

       260.    With regard to employee attrition, Defendant Murdoch admitted that the

normalization of attrition rates “will take time,” but stated that “[t]he hiring engine is now

functioning effectively.” The release also stated that “[t]he breadth and longevity of our customer

relationships, a highly committed and talented team, a proven operating model and our approach

to capital allocation form the foundations for our confidence in continuing to [deliver strong and

consistent shareholder returns] into the future.”

       261.    The statements quoted in ¶260 above were materially false and misleading because

the “hiring engine” was not “functioning effectively.” To the contrary, attrition problems remained

a massive issue and, according to FEs 13 (identified in ¶99) and 14 (identified in ¶102), attrition

was still ongoing through April of 2019 and May of 2019, respectively. Moreover, according to

FE 16 (identified in ¶122), through at least May 2019, Micro Focus was unable to pay its

employees commissions on sales.

       262.    On the July 11, 2018 earnings call discussing Micro Focus’s Unaudited Interim

Results for the Six Months Ended April 30, 2018, Defendants highlighted the stabilization of




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integration issues, including issues with FAST. Specifically, Defendant Murdoch claimed that

there had been “encouraging improvements in the integration, particularly in terms of pace and

the overall tone around the business.”

       263.    Defendant Murdoch further stated that “we’re pleased with progress in integration.

In terms of pace and particularly tone. And the essence is we allowed the business to get too

complicated. As a consequence, the execution was slower and the levels of accountability weren’t

clear. We believe we’ve taken some decisive steps to begin to correct that. These range from the

removal of basically unnecessary global structures in the sales force, unproductive management

layers, the combination of which allows us to push more capability to the front line.”

       264.    The statements quoted in ¶¶262-63 above were materially false and misleading

because there had been no real “progress in integration.” To the contrary, (i) the problems with

FAST continued, preventing employees from invoicing customers and paying for rebates, and

FAST was so unfixable that according to FE 16 (identified in ¶122), Micro Focus eventually

decided to cease any further investment in FAST and (ii) attrition problems remained a massive

issue as employees continued to leave. Moreover, these statements omitted the material facts that

Micro Focus failed to: (i) implement a combined CRM system for HPE Software and Micro Focus

legacy employees; (ii) implement open communication and network access across the two legacy

companies; and (iii) coordinate sales and product development across the two legacy companies.

       265.    Defendant Murdoch also highlighted the Company’s progress in fixing its large

sales attrition, stating that “So the first is velocity at the front end. So how quickly can we bring

talent into the business? And a good example of progress there is the process in North America

is now 50% faster than it was in March. But it’s also important that you focus on the other end,

which is retaining the talent that you already have . . . We’ve also had some of the more basics that




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need corrected, for example, our systems problems meant we weren’t paying the sales reps on

what they’d actually sold. We’ve been paying them on estimates. So we’ve now—and sales reps

like to be paid. So we’ve now worked our way through that and we’re now paying accurately.”

Additionally, when asked by an analyst later on to provide information on “what the attrition rate

actually was for the first half of the year,” Murdoch responded that while he “honestly can’t

remember at the top of my head what the total annualized attrition is,” it was “beginning to

moderate.” Moreover, Murdoch downplayed the connection between the drastic attrition rate and

the Merger, stating, “[i]t always spikes after the bonus time and always spikes after commission

at the year-end. Dies down over holiday periods.”

       266.    In response to an analyst question later in the call regarding the “revenue declines”

and “declining license number,” Defendant Murdoch reiterated that these issues would get better,

in part, because “We’re also upping the pace of our hiring. So we get people to the opportunity

areas faster so we can respond faster.”

       267.    The statements quoted in ¶¶265-66 above were materially false and misleading

because there was no real “progress” in fixing sales attrition and sales attrition was not “beginning

to moderate.” To the contrary, attrition problems remained a massive issue and, according to FEs

13 (identified in ¶99) and 14 (identified in ¶102), attrition was still ongoing through April of 2019

and May of 2019, respectively. Moreover, according to FE 16 (identified in ¶122), through at least

May 2019, Micro Focus was unable to pay its employees commissions.

       268.    Defendant Murdoch also commented on the Company’s progress on FAST, stating

that “FAST is now stable. All the core business processes operate end to end and operate

effectively.” Moreover, in response to a later analyst question regarding the increased costs needed




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for FAST, Murdoch assured investors that the plan to place the legacy Micro Focus business on

FAST was “on track and budget.”

        269.    Christopher Kennedy (CFO) also added that although Micro Focus was still dealing

with an invoice backlog, the “bulk of the issues” with the outstanding invoices due to FAST were

fixed, stating that “[t]he bulk of the invoicing and cash allocation issues in the system have been

fixed. So what we’re doing today, we’re issuing a very high proportion of invoices to customers.”

        270.    The statements quoted in ¶¶268-69 above were materially false and misleading

because the FAST system was not “stable,” nor was it “operat[ing] effectively,” and the invoice

backlog was not “fixed.” On the contrary, the problems with FAST were continuing and long term,

and according to FE 12, were still ongoing as of June 2019, preventing employees from invoicing

customers and paying for rebates.

        271.    Defendant Murdoch also told investors that the rest of the integration was “on

track.” Specifically, he stated that “[t]he rest of the integration, and it’s easy to overlook the amount

of heavy lifting now there is, but the rest of it’s on track. So the progress—the project to remove

our remaining dependency on the shared technical infrastructure of HPE is on track to deliver

on budget and on timescale as per the original plan.”

        272.    On the same call, Christopher Kennedy assured investors that while Micro Focus

had faced a revenue decline that was “significantly impacted by the transition issues that we talked

about in March,” “after the actions we’ve taken in Q2, we have seen a gradual tempering of the

revenue decline, which does give us confidence for the medium term.”

        273.    The statements quoted in ¶¶271-72 above were materially false and misleading

because the integration was not “on track,” nor had “solid progress” been made. To the contrary,

as a result of the Merger: (i) legacy Micro Focus and legacy HPE Software had overlapping and




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competing product offerings that could not be rationalized and competed with and cannibalized

each other, precluding a successful integration of the two businesses; (ii) the problems with FAST

continued, preventing employees from invoicing customers and paying for rebates; and (iii)

attrition problems remained a massive issue as employees and customers continued to leave.

       274.    Additionally, in response to a question from a Goldman Sachs analyst regarding

the purported $200 million incremental cost synergies from the Merger, Kennedy stated that Micro

Focus had already “integrated the go-to-market teams and we’ve—the product groups are now

working as one.”

       275.    The statements quoted in ¶274 above were materially false and misleading because

the “product groups” were not “working as one.” To the contrary, as a result of the Merger: (i)

legacy Micro Focus and legacy HPE Software had overlapping and competing product offerings

that could not be rationalized and competed with and cannibalized each other, precluding a

successful integration of the two businesses. Moreover, these statements omitted the material facts

that Micro Focus failed to: (i) implement a combined CRM system for HPE Software and Micro

Focus legacy employees; (ii) implement open communication and network access across the two

legacy companies; and (iii) coordinate sales and product development across the two legacy

companies.

       276.    In a July 11, 2018 written presentation regarding the Company’s financial results

for the six months ended April 30, 2018, the Company claimed that “HPE Software integration

issues being addressed; robust application of both Micro Focus’ proven business model and

strategy of customer centred innovation to drive pace and cultural change.” Moreover, in the same

presentation, Micro Focus provided an “Integration Update” on the “Business Structure, People,

and Culture, including:




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                a.      “Simplified structure and business process to improve the quality of

                        execution”;

                b.      “Detailed action plans being executed to normalise attrition levels which

                        remain elevated”;

                c.      “Simplified and improved recruitment process—now 50% faster in the

                        Americas”; and

                d.      “FAST System stabilised with focus now on improving operational

                        performance and flexibility” and the “Project to exit HPE shared

                        infrastructure on track which removes dependency on HPE and enabling

                        effective collaboration.”

        277.    The statements quoted in ¶276 above were materially false and misleading because

“integration issues” had not been addressed, attrition levels were nowhere near “normalise[d],”

and FAST was not “stabilized.” To the contrary: (i) the problems with FAST continued, preventing

employees from invoicing customers and paying for rebates; and (ii) attrition problems remained

a massive issue as employees continued to leave.

        278.    Analysts, however, were reassured by Defendants’ announcements regarding the

Company’s progress in fixing integration-related issues. For example, a July 11, 2018 Investors’

Chronicle article noted that “[m]anagement highlighted ‘an improved momentum’ in the

integration process, and a slowdown in the rate of revenue decline, with the expected rate at 6-9

percent for the full year.”

                7.      February 14, 2019 Preliminary Results for the 18 Months Ended
                        October 31, 2018

        279.    On February 14, 2019, the Company issued a press release regarding its preliminary

results for the 18 months ended October 31, 2018 and also filed the same with the SEC on Form



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6-K. The release quoted Defendant Murdoch as stating that the Company “expect[ed] further

moderation of revenue decline and consequently we are guiding constant currency revenue for the

continuing [Micro Focus Product Portfolio] business for the 12 months to 31 October 2019 to be

between minus 4% to minus 6% compared to a decline of 7.1% for the 12 months ending October

31, 2018.”

       280.    In the same press release, the Company issued a “Chief Executive Officer’s Report”

from Murdoch, which stated that “Recent operational improvements, evidenced by the

stabilization of our revenue performance and the continued expansion in our profit margins, are

encouraging signs of early progress.”

       281.    Further, the press release stated that with regard to “Group Outlook,” Micro Focus

was “encouraged by progress over recent months and believe we are getting back on track to

focus on our outstanding customer and partner relationships.”

       282.    The statements quoted in ¶¶279-81 above were materially false and misleading

because there was no real “progress” and the integration was not “back on track.” To the contrary,

(i) the problems with FAST continued, preventing employees from invoicing customers and

paying for rebates; and (ii) attrition remained a massive issue as employees continued to leave.

Moreover, these statements omitted the material facts that Micro Focus failed to: (i) implement a

combined CRM system for HPE Software and Micro Focus legacy employees; (ii) implement open

communication and network access across the two legacy companies; and (iii) coordinate sales

and product development across the two legacy companies.

       283.    With regard to attrition, the press release stated that “[t]he hiring engine has been

re-engineered and is now functioning effectively. It is anticipated that the combination of more




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empowerment through clarity of accountability, better enablement and improved hiring and on-

boarding will see attrition levels stabilise further and begin to trend down.”

       284.    The statements quoted in ¶283 above were materially false and misleading because

the “hiring engine” was not “functioning effectively.” To the contrary, attrition problems remained

a massive issue and, according to FEs 13 (identified in ¶99) and 14 (identified in ¶102), attrition

was still ongoing through April of 2019 and May of 2019, respectively. Moreover, according to

FE 16 (identified in ¶122), Micro Focus was not paying accurately and, in fact, through at least

May 2019, had not paid its employees commissions on sales for the fiscal year that had started in

November 2018.

       285.    With regard to FAST, the press release stated that while the systems would “still

require more manual intervention than we want,” they “are now stable and able to support the

operations of the businesses.”

       286.    The statements quoted in ¶285 above were materially false and misleading because

the FAST system was not “stable,” nor was it “able to support the operations of the business.” On

the contrary, the problems with FAST were continuing and substantial, preventing employees from

invoicing customers and paying for rebates.

       287.    Additionally, on February 14, 2019, the Company participated in an earnings call

to discuss the results for the 18-month period ended October 31, 2018.

       288.    During that call, the Company announced that it was doing “better” than its

previously stated guidance of revenue decline in the range of minus 6% to minus 8% and was at

minus 5.3%. Defendant Murdoch assured investors that Micro Focus’s previous integration

problems could be attributed to “one off transitional effects.” Specifically, he told investors:

       Moving to progress. As communicated in July 2018, when we delivered our last
       results announcement, our revenue performance had been impacted by a number of


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       factors which we consider to be largely one off transitional effects of the
       combination with the HPE Software business . . . . Since identifying these issues,
       the focus has been on driving operational improvements and heightened levels of
       execution across the company through simplifying processes and removing
       inefficient structure that allows for better alignment of resources. Today’s results
       demonstrate progress as we simplify operations to deliver improved execution and
       better enable our team to deliver consistently and for the long term.

       289.    Defendant Murdoch also assured investors that the issues with attrition had been

adequately addressed. With regard to attrition, Murdoch stated that the “hiring engine has been

reengineered and is now functioning effectively. It’s anticipated that the combination of more

empowerment through clarity of accountability, better enablement, improved hiring and

onboarding, we’ll see attrition levels continue to trend down.” Indeed, showing the market’s

ongoing concern related to Micro Focus’s sales-personnel attrition, analysts later asked Defendants

detailed questions about the “staff count,” as well as the “staff bonuses.”

       290.    The statements quoted in ¶¶288-89 above were materially false and misleading

because the “hiring engine” was not “functioning effectively.” To the contrary, attrition problems

remained a massive issue and, according to FEs 13 (identified in ¶99) and 14 (identified in ¶102),

attrition was still ongoing through April of 2019 and May of 2019, respectively. Moreover,

according to FE 16 (identified in ¶122), Micro Focus was not paying accurately and, in fact,

through at least May 2019, had not paid its employees commissions on sales for the fiscal year that

had started in November 2018.        In addition, rather than “one off transitional effects,” the

integration-related statements omitted the material facts that Micro Focus failed to: (i) implement

a combined CRM system for HPE Software and Micro Focus legacy employees; (ii) implement

open communication and network access across the two legacy companies; and (iii) coordinate

sales and product development across the two legacy companies.

       291.    Moreover, with regard to FAST, Defendant Murdoch stated that “[t]hese systems

are now stable and able to support the operations of the business, but still require more manual


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intervention than we want.” In response to an analyst question, Murdoch also affirmed that Micro

Focus would not increase the expected cost to fix IT-related integration issues from the $960

million previously reported, stating that “[w]e will not increase the exceptional envelope of $960

million.”

       292.    The statements quoted in ¶291 above were materially false and misleading because

the FAST system was not “stable,” nor was it “able to support the operations of the business.” On

the contrary, the problems with FAST were continuing and substantial, preventing employees from

invoicing customers and paying for rebates.

       293.    In the written presentation that was circulated in connection with Micro Focus’s

preliminary results for the 18 months ended October 31, 2018, Micro Focus again touted “revenues

stabilizing” and “revenue declines for continuing operations expected to moderate further; guiding

to -4% to -6% for 12 months to 31 October 2019. Performance in first quarter FY19 (ended 31

January 2019) is in line with this guidance.” With regard to the prior integration issues, the

presentation stated that there was “[i]mproved financial and operational performance in recent

months” which was “evidence of a robust application of the Micro Focus business model,” that

the “Hiring engine has been re-engineered and is now functioning effectively,” and that the “IT

systems [are] now stable and able to support the operations of the business[.]”

       294.    The statements quoted in ¶293 above were materially false and misleading because

there was no “[i]mproved operational performance,” and the “hiring engine” was not “functioning

effectively,” nor was FAST “stable and able to support the operations of the business.” To the

contrary, (i) the problems with FAST continued, preventing employees from invoicing customers

and paying for rebates; and (ii) attrition remained a massive issue as employees continued to leave.

Moreover, these statements omitted the material facts that Micro Focus failed to: (i) implement a




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combined CRM system for HPE Software and Micro Focus legacy employees; (ii) implement open

communication and network access across the two legacy companies; and (iii) coordinate sales

and product development across the two legacy companies.

       295.    Analysts were assured by Defendants’ statements regarding the remediation of

integration-related issues and the stabilization of revenue. For example:

               a.     A February 15, 2019 JP Morgan report noted “Signs of stabilisation

                      emerging” and stated that “MCRO has again reiterated that the revenue

                      performance in the six months ending 30th April 2018 was impacted by

                      ‘largely one-off transitional effects of the combination with the HPE

                      Software business, rather than underlying issues with the end market of

                      the product portfolio.’ The company has stated that, since identifying these

                      issues, specific actions have been taken: 1) substantial investment has been

                      made in stabilizing the IT platform, 2) a restructuring of the go-to-market

                      organization has taken place; better aligning customer coverage and

                      improving engagement levels with customers and 3) as part of the

                      restructuring, additional hiring of customer facing sales resources took

                      place.”

               b.     A February 19, 2019 Numis analyst report noted that “[m]anagement

                      commentary in both the results statement and the subsequent analyst and

                      investor call demonstrated confidence in the product progress that the

                      group has made in the 18 months since the HPES/Micro Focus

                      transaction. . . Staff attrition has reduced from the very high levels

                      witnessed through until the latter part of FY18, and is now we think,




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                       running in aggregate at levels that management feels is acceptable. IT

                       systems are stable, but still require significant manual intervention, so

                       improving systems and process performance remains a key challenge for

                       FY19.”

               8.      Micro Focus 2018 Annual Reports

       296.    On February 20, 2019, Micro Focus issued its annual report filed with the SEC on

Form 20-F and signed by Defendant Murdoch. In its annual report, Micro Focus continued to tout

the progress that the Company had made in remediating integration-related issues.

       297.    With regard to attrition, Micro Focus noted in its annual report that “[t]he hiring

engine has been re-engineered and is now functioning effectively. It is anticipated that the

combination of more empowerment through clarity of accountability, better enablement and

improved hiring and on-boarding will see attrition levels stabilise further and begin to trend down.”

       298.    With regard to FAST, Defendants highlighted that “[t]hese systems are now stable

and able to support the operations of the business but still require more manual intervention than

we want.”

       299.    The statements quoted in ¶¶297-98 above were materially false and misleading

because the “hiring engine” was not “functioning effectively,” nor was FAST “stable and able to

support the operations of the business.” To the contrary, (i) the problems with FAST continued,

preventing employees from invoicing customers and paying for rebates; and (ii) attrition remained

a massive issue as employees continued to leave.

       300.    Overall, the Company’s message was that the “one-off” integration issues were

over or almost fixed, stating that “[t]he improved financial and operational performance in the

second half of the year to October 31, 2018 is evidence that we have seen a robust application of




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the Micro Focus business model after a challenging start to the integration. We are approximately

a year behind where we expected to be in terms of the integration programme, and these challenges

have been disruptive and difficult at times, but significant progress has been made in stabilising

systems and people and instilling customer centric discipline. As a result, the board continues

to have full confidence in the HPE Software business acquisition, the Micro Focus investment

proposition, and our shareholder returns model.”

       301.    The annual report further stated that “[w]e are encouraged by progress over recent

months and believe we are getting back on track to focus on our outstanding customer and partner

relationships.” Additionally, the annual report noted that “[d]espite a challenging start to the

integration of the HPE Software business, the last six months has seen great progress being made.

Revenue performance has stabilized and the continued expansion of our profit margin are

encouraging signs of progress.”

       302.    The statements quoted in ¶¶300-01 above were materially false and misleading

because there was no “great” or “significant” “progress,” and the integration was not “back on

track.” To the contrary, (i) the problems with FAST continued, preventing employees from

invoicing customers and paying for rebates; and (ii) attrition remained a massive issue as

employees continued to leave. Moreover, these statements omitted the material facts that Micro

Focus failed to: (i) implement a combined CRM system for HPE Software and Micro Focus legacy

employees; (ii) implement open communication and network access across the two legacy

companies; and (iii) coordinate sales and product development across the two legacy companies.

       303.    On February 21, 2019, Micro Focus issued its annual report, “Bridging now2 and

next – Annual Report and Accounts 2018.” The annual report’s Chief Executive Officer Strategic

Review stated that “[w]e believe the most disruptive issues experienced since completion [of the




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Merger] are now behind us” and that “[r]ecent operational improvements evidenced by the

stabilisation of our revenue performance and the continued expansion in our profit margins, are

encouraging signs of early progress.” With regard to FAST, the report stated that “[t]hese systems

are now stable and able to support the operations of the business.” Moreover, with regard to

attrition, the annual report stated that “[t]he hiring engine has been reengineered and is now

functioning effectively. It is anticipated that the combination of more empowerment through

clarity of accountability, better enablement and improved hiring and on-boarding will see attrition

levels stabilise further and begin to trend down.”

       304.    The statements quoted in ¶303 above were materially false and misleading because

the “most disruptive issues” were not behind Micro Focus but were ongoing, including that the

“hiring engine” was not “functioning effectively,” and FAST was not “stable” and “able to support

the operations of the business.” To the contrary, (i) the problems with FAST continued, preventing

employees from invoicing customers and paying for rebates; and (ii) attrition remained a massive

issue as employees continued to leave. Moreover, these statements omitted the material facts that

Micro Focus failed to: (i) implement a combined CRM system for HPE Software and Micro Focus

legacy employees; (ii) implement open communication and network access across the two legacy

companies; and (iii) coordinate sales and product development across the two legacy companies.

       305.    The market continued to be assuaged by Defendants’ February 2019 assurances

regarding the status of remediation and the stabilization of revenues. For example:

               a.      A March 14, 2019 UBS analyst report stated that “we see signs of improving

                       execution, although there is clearly still work to-do. Nonetheless, some of

                       the tail risks around the balance sheet and integration seem to have

                       faded”




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               b.     An April 5, 2019 JP Morgan report stated that “The issues the company

                      faced through 2018 relating to the HPE integration and transition appear

                      to have been brought under control. Improvements have been supported

                      by: 1) substantial investments being made in stabilizing the IT platform,

                      2) a restructuring of the go-to-market organization and 3) additional hiring

                      of customer facing sales resource.”

               9.     July 9, 2019 Financial Results for the Six Months Ended April 30, 2019

       306.    On July 9, 2019, Micro Focus issued a press release discussing its interim results

for the six months ended April 30, 2019, and filed the same with the SEC on Form 6-K. In these

interim results, Defendants touted “[r]evenue performance in line with guidance and full year

guidance maintained at minus 4% to minus 6% on a constant currency (“CCY”) basis” and stated

that “[t]ransformation programmes remain on target for completion in 2020.”

       307.    Quoting Defendant Murdoch, the release stated that “[w]e have made steady

progress this half year, delivering against our financial and operational commitments and doing

what the company does best: making, selling and supporting infrastructure software solutions that

customers value and rely on. . . . We have continued to make progress on our significant program

of work to fully integrate the HPE Software business through the sustained application of the

Micro Focus business model.”

       308.    The release provided a Chief Executive Officer’s Statement, which highlighted that

“[t]he period can be characterised as one of making steady progress, delivering against our

financial and operational commitments, applying the Micro Focus operating model increasingly

consistently across the Group, focusing intensely on the needs of our customers, and continuing to

improve the culture to be more decisive and results-focused. As a result of these and other




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initiatives, during the six month period to 30 April 2019, the Group continued to moderate rates

of revenue decline.” Moreover, according to Murdoch, there had been “on-going progress

improving customer engagement, aligning our portfolio.”

       309.    The Chief Executive Officer’s Statement also provided an “Integration Update,”

stating that “[w]e are making steady progress with notable examples including: the completion of

the project to build our own IT operational infrastructure and separate from the HPE operational

environment, continued improvements to our core business systems and ongoing consolidation of

our physical locations to improve operational effectiveness and team collaboration and eliminate

unnecessary costs.” The CEO’s Statement also went on to say that Micro Focus was “confident in

our ability to complete [the integration] and thereby deliver on our original thesis of making

Micro Focus an efficient and optimised platform operating at scale with sector-leading margins

and the opportunity to growth further through acquisition.”

       310.    The statements quoted in ¶¶306-09 above were materially false and misleading

because there was no “significant progress” with the integration. To the contrary, (i) the problems

with FAST continued, preventing employees from invoicing customers and paying for rebates;

and (ii) attrition remained a massive issue as employees continued to leave. Moreover, these

statements omitted the material facts that Micro Focus failed to: (i) implement a combined CRM

system for HPE Software and Micro Focus legacy employees; (ii) implement open communication

and network access across the two legacy companies; and (iii) coordinate sales and product

development across the two legacy companies.

       311.    Also on July 9, 2019, Defendants held an earnings call to discuss the Company’s

financial results. During the call, Defendant Murdoch stated that Microsoft “continue[d] to make

solid progress in terms of integrating HPE Software business and applying the Micro Focus




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model more consistently, more broadly across our operations. The key integration work streams

are broadly on track, and I would highlight some notable examples of progress, particularly

completion of the separation from the HPE shared infrastructure.”

       312.       The statements quoted in ¶311 above were materially false and misleading because

Micro Focus had not made “solid progress in terms of integrating HPE Software business” and the

“key integration workstreams” were not “on track.” To the contrary, (i) the problems with FAST

continued, preventing employees from invoicing customers and paying for rebates; and (ii)

attrition remained a massive issue as employees continued to leave. Moreover, these statements

omitted the material facts that Micro Focus failed to: (i) implement a combined CRM system for

HPE Software and Micro Focus legacy employees; (ii) implement open communication and

network access across the two legacy companies; and (iii) coordinate sales and product

development across the two legacy companies.

       313.       Defendant Murdoch also responded to analyst questions about improvements in

maintenance licensing revenue by stating that “[w]e’re driving improvements in the stability of

the sales force, so unquestionably driving better discipline, what to do on sales enablement. And

we’ll also focus much more sharply on getting the right resources over the right customer

opportunities.”

       314.       Defendant Murdoch was also asked to “just give a comment on the attrition rate

you’re currently seeing now on the employee base, I guess, the voluntary attrition from HPE in

particular? I mean, obviously, you have had a lot of attrition at the start of that transaction. How

under control is that now?” Murdoch responded that “it’s trending to—back to what we would

consider pretty normal for a software company, so kind of mid-teens. Within there, there are still

pockets and we’re working hard to iron out those pockets, and we mentioned security. But on the




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whole, it’s moderating back to that mid-teens level that we’ve seen historically, and it’s pretty

typical in the software industry.”

       315.    The statements quoted in ¶¶313-14 above were materially false and misleading

because the sales force was not “stab[le]” and attrition was not at a level that was “normal” or

“typical” in the industry. To the contrary, attrition remained a massive issue as employees

continued to leave.

       316.    In connection with the earnings call, Micro Focus distributed a July 9, 2019 written

presentation. This presentation noted that Micro Focus’s revenues were “within our guidance range

of minus 4% to minus 6%.”

       317.    The presentation also highlighted the that the “Key integration workstreams [were]

broadly on track,” noted “Separation from HPE shared infrastructure complete,” and stated that

Micro Focus. Moreover, the presentation noted Micro Focus’s “HR transformation [was] broadly

complete.”

       318.    The statements quoted in ¶317 above were materially false and misleading because

the integration was not “on track” and the human resources transformation was not “broadly

complete.” To the contrary, (i) the problems with FAST continued, preventing employees from

invoicing customers and paying for rebates; and (ii) attrition remained a massive issue as

employees continued to leave.

              Additional Allegations of Micro Focus’s and the Executive Defendants’
              Scienter

       319.    Numerous facts in addition to those alleged above give rise to a strong inference

that the Executive Defendants knew, or were reckless in not knowing, that their statements about

Micro Focus’s and HPE Software’s viability and the progress of the integration were false and

misleading or omitted material facts necessary to make the statements not misleading when made.



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       320.    First, Micro Focus’s two most senior post-Merger executives – Defendants Hsu

and Murdoch – were directly and personally responsible for and involved in both the pre-Merger

due diligence and the Merger integration, and were thus aware of the strategic and operational

problems that are detailed in this Complaint.

       321.    Defendant Hsu led the efforts at HPE Software to decouple from HPE and to

integrate with Micro Focus and was, therefore, well-informed regarding the issues that emerged

from decoupling HPE with HPE Software and from the Merger, including but not limited to the

attrition of customers and the attrition of sales personnel, as well as the reputational risks that HPE

Software assumed by merging with Micro Focus. Specifically, in describing Defendant Hsu’s role

in the Merger process, Defendant Loosemore stated during the September 7, 2017 Capital Markets

Day that “Chris is a fantastic operator. The amount of work he was getting in doing the HPE/HPI

split, then spinning off the services business to CSC, then spinning off the software business to

Micro Focus.” Given Hsu’s significant role in the spin off of HPE Software, the widespread nature

of the employee attrition and sales problems at HPE Software are probative of his scienter. As

explained above, numerous former employees confirmed that there was massive customer attrition

at HPE Software after the announcement of the Merger due to the fact that customers did not want

to continue their contracts or enter into a new contract for products that would be governed by

Micro Focus, which was known to be a company where “software goes to die” and that was

extremely litigious against its customers. See Section IV(D) Moreover, numerous former

employees confirmed that there was significant attrition of sales personnel at HPE Software

following the announcement of the Merger because sales people understood that they would not

be able to bring in new deals or even renew previous deals with HPE Software as part of Micro

Focus. See id. Additionally, FE 4 (identified in ¶84) stated that Defendant Hsu spoke at town hall




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meetings and told employees that if they had accounts they were at risk of losing, they should

inform Hsu so he could “walk them off the ledge.” Moreover, according to FE 10 (identified in

¶101), there were employee quarterly meetings after October 2017 in which Defendant Hsu would

tell employees that he knew there were problems with FAST, but that he was positive they would

straighten themselves out.

       322.    Similarly, Defendant Murdoch led the integration efforts at Micro Focus and,

therefore either knew or was reckless in not knowing about issues with FAST and the integration

of HPE Software and Micro Focus. Murdoch detailed the efforts behind Micro Focus’s purported

integration efforts in April 2017, stating that the integration efforts were “all managed under a

common governance structure, tracking more than 10,000 very specific tasks through to

completion” As discussed above, numerous former employees corroborated that there were

problems with the integration of the two companies, and specifically with the FAST system being

implemented to align HPE Software and Micro Focus’s processes. See Section IV(F). In January

2018, in connection with Micro Focus’s earnings announcement, Defendant Hsu noted that “the

great thing about this is that we have a very clear structure and governance process for managing

the integration, for managing all the various different investments that are being made, and that’s

all being driven under Stephen Murdoch’s organization.” Defendant Murdoch had been the CEO

of Micro Focus before the Merger and remained the CEO until the Merger closed. Additionally,

upon Defendant Hsu’s “resignation” in March 2018, Defendant Murdoch became the CEO again.

Given Defendant Murdoch’s significant involvement in the Merger, he knew or was reckless in

not knowing about the significant attendant issues.

       323.    In addition, in the Offering Documents, as alleged above, both Micro Focus and

HPE purported to have conducted extensive and detailed due diligence in connection with the




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Merger. Defendants Hsu and Murdoch were personally involved in those processes, which would

have alerted them to the underlying issues that were belatedly disclosed at the end of the Class

Period.

          324.   Second, Defendants Murdoch and Loosemore discussed in internal meetings the

integration issues, including the backlog of partner payments. Indeed, the days after Defendant

Hsu resigned, Loosemore and Murdoch participated in a town hall session during which

Loosemore told employees that he was aware that there were issues with the Company and that

there was a significant eight-figure backlog of partner payments.

          325.   Third, the termination of Defendant Hsu, who led the Merger efforts, is probative

of scienter. Defendant Hsu’s role in Micro Focus’s fraud is further confirmed by the circumstances

of his resignation from Micro Focus immediately upon the Company’s disclosure of Micro Focus’s

problematic integration of HPE Software and the worsening issues of sales and sales personnel

attrition in both businesses. As explained below, the only plausible inference raised by Defendant

Hsu’s resignation is that he engaged in misconduct that resulted in material financial detriment to

Micro Focus.

          326.   While the Company announced that Defendant Hsu had “resigned,” the facts of his

resignation make clear that Defendant Hsu was terminated. First, Hsu “resigned” only five months

after the closing of the Merger and after he became CEO. Second, the Company announced on its

March 19, 2018 analyst call that while Hsu effectively gave six months’ notice under the terms of

his contract, he “left the business immediately.” Third, in “resigning” so abruptly, Defendant Hsu

walked away from potentially millions of dollars in compensation. Tellingly, in response to an

analyst question about whether Defendant Hsu was “walking away from his bonus and options”

and whether investors should “consider . . . that off the table with regards to potential payout later,”




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Defendant Loosemore responded that “I think it’s fair to say that all bonuses and stock options

are likely to fall away.” Defendant Hsu’s resignation and “walking away” from his bonus is

especially probative of scienter given that Hsu was eligible for a bonus of up to 150% of his base

salary, which was $1 million. Fourth, Defendant Hsu’s resignation was disclosed at the same time

that the Company disclosed poor financial results as well as operations issues stemming from the

Merger, with which Defendant Hsu was highly involved. Hsu’s departure was sudden, unexpected,

and not fully explained.

        327.   Fourth, Defendant Phillips’ demotion is indicative of scienter. Defendant

Phillips’ role in Micro Focus’s fraud is further confirmed by the circumstances of his demotion

from CFO to Director of M&A at the same time that the Company announced that the “EBITDA

for the Micro Focus [P]roduct [P]ortfolio was down and that is reflective largely of the operational

performance improvements that were put on hold [as a result of the Merger].” As UBS noted in an

analyst report on January 8, 2018, this was a “surprise” to investors, and Barclays analysts noted

on January 9, 2018 that Defendant Phillips’ demotion was “perhaps contributing to the share price

decline.” Defendant Phillips, as CFO, had primary responsibility for managing the Company’s

finances. His demotion, at the same time as the truth began to emerge about the fraud, and at a

time when the announcement could only lead to greater investor concerns, is probative of his

scienter.

        328.   Fifth, Micro Focus touted the Merger as a “rare opportunity” and “a huge

opportunity for efficiency improvement.” Given the importance of the Merger to Micro Focus’s

financial well-being and attractiveness to investors, the Executive Defendants were aware or

recklessly disregarded the intensification of issues with personnel attrition and sales in both Micro

Focus and HPE Software due to issues stemming from the Merger and to significant problems




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stemming from the implementation of FAST. Indeed, the viability and progression of the Merger

was a subject of intense market scrutiny and concern, and a topic on which the Executive

Defendants made numerous public statements during the Class Period. Given the importance of

this event, analysts asked about it during conference calls and commented on it in their analyst

reports. The Executive Defendants were, at a minimum, reckless in making their statements about

the Merger and failing to disclose the serious integration problems Micro Focus was experiencing.

       329.    Sixth, the Executive Defendants were focused on staff attrition, with Defendant

Hsu telling analysts that “all we have is our people.” The Executive Defendants were focused on

maintaining stability in the sales personnel during the Class Period and made repeated statements

to investors regarding that topic. These statements included Defendant Hsu’s statement on a

September 7, 2017 Capital Markets Day call that he was “taken aback” by rumors about employee

turnover and low morale and that “all we have is our people.” Additionally, on the same call, on

which Defendant Loosemore, Defendant Phillips, and Defendant Murdoch also participated,

Defendant Hsu told investors that what would be “reflected in our financial architecture” is

“maintaining stability of the rep-customer relationship” and “on the quota-carrying field and inside

sales reps, we’re going to maintain consistency and stability.” The Executive Defendants were, at

a minimum, reckless in making their statements about the sales force and failing to disclose the

serious sales-personnel attrition Micro Focus was experiencing.

       330.    Seventh, sales, integration of the two companies, and implementation of the

FAST system were core to the operations of both Micro Focus and HPE Software and were

significant components of their revenue and growth and, as a result, the Executive Defendants

were aware of or recklessly disregarded the customer attrition and sales-personnel attrition. As

with the success of the Merger integration efforts, the Executive Defendants made numerous




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public statements during the Class Period regarding the Merger’s “meaningful revenue synergies,”

as well as the Company’s reliance on its salespeople. The Executive Defendants were, at a

minimum, reckless in making these statements and failing to disclose the significant issues that

HPE Software and Micro Focus were both experiencing even before the Merger closed.

       331.   Eighth, numerous former employees corroborated the existence of widespread

issues in Micro Focus and HPE Software’s core business operations before and after the close

of the Merger, all of which were known to or recklessly ignored by the Executive Defendants,

including: (i) salesperson attrition-related issues at HPE Software and Micro Focus; (ii)

customer attrition at HPE Software; (iii) the failure of the new FAST system and ensuing sales

problems; and (iv) HPE customer concerns about support, innovation, and license audits

following the announcement of the Merger. Further, numerous former employees corroborated

that the Merger was merely a way to “put a dress on a pig” and aggravated existing issues at both

Micro Focus and HPE Software. Numerous former employees corroborated that both Micro Focus

and HPE Software were facing severe issues in sales personnel retention before the closing of the

Merger and that HPE Software was facing massive customer attrition. On the HPE Software side,

former employees corroborated that customers cancelled their HPE Software contracts or did not

want to renew or sign new contracts once they understood that their new contracts would be under

Micro Focus, a litigious company where software “goes to die.” See Section IV(D). Moreover,

numerous former employees corroborated that HPE Software experienced massive attrition of its

sales personnel, who knew that they would be unable to sell new products and thus obtain their

required commissions. See id. At the same time, according to former employees, Micro Focus was

also facing severe personnel attrition. Moreover, while Micro Focus and the Executive Defendants

touted the Merger for its “synergies,” including that both Micro Focus and HPE Software were in




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the process of being placed on the same platform, FAST, to create efficiencies, the Merger

worsened issues at both companies. According to numerous former employees: (i) sales personnel

and customer attrition only continued to increase after the close of the Merger; and (ii) FAST made

it nearly impossible for sales personnel to transact business, by significantly impeding their ability

to provide quotes to or invoice customers. See Section IV(F). That these issues affecting the core

components of both HPE Software and Micro Focus were widespread and corroborated by

numerous former employees is further evidence of scienter, and the Executive Defendants knew

or were reckless in not knowing that their statements regarding personnel, benefits of the Merger,

and the progress of integration were false and misleading.

       332.    Ninth, as alleged above, the Executive Defendants spoke repeatedly and

extensively to investors about the very subject matters of the fraud – integration, FAST, sales

force retention, and rationalization of the companies’ product portfolios – and are presumed to

have spoken on these topics with personal knowledge of the true facts on those subjects. These

types of repeated, detailed public comments – through which the Executive Defendants held

themselves out as knowledgeable on these subjects – further support a strong inference of scienter.

The Executive Defendants either spoke on these subjects with knowledge on the topics – making

their statements knowingly false – or failed to investigate or inquire as to the true facts underlying

their statements – making their statements recklessly false.

       333.    Tenth, both HPE and Micro Focus’s past experience with failed or problematic

mergers put Micro Focus and the Executive Defendants on notice of the potential issues,

pitfalls, and problems that arose in the Merger. Micro Focus and HPE had previously experienced

difficulties and disappointments in attempting to integrate other companies. As discussed above,

a Credit Suisse analyst noted in reference to Micro Focus’s failed acquisitions of Borland, TAG




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and Compuware that “this is not the first time [Micro Focus] has underestimated a transaction and

cut costs too hard too quickly.” HPE had a similarly bad experience with the Autonomy

acquisition. These experiences acted as “red flags” putting the Executive Defendants on notice of

the problems that undermined the truth and candor of their public statements during the Class

Period.

          334.   Eleventh, the Executive Defendants sold unusually large amounts of stock during

the Class Period. Defendant Loosemore sold a total of £16,691,134 worth of Company shares

from April to July 2019 (£5,138,517 on April 1, £3,993,830.on July 10, and £7,558,786 on July

11), just months before the corrective disclosure on August 29, 2019, representing 41% of the

shares he owned. Defendant Murdoch sold £5,847,671 worth of Company shares on April 1, 2019,

representing 47% of his total holdings.26

                 Additional Loss Causation Allegations

          335.   The Executive Defendants’ wrongful conduct, as alleged in this Complaint, directly

and proximately caused the economic losses suffered by Lead Plaintiff and the Class.

          336.   During the Class Period, Lead Plaintiff and the Class purchased or otherwise

acquired Micro Focus ADSs at artificially inflated prices and were damaged thereby. That artificial

inflation in Micro Focus’s ADS price was removed when the Executive Defendants’

misrepresentations and omissions made to the market, and the misrepresentations’ and omissions’

effects, were revealed, causing investors’ losses.

          337.   Micro Focus and the Executive Defendants’ fraudulent scheme was partly revealed

to investors beginning on Monday, January 8, 2018, before the opening of the market, when the

Company issued a press release and filed a Form 6-K announcing its interim results for the six


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  Information about Defendants’ holdings of Micro Focus stock and transactions in the stock
before July 2017 is not publicly available.

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months ended October 31, 2017. Micro Focus also held an analyst conference call on the same

day. As discussed in detail in Section IV(G)(1) above, the press release, Form 6-K, and conference

call disclosed, among other things, disappointing revenue for both legacy Micro Focus and legacy

HPE Software, problems caused by FAST, and problems caused by the spinoff of HPE Software

from HPE.

       338.    These disclosures partially revealed the falsity of Micro Focus and the Executive

Defendants’ prior statements, including, for example, their statements about the “enlarged

company’s . . . technology innovation, global resources and a highly skilled workforce,” “strong

platform,” and “3,000 salespeople globally”; their denials of high employee turnover and low

morale; their assertions that “[d]espite [the] complexity of [the] transaction we have continued to

execute on the core business”; and their statement that “we’re not disrupting the product flow into

the marketplace.”

       339.    Analysts reacted negatively to the January 8, 2018 disclosures, as discussed above

in Section IV(G)(1).

       340.    In response to the January 8, 2018 partial corrective disclosures, Micro Focus ADSs

fell $6.94 per ADS on January 8, 2018 from the prior trading day’s close, or 16%, to close at

$34.86, on unusually high trading volume of more than 2.1 million ADSs.

       341.    The January 8, 2018 disclosures were insufficient on their own to fully remove the

inflation from Micro Focus’s ADS price, because they only partially revealed the risks and

conditions that had been concealed from investors. The corrective impact of the disclosures was,

moreover, tempered by Micro Focus and the Executive Defendants’ continued misstatements and

omissions about the Company’s “strong platform,” “proven operating model,” post-merger




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integration, sales personnel, and revenue expectations. For example, Defendant Hsu misleadingly

stated on the January 8, 2018 conference call that:

               a.     “We also believe that we have a strong platform with a proven operating

                      model”;

               b.     “the transaction thesis of the HPE Software business is intact and strong”;

               c.     “we’re only a couple months post the completion of the transaction and

                      we’ve already integrated the product teams”;

               d.     “we believe that we have and are building a competitively advantaged

                      platform with, number one, scale; two, a standard integration approach;

                      efficient product and development methodologies; one modern IT platform;

                      and the financial strength to benefit from that further industry

                      consolidation”;

               e.     “one of the areas of most significant accomplishment is standing up 70% of

                      our revenue, which is the HPE Software business which we did in

                      November on a completely new IT system, which is a very modern system.

                      . . . And we did that within two months post the close of the transaction.

                      There are very few businesses that close one of the largest, most complex

                      global mergers and then two months later, stand up 70% of the revenue on

                      a completely new ERP system, transaction system, frontend and backend,

                      and we’ve done that”;

               f.     Despite the “bumpy” rollout of FAST, “what we’ve had to do is really build

                      a workaround system to resolve the issues so that systematically they’re

                      fixed, but also to get the quotes and the invoices done so that it doesn’t




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                       impact us from a revenue perspective. And as I mentioned, the teams have

                       worked tirelessly through the holidays to really make that happen”;

               g.      “we have a fully integrated sales team as of November 1”;

               h.      “the great thing about this is that we have a very clear structure and

                       governance process for managing the integration, for managing all the

                       various different investments that are being made, and that’s all being

                       driven under Stephen Murdoch’s organization”; and

               i.      in response to an analyst’s question about “sales execution issues in Micro

                       Focus in the last six months in the core business” and whether the Company

                       was “getting a little bit too far”: “I’m not worried really about the speed.”

       342.    These continued misrepresentations and omissions continued to maintain the prices

of Micro Focus’s ADSs at levels that were artificially inflated, inducing members of the Class to

continue purchasing Micro Focus ADSs even after the January 8, 2018 disclosures. Further price

declines that caused additional injury to the Class occurred upon the disclosure of additional

information about Micro Focus’s previously concealed problems on March 19, 2018.

       343.    The partial corrective disclosure on March 19, 2018, further revealed the Executive

Defendants’ fraudulent scheme to the market. On that day, the Company filed a Form 6-K before

the opening of trading, and Micro Focus also held an analyst conference call. As discussed in detail

in Section IV(G)(2) above, the Form 6-K and conference call disclosed, among other things, that

the Company’s revenue declines had significantly accelerated because of previously concealed

problems with its new FAST IT system, sales-force attrition and underperformance, and post-

spinoff problems marketing HPE Software products unbundled from HPE products.




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       344.    Thus, the March 19, 2018 disclosures partially revealed the falsity of Defendants’

prior representations concerning the effectiveness of the integration of Micro Focus and HPE

Software, the combined companies’ ability to sell their products, their sales personnel, and the

impact of the spinoff of HPE Software from HPE.

       345.    Analysts reacted negatively to these disclosures, as discussed above in Section

IV(G)(2).

       346.    In response to the March 19, 2018 disclosure, Micro Focus ADSs fell $14.70 per

ADS, or nearly 47%, to close on March 19, 2018 to close at $16.89 that day, on unusually high

trading volume of more than 24 million ADSs. As the market continued to absorb the news over

the next several days, Micro Focus’s ADS price continued to fall on unusually high trading

volume, closing at $15.66 on March 22, 2018, representing a decline of more than 55% from the

ADS closing price on the date of the Merger’s close.

       347.    Micro Focus and the Executive Defendants’ fraudulent scheme was further partly

revealed to investors on July 11, 2018, when the Company issued a press release and filed a Form

6-K containing its interim results for the six months ended April 30, 2018. Micro Focus also held

an analyst conference call on the same day. As discussed in detail in Section IV(G)(3) above, the

press release, Form 6-K, and conference call disclosed, among other things, that the costs required

for the Merger would be $960 million instead of the $750 million previously flagged due to the

Company’s need to “stabilize then remediate the FAST platform,” and that attrition was at an

“elevated level.”

       348.    These disclosures partially revealed the falsity of Micro Focus and the Executive

Defendants’ prior statements quoted in ¶¶138-139 above, including, for example, their statements

about the “enlarged company’s . . . technology innovation, global resources and a highly skilled




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workforce,” “strong platform,” and “3,000 salespeople globally”; their denials of high employee

turnover and low morale; their assertions that “[d]espite [the] complexity of [the] transaction we

have continued to execute on the core business”; and their statement that “we’re not disrupting the

product flow into the marketplace.”

       349.    Analysts reacted negatively to the July 11, 2018 disclosures, as discussed above in

Section IV(G)(3).

       350.    In response to the July 11, 2018 partial corrective disclosures, Micro Focus ADSs

fell $1.59 per ADS, or 8%, from $20.62 on July 10, 2018, to close at $19.03 on July 11, 2018, on

unusually high trading volume of 2.8 million ADSs.

       351.    Despite the partial disclosures of the truth about the Merger’s adverse impact on

the Company quoted above, Defendants continued to falsely reassure investors and to make false

and misleading statements about the Merger’s aftermath on July 11, 2018. For example, the

Company’s “interim results” press release stated: “Progress on integration with IT systems

stabilizing, business being simplified, sales organization re-aligned and refocused.” Other false

and misleading statements by Defendants from July 11, 2018 to July 9, 2019 are quoted in Sections

V(B)(6)-(9) above.

       352.    The July 11, 2018 disclosures were insufficient on their own to fully remove the

inflation from Micro Focus’s ADS price, because they only partially revealed the risks and

conditions that had been concealed from investors. The corrective impact of the disclosures was,

moreover, tempered by Micro Focus and the Executive Defendants’ continued misstatements and

omissions.

       353.    These continued misrepresentations and omissions continued to maintain the prices

of Micro Focus’s ADSs at levels that were artificially inflated, inducing members of the Class to




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continue purchasing Micro Focus ADSs even after the July 11, 2018 disclosures. Further price

declines that caused additional injury to the Class occurred upon the disclosure of additional

information about Micro Focus’s previously concealed problems on July 9, 2019.

       354.     Micro Focus and the Executive Defendants’ fraudulent scheme was further partly

revealed to investors on July 9, 2019, when the Company issued a press release and filed a Form

6-K containing its interim results for the six months ended April 30, 2019. Micro Focus also held

an analyst conference call on the same day. As discussed in detail in Section IV(G)(4) above, the

press release, Form 6-K, and conference call disclosed, among other things, that its license revenue

declined 11.1% on a constant-currency basis, due in part to “significant levels of sales force

attrition during FY18.”

       355.     These disclosures partially revealed the falsity of Micro Focus and the Executive

Defendants’ prior statements quoted in ¶¶173-178 above, including, for example, their statements

about the “enlarged company’s . . . technology innovation, global resources and a highly skilled

workforce,” “strong platform,” and “3,000 salespeople globally”; their denials of high employee

turnover and low morale; their assertions that “[d]espite [the] complexity of [the] transaction we

have continued to execute on the core business”; and their statement that “we’re not disrupting the

product flow into the marketplace.”

       356.     Analysts reacted negatively to the July 9, 2019 disclosures, as discussed above in

Section IV(G)(4).

       357.     In response to the July 19, 2019 partial corrective disclosures, Micro Focus ADSs

fell $4.15 per ADS in two days, or 16%, from $26.21 on July 8, 2019, to close at $22.06 on July

10, 2019, on unusually high trading volume of 800,000 and 1 million ADSs on July 9 and 10,

respectively.




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       358.    Despite the partial disclosures of the truth about the Merger’s adverse impact on

the Company quoted above, Defendants continued to falsely reassure investors and to make false

and misleading statements about the Merger’s aftermath on July 9, 2019. For example, Defendant

Murdoch said, “We are making steady progress [in integrating the HPE Software business] . . . .

[W]e are confident in our ability to complete this [integration] and thereby deliver on our original

thesis of making Micro Focus an efficient and optimised platform operating at scale with sector-

leading margins and the opportunity to grow further through acquisition.” Other false and

misleading statements by Defendants on July 9, 2019 are quoted in ¶¶173-174, 180 above.

       359.    The July 9, 2019 disclosures were insufficient on their own to fully remove the

inflation from Micro Focus’s ADS price, because they only partially revealed the risks and

conditions that had been concealed from investors. The corrective impact of the disclosures was,

moreover, tempered by Micro Focus and the Executive Defendants’ continued misstatements and

omissions.

       360.    These continued misrepresentations and omissions continued to maintain the prices

of Micro Focus’s ADSs at levels that were artificially inflated, inducing members of the Class to

continue purchasing Micro Focus ADSs even after the July 9, 2019 disclosures. Further price

declines that caused additional injury to the Class occurred upon the disclosure of additional

information about Micro Focus’s previously concealed problems on August 29, 2019.

       361.    The corrective disclosure on August 29, 2019, further revealed the Executive

Defendants’ fraudulent scheme to the market. On that day, the Company issued a “Trading update

and Strategic review,” reducing its constant-currency revenue guidance from a range of minus 4%

to minus 6% to a range of minus 6% to minus 8% for the year ending 31 October 2019, compared




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to the year ended 31 October 2018, as a result in part of “[w]eak sales execution.” The Company

also announced “a strategic review of the Group’s operations.”

       362.    Thus, the August 29, 2019 disclosures revealed additional information

demonstrating that Defendants misrepresented the supposedly beneficial effects of the Merger and

falsely downplayed its adverse impacts to that date. As discussed in Section IV(G)(5), investors

and analysts attributed the “weak sales execution” to the adverse impacts of the Merger and viewed

the “strategic review” as an indication that the Company was likely to at least partially unwind the

Merger by selling some of the assets acquired from HPE.

       363.    In response to the August 29, 2019 disclosure, Micro Focus’s ADS price fell $5.91

per ADS or 31% in one day, from a close of $18.89 on August 28 to $12.98 on August 29, wiping

out $846 million in shareholder value for the ADSs alone. The August 29, 2019 closing price was

63% below the ADSs’ closing price of $35.14 on September 1, 2017, the day the Merger closed.

       364.    As a result of their purchases of Micro Focus ADSs during the Class Period and the

corrections removing the artificial inflation in the prices paid for those securities, Lead Plaintiff

and the Class suffered economic harm under the federal securities laws.

              Presumption of Reliance

       365.    At all relevant times, the market for Micro Focus ADSs was an efficient market for

the following reasons, among others.

       366.    Micro Focus’s ADSs met the requirements for listing, and were listed and actively

traded on the NYSE, a highly liquid, efficient and automated market.

       367.    As a regulated issuer, Micro Focus filed periodic public reports with the SEC and

the NYSE.

       368.    Micro Focus regularly and publicly communicated with investors via established

market communication mechanisms, including through regular disseminations of press releases on


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the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services.

       369.      Micro Focus was followed by the news media and by multiple securities analysts

employed by major brokerage firm who wrote reports, which were distributed to the sales force

and customers of their respective brokerage firm. Each of these reports was publicly available and

entered the public marketplace. Indeed, 122 analyst reports on Micro Focus were published during

the Class Period.

       370.      At all relevant times during the Class Period, the price of Micro Focus ADSs (traded

on the NYSE) moved in strict correlation with the price of Micro Focus shares (traded on the

London Stock Exchange).

       371.      Micro Focus ADSs were actively traded throughout the Class Period, with

substantial trading volume and average weekly turnover and high institutional-investor

participation.

       372.      As a result of the foregoing, the market for Micro Focus’s ADSs promptly digested

current information regarding Micro Focus from all publicly available sources and reflected that

information in the price of Micro Focus’s ADSs. Under these circumstances, all purchasers of

Micro Focus’s ADSs during the Class Period suffered similar injury through their purchase of

Micro Focus’s ADSs at artificially inflated prices and the presumption of reliance applies.

       373.      A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’ Exchange Act claims are grounded on Micro Focus and the Executive

Defendants’ material false and misleading omissions. Because this action involves these

Defendants’ failure to disclose material adverse information regarding the well-being of HPE




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Software’s and Micro Focus’s operations and the progress of the integration—information that

these Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the viability of Micro Focus and HPE Software before the merger and their ability

to integrate the two companies quickly and without issues, that requirement is satisfied here.

VI.    VIOLATIONS OF THE SECURITIES ACT

       374.     Plaintiff’s claims under the Securities Act do not sound in fraud, and Plaintiff

expressly disavows and disclaims any allegations of fraud, scheme, or intentional conduct as part

of its claims under the Securities Act. Any allegations of fraud, fraudulent conduct, or motive are

specifically disclaimed from the following allegations for the purposes of Lead Plaintiff’s claims

under the Securities Act, which do not have scienter, fraudulent intent, or motive as required

elements. To the extent that these allegations incorporate factual allegations elsewhere in this

Complaint, those allegations are incorporated only to the extent that the allegations do not allege

fraud, scienter, or intent of the Defendants to defraud Lead Plaintiff or members of the Class.

       375.     As discussed below, Micro Focus, the Director Defendants, and Defendants

Loosemore, Phillips, Murdoch, Brauckmann, and Hsu made materially untrue statements and

omissions of material facts in Micro Focus’s Offering Documents for the Company’s Merger with

HPE Software.

       376.     As stated above in ¶198, the Registration Statement was signed by Defendants

Loosemore, Phillips, Murdoch, Brauckmann, Slatford, Atkins, Brown, Scheiber, Manon, and

Roos. The Offering Documents stated with Defendant Hsu’s and Defendant Schultz’s consent that

they would become Directors of Micro Focus at the close of the Merger.




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         377.     The Offering Documents provided “Micro Focus’ Reasons for Engaging” in the

Merger, characterizing the Merger as “a rare opportunity to achieve a significant increase in

Micro Focus’ scale and breadth, with the potential to deliver enhanced Total Shareholder

Returns consistent with Micro Focus’ stated objectives.” Specifically, the Offering Documents

stated that the Merger was expected to “enhance Adjusted Earnings Per Share by April 30, 2019

and thereafter, with scope for further benefits as operational improvements are realized across the

Enlarged Group.” The Offering Documents also stated that “[a]cquisitions are only made if the

Micro Focus Board believes that they will generate risk adjusted returns greater than the base

case.”

                378.    The statements quoted in ¶377 above were materially false and misleading

because they omitted that: (i) HPE Software was experiencing high customer attrition and sales-

force attrition due to its spinoff from HPE and the fact that customers were uninterested in

continuing or creating contracts with a company that was about to become part of Micro Focus;

(ii) Micro Focus was also experiencing increasing attrition of sales personnel; (iii) Micro Focus

was experiencing declining sales, especially in North America; (iv) the companies had overlapping

and competing product offerings that could not be rationalized and would compete with and

cannibalize each other; and (v) HPE and Micro Focus were operating independently and would

not be able to test and properly implement the FAST system, which they intended to deploy

immediately after the Merger, and the successful testing and implementation of which were

necessary to realizing the efficiencies and noted increases in profit and EBITDA margins. Given

that these significant sales- and employee-attrition problems had been aggravated in the period

following the announcement of the Merger (in September 2016), the Merger would not, in fact,

“deliver enhanced Total Shareholder returns” or “risk adjusted returns greater than the base case.”




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       379.    The Offering Documents also stated that the Merger would “add a substantial

recurring revenue base to Micro Focus’ existing product portfolio, together with access to

important new growth drivers and new revenue models.”

       380.    The statement quoted in ¶379 above was materially false and misleading because

HPE Software was experiencing high customer attrition and sales-force attrition due to its spinoff

from HPE. HPE Software customers did not want to renew their contracts or enter into new

contracts during the pendency of HPE Software’s proposed Merger with Micro Focus due to

concerns, among others, about Micro Focus’s reputation for license audits, litigation against

customers, and a lack of innovation, and these factors also contributed to HPE’s sales-force

attrition. In addition, HPE Software’s revenue and business was adversely affected by its inability

to continue bundling its software with HPE’s products and services. Finally, HPE Software and

Micro Focus had overlapping and competing product offerings that could not be rationalized and

would compete with and cannibalize each other, mitigating any positive effects of the Merger.

Thus, the Merger would not add a “substantial” recurring revenue base to Micro Focus.

       381.    Further, the Offering Documents stated that the Merger would “create significantly

greater scale and breadth of product portfolio covering largely adjacent areas of the software

infrastructure market, thereby creating one of the world’s largest pure-play infrastructure software

companies.”

       382.    The statements quoted in ¶381 above were materially false and misleading because

Micro Focus and HPE Software had overlapping and competing product offerings that could not

be rationalized and would compete with and cannibalize each other. As confirmed by FE 3

(identified in ¶55), it was common knowledge that Micro Focus was not in the business of

rationalizing its acquisitions and, instead, left them to compete. Thus, the two companies’ product




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portfolios were not “largely adjacent” and would not create a beneficial “breadth of product

portfolio.”

       383.   The Offering Documents also touted significant “cost benefits” and “efficiencies”

stemming from the Merger, including that:

              a.     “Significant cost benefits will arise from reducing duplicated central costs,

                     combining corporate support functions (where appropriate) and increasing

                     efficiency across all functions”;

              b.     The Merger will “accelerate operational effectiveness over the medium

                     term, through the alignment of best practices between Micro Focus and HPE

                     Software in areas such as product development, support, product

                     management, account management, and sales force productivity, as well as

                     achieving operational efficiencies where appropriate”;

              c.     A benefit of the Merger was “improved operating efficiencies to enable

                     HPE Software, combined with Micro Focus, to accelerate financial and

                     operational performance”;

              d.     The combination would help alleviate certain “challenges” in HPE

                     Software’s “maturing infrastructure software business as part of the general

                     market shift to cloud computing and SaaS” by separating HPE Software

                     from HPE: “The HPE Board believed that a combination of HPE Software

                     with Micro Focus would help address these challenges by creating a more

                     focused, nimble and scalable software business, particularly given Micro

                     Focus’s historical experience with and focus on effectively managing

                     portfolios of mature infrastructure software products”;




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               e.     “[A]nticipated benefits” of the Merger included the “convergence of

                      businesses operating in adjacent and complementary product areas in order

                      to better serve customers as a global provider of infrastructure software and

                      the improvement of the profitability of HPE Software through the

                      application of Micro Focus’ operating model”; and

               f.     The Merger would “accomplish a number of important business objectives

                      for HPE,” including “improved operating efficiencies to enable HPE

                      Software, combined with Micro Focus, to accelerate financial and

                      operational performance.”

       384.    The statements quoted in ¶383 above were materially false and misleading because,

as alleged above, the portfolios of HPE Software and Micro Focus were largely overlapping and

Micro Focus had no plan to rationalize the combined product portfolios. Thus the Merger would

not realize any “efficiencies” or “cost benefits.” Further, these statements were false and

misleading because the Merger and the troubled implementation of the FAST program decreased

profitability and increased inefficiencies when sales personnel could not provide quotes to or

invoice clients. These statements were further materially false and misleading because they

omitted that: (i) HPE Software was experiencing high customer attrition due to its spinoff from

HPE and the fact that customers were uninterested in continuing or creating contracts with Micro

Focus due to concerns, among others, about Micro Focus’s reputation for license audits, litigation

against customers, and lack of innovation; (ii) HPE Software and Micro Focus were both

experiencing increasing attrition of sales personnel and thus the Merger would not “accelerate

operational effectiveness” in “sales force productivity”; (iii) Micro Focus was experiencing

declining sales, especially in North America ; and (iv) HPE Software’s revenue and business were




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adversely affected by its inability to continue bundling its software with HPE products and

services.

       385.    The Offering Documents also disclosed Micro Focus’s financial results for the six

months ended April 30, 2017, including that revenue from licensing was $311 million during that

time period. While this amount had declined slightly since 2016, it was still 22.1% of total net

revenue from those six months. These statements were materially false and misleading because

they failed to disclose the material adverse trends in Micro Focus’s sales, especially in North

America, and sales-force attrition affecting that revenue, as required by Item 303 of Regulation S-

K.

       386.    As discussed above, disclosure of known trends and forward-looking information

concerning the registrant’s revenue are required by Item 303 “where a trend, demand,

commitment, event or uncertainty is both [i] presently known to management and [ii] reasonably

likely to have material effects on the registrant’s financial condition or results of operation.” As

alleged in detail above in ¶385, both of these conditions were satisfied here. First, the trends of

soft North American sales and sales-force attrition were known. Second, these trends were

“reasonably likely to have material effects on [Micro Focus’s] financial condition or results of

operation.” As a direct result of these trends, Micro Focus would be dramatically affected, as the

Company would and did experience a significant decline (31%) in licensing revenue.

       387.    The Offering Documents also included false and misleading statements in their

discussion of risks, in each of which they disclosed purported future risks that had already become

manifest and would only later be belatedly disclosed as underlying causes of the extremely poor

performance of the Company following the Merger. The Offering Documents stated that the

following risks may affect Micro Focus in the future:




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       The Group’s success will depend on its investment in and development of
       products and services that continue to meet the needs of its customers. [Emphasis
       in original.]

       The success of the Group depends on its ability to meet the ongoing needs of its
       customers by continuing to invest in and develop its products and services. If the
       Group’s products and services do not meet its customers’ requirements, they will
       seek alternative solutions, potentially resulting in the loss of new revenue
       opportunities and the cancellation of existing contracts. The Group must make
       long-term investments, develop, obtain and protect appropriate intellectual property
       and commit significant research and development and other resources before
       knowing whether its predictions will accurately reflect customer demand for its
       products, services and solutions. Any failure to make such investments or take
       such action, or any failure to accurately predict customer demand, control
       research and development costs or execute the Group’s product development
       strategy could harm its business and financial performance.

       388.    As discussed above, before the closing of the Merger, it was well known internally

at both HPE and Micro Focus that numerous HPE customers were not and would not accept license

renewals or sign new contracts following the announcement of the Merger in 2016, fearing that

the software would not be kept up to date and be subject to innovation and development. In the

words of many former employees, the HPE customers feared the effects of Micro Focus’s well-

known reputation as a company where “software goes to die” or as a “software hospice.”

Accordingly, it was materially misleading to describe the possible failure “to invest in and develop

its products and services” as a potential risk, when that risk had already transpired.

       389.    The Offering Documents’ risk disclosures also stated that the Merger’s success

would depend on its sales force’s effectiveness:

       The Group is dependent upon the effectiveness of its sales force and distribution
       channels to maintain and grow license, maintenance and consultancy sales.
       [Emphasis in original.]

       The Group is dependent on the success of its sales force, and its failure to develop
       the skill sets of its sales personnel may lead to poor sales performance.
       Furthermore, weak organizational alignment and inadequate incentivization
       may lead to poor performance among employees of the Group. From time to time,
       the Group may make changes to the organizational structure and compensation
       plans of the Group’s sales organizations, each of which may increase the risk of


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       sales personnel turnover. To the extent that the Group experiences significant
       turnover within its direct sales force or sales management, there is a risk that the
       productivity of the sales force would be negatively impacted which could lead to
       revenue declines. In addition, it can take time to implement new sales
       management plans and to effectively recruit and train new sales personnel.

       390.    The statements quoted in ¶389 above were materially false and misleading because

the Merger was causing significant disruption of product flow as HPE Software was experiencing

significant customer attrition and both Micro Focus and HPE Software were experiencing

significant attrition of necessary sales personnel. The falsity of the above statements is further

confirmed by the belated disclosure in March 2018 that Micro Focus’s poor results were, in part,

a result of “higher attrition of sales personnel due to both integration and systems related issues.”

Accordingly, it was materially misleading to describe the risk associated with the “effectiveness

of [the Company’s] sales force” as a potential risk, when that risk had already transpired.

       391.    The Offering Documents also disclosed that a key risk associated with the success

of the Merger concerned integration of Micro Focus and HPE Software:

       Integration of HPE Software with the existing businesses carried on by the Micro
       Focus Group may be more time consuming and costly than anticipated.
       [Emphasis in original.]

       The Micro Focus Group and HPE Software currently operate and, until Closing,
       will continue to operate as two separate businesses. The Merger will require the
       integration of the businesses, and the success of the Group will depend, in part, on
       the effectiveness of the integration process.

       The key potential difficulties of combining the businesses following Closing
       include the following:

              developing, operating and integrating a large number of different
               technology platforms and systems, in particular integrating the IT
               platforms of both businesses;

              coordinating and consolidating services and operations, particularly across
               different service areas, regulatory systems and business cultures;

              consolidating infrastructure, procedures, systems, facilities, accounting
               functions, compensation structures and other policies;


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              integrating the management teams and retaining and incentivizing key
               employees;

              coordinating communications with and/or the provision of services by the
               Group to customers of both the Micro Focus Group and HPE Software; and

              disruption to the businesses of each of the Micro Focus Group and HPE
               Software.

       392.    The statements quoted in ¶391 above were materially false and misleading because

(i) HPE and Micro Focus were operating independently and had not tested and would not be able

to properly implement the FAST system, which they intended to deploy immediately after the

Merger, and the successful testing and implementation of which were necessary to realizing the

efficiencies and noted increases in profit and EBITDA margins, and (ii) the merging companies

had overlapping and competing product offerings that could not be rationalized and would compete

with and cannibalize each other, precluding a successful integration of the two businesses.

Accordingly, it was materially misleading to describe the risk associated with “integration” as a

potential risk, when that risk had already transpired.

VII.   INAPPLICABILITY OF THE STATUTORY SAFE HARBOR AND
       BESPEAKS CAUTION DOCTRINE

       393.    Micro Focus’s “Safe Harbor” warnings accompanying its forward-looking

statements issued during the Class Period were ineffective to shield those statements from liability.

       394.    Defendants are also liable for any false or misleading forward-looking statements

pleaded in this Complaint because, at the time, each statement was made, the speaker knew the

statement was false or misleading and the statement was authorized or approved by an executive

officer of Micro Focus who knew the statement was false. None of the historic or present tense

statements made by Defendants were assumptions underlying or relating to any plan, projection,

or statement of future economic performance, as they were not stated to be assumptions underlying

or relating to any plan, projection or statement of future economic performance when made, nor


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were any of the projections or forecasts made by Defendants expressly related to, or stated to be

dependent on, those historic or present tense statements when made.

VIII. CLASS ACTION ALLEGATIONS

       395.    Plaintiff brings this action as a class action under Federal Rule of Civil Procedure

23(a) and (b)(3) on behalf of a class consisting of all persons or entities who purchased or acquired

Micro Focus ADSs pursuant or traceable to the Company’s Registration Statement and Prospectus

(Registration No. 333-219678) issued in connection with the Merger (the “Class”) and persons

who purchased or acquired Micro Focus ADSs on the open market between September 1, 2017

and August 28, 2019. Excluded from the Class are Defendants and their families, the officers,

directors and affiliates of the Defendants, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

       396.    The members of the Class are so numerous that joinder of all members is

impracticable. Micro Focus ADSs are actively traded on the NYSE under the ticker symbol

“MFGP” and millions of ADSs were traded between September 1, 2017 and August 28, 2019.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are hundreds of members

in the proposed Class. Record owners and other members of the Class may be identified from

records maintained by Micro Focus of its transfer agent and may be notified of the pendency of

this action by mail, using a form of notice similar to that customarily used in securities class

actions.

       397.    Plaintiff’s claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of in this Complaint.


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       398.    Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

       399.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               a.     Whether Defendants violated the Securities Act or the Exchange Act;

               b.     Whether Defendants omitted or misrepresented material facts;

               c.     Whether Defendants made false or misleading statements;

               d.     Whether Defendants’ statements omitted material facts necessary in order

                      to make the statements made, in light of the circumstances under which they

                      were made, not misleading;

               e.     Whether the Executive Defendants acted with scienter;

               f.     Whether the Executive Defendants or Director Defendants are individually

                      liable for the alleged misrepresentations and omissions described in this

                      Complaint;

               g.     Whether the prices of Micro Focus ADSs were artificially inflated;

               h.     Whether Defendants’ misconduct caused the members of the Class to

                      sustain damages; and

               i.     The extent of damages sustained by the Class members and the appropriate

                      measure of damages.

       400.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden




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of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

IX.    CLAIMS FOR RELIEF

                                          COUNT I
                       Violations of Section 10(b) of the Exchange Act
              and Rule 10b-5 Against Micro Focus and the Executive Defendants

       401.    Lead Plaintiff repeats and realleges every allegation contained above as if fully

alleged in this Count.

       402.    During the Class Period, Defendant Micro Focus and the Executive Defendants

carried out a plan, scheme, and course of conduct, which was intended to and, throughout the Class

Period, did: (i) deceive the investing public, including Plaintiff and the other Class members, as

alleged in this Complaint, and (ii) cause Plaintiff and other members of the Class to purchase or

otherwise acquire Micro Focus’s ADSs at artificially inflated prices. In furtherance of this

unlawful scheme, plan and course of conduct, these Defendants, and each of them, took the actions

alleged in this Complaint.

       403.    Defendant Micro Focus and the Executive Defendants (i) employed devices,

schemes, and artifices to defraud, (ii) made untrue statements of material fact and omitted to state

material facts necessary to make the statements made not misleading, and (iii) engaged in acts,

practices, and a course of business that operated as a fraud and deceit upon the purchasers and

other acquirers of the Company’s ADSs in an effort to maintain artificially high market prices for

Micro Focus’s ADSs in violation of Section 10(b) of the Exchange Act and Rule 10b-5.

       404.    Defendant Micro Focus and the Executive Defendants, individually and in concert,

directly and indirectly, by the use of the means or instrumentalities of interstate commerce and of

the mails, including the NYSE, a national securities exchange, engaged and participated in a




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continuous course of conduct to conceal adverse material information about the Company’s

financial well-being, operations, prospects, employee attrition, and customer attrition.

       405.    During the Class Period, Micro Focus and the Executive Defendants made the false

statements specified above, which they knew or recklessly disregarded to be false or misleading

in that the statements contained misrepresentations and failed to disclose material facts necessary

in order to make the statements made, in light of the circumstances under which they were made,

not misleading.

       406.    Defendant Micro Focus is liable for all materially false and misleading statements

made by it during the Class Period.

       407.    Defendant Micro Focus is further liable for the false and misleading statements

made by Micro Focus officers during conference calls and at conferences with investors and

analysts, as alleged above, as the maker of these statements under the principle of respondeat

superior.

       408.    Additionally, the Executive Defendants, as top executive officers of the Company

during their respective tenures, are liable as direct participants in the wrongs complained of in this

Complaint. The Executive Defendants are also liable for the false and misleading statements they

personally made or signed.

       409.    Micro Focus and the Executive Defendants had actual knowledge of the

misrepresentations and omissions of material fact alleged in this Complaint, or recklessly

disregarded the true facts that were available to them. Micro Focus and the Executive Defendants

engaged in this misconduct to conceal Micro Focus’s true condition from the investing public and

to support the artificially inflated prices of the Company’s ADSs.




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         410.   Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for Micro Focus’s ADSs. Plaintiff and the Class

would not have purchased or otherwise acquired these securities at the prices they paid, or at all,

had they been aware that the market prices had been artificially inflated by Micro Focus’s and the

Executive Defendants’ fraudulent course of conduct.

         411.   As a direct and proximate result of Micro Focus’s and the Executive Defendants’

wrongful conduct, Plaintiff and the other members of the Class suffered economic loss and

damages from their purchases or other acquisitions and sales of the Company’s ADSs during the

Class Period, as the prior artificial inflation in the price of these securities was removed over time.

         412.   By virtue of the foregoing, Micro Focus and the Executive Defendants violated

Section 10(b) of the Exchange Act and Rule 10b-5.

                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                                Against the Executive Defendants

         413.   Lead Plaintiff repeats and realleges every allegation above as if fully alleged in this

Count.

         414.   The Executive Defendants acted as controlling persons of Micro Focus within the

meaning of Section 20(a) of the Exchange Act. By virtue of their high-level positions, participation

in and awareness of the Company’s operations, direct involvement in the day-to-day operations of

the Company, intimate knowledge of the Company’s actual performance, and power to control

public statements about Micro Focus, the Executive Defendants had the power and ability to

control the actions of Micro Focus and its employees, and to cause the Company to engage in the

wrongful conduct alleged in this Complaint. Each of these Defendants was able to and did control,

directly and indirectly, the content of the public statements made by Micro Focus during their

tenures at Micro Focus during the Class Period, which include Micro Focus’s false and misleading


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statements contained in the statements, thereby causing the dissemination of the false and

misleading statements and omissions of material facts as alleged in this Complaint.

       415.    In their capacities as senior corporate officers of the Company, and as more fully

described above, the Executive Defendants had direct involvement in the day-to-day operations of

the Company. The Executive Defendants were directly involved in certifying or approving the

false statements disseminated by Micro Focus during the Class Period. As a result of the foregoing,

the Executive Defendants, as a group and individually, were controlling persons of Micro Focus

within the meaning of Section 20(a) of the Exchange Act.

       416.    Micro Focus violated Section 10(b) of the Exchange Act by its acts and omissions,

as alleged above in this Complaint. By virtue of their positions as controlling persons of Micro

Focus and as a result of their own aforementioned conduct, the Executive Defendants are liable

under Section 20(a) of the Exchange Act, jointly and severally with, and to the same extent as, the

Company is liable under Section 10(b) of the Exchange Act and Rule 10b-5, to Lead Plaintiff and

other members of the Class who purchased or otherwise acquired Micro Focus ADSs. Moreover,

as alleged above, during the respective times these Defendants served as officers or directors or

both of Micro Focus, each of these Defendants was culpable for the material misstatements and

omissions made by Micro Focus.

       417.    As a direct and proximate result of the Executive Defendants’ conduct, Lead

Plaintiff and other members of the Class suffered damages from their purchases or other

acquisitions of Micro Focus ADSs.




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                                       COUNT III
                      Violations of Section 11 of the Securities Act
   Against Micro Focus, the Director Defendants and Defendants Loosemore, Murdoch,
                                    Phillips, and Hsu

       418.    Plaintiff repeats and realleges every allegation contained in paragraphs ¶¶374-392

as if alleged in this Count. This Count is based solely on negligence or strict liability. It is not

based on any knowing or reckless conduct by or on behalf of any Defendant, and Plaintiff

specifically disclaims any allegations of fraud, scienter, or recklessness in this non-fraud Count,

except that any challenged statements of opinion or belief made in or incorporated by reference in

the Offering Documents are alleged to have been materially misstated statements of opinion or

belief when made and at the time when each part of the Registration Statement became effective.

       419.    This claim is brought by Plaintiff on behalf of itself and the other members of the

Class who acquired Micro Focus ADSs pursuant to or traceable to the Company’s Offering

Documents and were damaged thereby. Each member of the Class acquired his, her, or its shares

pursuant to or traceable to the Offering Documents. Micro Focus is the issuer of the ADSs through

the Offering Documents, which were signed by the Director Defendants (other than Defendant

Schultz) and Defendants Loosemore, Murdoch, Brauckmann, and Phillips, and which stated with

Defendant Hsu’s and Defendant Schultz’s consent that Hsu and Schultz would serve as directors

of Micro Focus upon the closing of the Merger.

       420.    Micro Focus, the Director Defendants, and Defendants Loosemore, Murdoch,

Phillips, and Hsu issued and disseminated, caused to be issued and disseminated, and participated

in the issuance and dissemination of, material misstatements and omissions to the investing public

that were contained in the Offering Documents, which misrepresented or failed to disclose, among

other things, the facts alleged above. By reason of the conduct alleged in this Count, each

Defendant violated Section 11 of the Securities Act, 15 U.S.C. §77k.



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        421.    Micro Focus is the issuer of the ADSs issued pursuant to the Offering Documents.

As issuer of these ADSs, the Company is strictly liable to Plaintiff and the other Class members

for the material misstatements and omissions contained in the Offering Documents.

        422.    At the times they acquired their shares of the Company, Plaintiff and the other

members of the Class did not know, or in the exercise of reasonable diligence could not have

known, of the facts concerning the misstatements and omissions alleged in this Count.

        423.    The Defendants named in this Count, directly or indirectly, used the means and

instrumentalities of interstate commerce, including, but not limited to, the mails, interstate

telephone communications, and the facilities of the NYSE, a national securities exchange.

        424.    This claim is brought within one year after discovery of the untrue statements and

omissions in the Offering Documents, or after that discovery should have been made by the

exercise of reasonable diligence, and within three years after the securities were bona fide offered

to the public, i.e., issued in the Merger. It is therefore timely.

        425.    The Defendants named in this Count acted negligently and without reasonable care

regarding the accuracy of the information contained and incorporated by reference in the Offering

Documents and lacked reasonable grounds to believe that this information was accurate and

complete in all material respects.

        426.    By reason of the foregoing, Plaintiff and the other members of the Class are entitled

to damages as measured by the provisions of Section 11(e), 15 U.S.C. 77k(e), from Micro Focus,

the Director Defendants, and Defendants Loosemore, Murdoch, Phillips, and Hsu, and each of

them, jointly and severally.




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                                           COUNT IV
                   Violations of Section 12(a)(2) of the Securities Act Against
                                          Micro Focus

        427.    Lead Plaintiff repeats and realleges the allegations contained in ¶¶374-392 above

as if fully alleged in this Count. This Count is based solely on negligence or strict liability. It is not

based on any knowing or reckless conduct by or on behalf of any Defendant, and Plaintiff

specifically disclaims any allegations of fraud, scienter, or recklessness in this non-fraud Count,

except that any challenged statements of opinion or belief made in or incorporated by reference in

the Offering Documents are alleged to have been materially misstated statements of opinion or

belief when made and at the time when each part of the Registration Statement became effective.

        428.    This Count is brought under Section 12(a)(2) of the Securities Act, 15 U.S.C. § 77l,

on behalf of all members of the Class who acquired Micro Focus securities in or traceable to the

Offering Documents and were damaged thereby.

        429.    Micro Focus was a seller, offeror, and solicitor of sales of the securities offered by

the Offering Documents.

        430.    The Offering Documents contained untrue statements of material facts, omitted to

state other facts necessary to make the statements made not misleading, and concealed and failed

to disclose material facts. Micro Focus’s actions of solicitation included participating in the

preparation and distribution of the untrue and misleading Offering Documents.

        431.    Micro Focus owed to the acquirers of Micro Focus ADSs, including Plaintiff and

the other Class members, the duty to make a reasonable and diligent investigation of the statements

contained in the Offering Documents in order to ensure that the statements were true and that there

was no omission to state a material fact required to be stated to make the statements made not

misleading. In the exercise of reasonable care, Micro Focus should have known of the

misstatements and omissions contained in the Offering Documents.


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       432.    Plaintiff and the other members of the Class acquired Micro Focus securities

pursuant to and traceable to the defective Offering Documents. Plaintiff and the other members of

the Class did not know or in the exercise of reasonable diligence could not have known, of the

untruths and omissions contained in the Offering Documents.

       433.    This claim is brought within one year after discovery of the untrue statements and

omissions in the Offering Documents, or after that discovery should have been made by the

exercise of reasonable diligence, and within three years after the securities were issued in the

Merger. It is therefore timely.

       434.    Micro Focus directly or indirectly, used the means and instrumentalities of

interstate commerce, including, but not limited to, the mails, interstate telephone communications,

and the facilities of the NYSE, a national securities exchange.

       435.    Micro Focus acted negligently and without reasonable care regarding the accuracy

of the information contained and incorporated by reference in the Offering Documents and lacked

reasonable grounds to believe that this information was accurate and complete in all material

respects.

       436.    By reason of the foregoing, Micro Focus is liable for violations of Section 12(a)(2)

of the Securities Act to Plaintiff and the other members of the Class who acquired securities

pursuant or traceable to the Offering Documents and were damaged thereby.

                                         COUNT V
                   Violations of Section 15 of the Securities Act Against
   the Director Defendants (Other than Defendant Schultz) and Defendants Loosemore,
                                  Murdoch, and Phillips

       437.    Plaintiff repeats and realleges every allegation contained in paragraphs ¶¶374-392

as if fully alleged in this Count. This claim is not based on and does not sound in fraud. This Count

is based solely on negligence or strict liability. It is not based on any knowing or reckless conduct



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by or on behalf of any Defendant, and Plaintiff specifically disclaims any allegations of fraud,

scienter, or recklessness in this non-fraud Count, except that any challenged statements of opinion

or belief made in or incorporated by reference in the Offering Documents are alleged to have been

materially misstated statements of opinion or belief when made and at the time when each part of

the Registration Statement became effective.

       438.    This Count is brought pursuant to Section 15 of the Securities Act, 15 U.S.C. § 77o,

against the Director Defendants (other than Defendant Schultz) and Defendants Murdoch, Phillips,

and Loosemore.

       439.    At all relevant times, the Defendants named in this Count were controlling persons

of Micro Focus within the meaning of Section 15 of the Securities Act. As alleged in this Count,

because of their executive positions at Micro Focus or on the Micro Focus Board or both, the

Defendants named in this Count had the requisite power to directly or indirectly control or

influence the decision-making of the Company and the conduct of Micro Focus’s business,

including the wrongful conduct alleged in this Count.

       440.    In their capacities as senior corporate officers of the Company, and as more fully

described above, Defendants Murdoch, Loosemore, Brauckmann, and Phillips had direct

involvement in the day-to-day operations of the Company, and, therefore, are presumed to have

had the power to control or influence the particular transactions giving rise to the securities law

violations alleged in this Count. They were also directly involved in providing false information

and certifying or approving the false and misleading statements disseminated by Micro Focus in

the Offering Documents. As a result of the foregoing, Defendants Murdoch, Loosemore,

Brauckmann, and Phillips, as a group and individually, were controlling persons of Micro Focus

within the meaning of Section 15 of the Securities Act.




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       441.    Defendants Murdoch, Loosemore, Brauckmann, and Phillips also each signed the

false and misleading Registration Statement, which was disseminated to the investing public. Thus,

these Defendants controlled the contents and dissemination of the Offering Documents.

       442.    Similarly, the Director Defendants (other than Defendant Schultz) served as

Directors of Micro Focus at the time when they signed the Registration Statement. As directors of

a publicly owned company, these Defendants had a duty to disseminate accurate and truthful

information with respect to Micro Focus’s financial condition and operations. The Director

Defendants (other than Defendant Schultz) each signed the Registration Statement, the Offering

Documents were disseminated to the investing public, and the Registration Statement became

effective. Thus, these Defendants controlled the contents and dissemination of the Offering

Documents.

       443.    The Defendants named in this Count acted negligently and without reasonable care

regarding the accuracy of the information contained and incorporated by reference in the Offering

Documents and lacked reasonable grounds to believe that this information was accurate and

complete in all material respects.

       444.    By reason of the aforementioned conduct, each of the Defendants named in this

Count is liable under Section 15 of the Securities Act to Plaintiff and the other members of the

Class with claims under Sections 11 or 12(a)(2) of the Securities Act, as alleged above. As a direct

and proximate result of the conduct of these Defendants, Lead Plaintiff and members of the Class

suffered damages in connection with their acquisition of securities pursuant or traceable to the

Offering Documents.

X.     PRAYER FOR RELIEF

       WHEREFORE, Lead Plaintiff demands judgment against Defendants as follows:




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       A.      declaring this action to be a proper class action, designating Plaintiff as Lead

Plaintiff and certifying Lead Plaintiff as a class representative under Rule 23 of the Federal Rules

of Civil Procedure and designating Bernstein Litowitz Berger & Grossmann LLP as Lead Counsel;

       B.      awarding compensatory damages in favor of Lead Plaintiff and the other members

of the Class against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

       C.      awarding Lead Plaintiff and the Class reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       D.      awarding Lead Plaintiff and other members of the Class such other and further relief

as the Court may deem just and proper.

XI.    JURY DEMAND

       Lead Plaintiff hereby demands a trial by jury.

 Dated: September 30, 2019                         Respectfully submitted,

                                                   _/s/ James A. Harrod_____
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